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                            EXHIBIT 2

           Copies of All Process Documents,
                Pleadings and Orders
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                                     Case Number: CACE-16-016030 Division: 25
Filing# 45874387 £-Filed 08/30/2016 03:35:58 PM

   FORM 1.997. CIVIL COVER SHEET

   The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of
   pleadings or other papers as required by law. This form shall be filed by the plaintiff or petitioner for the use of the Clerk
   of the Court for the purpose of reporting judicial workload data pursuant to Florida Statutes section 25.075.


       I.          CASE STYLE
                                        IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT,
                                             IN AND FOR BROWARD COUNTY, FLORIDA



                                                                       Case No.: ________
                                                                       Judge:--------
  Ken:yRoth
   Plaintiff
                 vs.
  GEICO General Insuracne Company
  Defendant


       II.         TYPE OF CASE

                                                                                 0    Other real property actions $0 • $50,000
               D Condominium                                                     D    Other real property actions $50,001 - $249,999
               I:8J Contracts and indebtedness                                   0    Other real property actions $250,000 or more
               0 Eminent domain
               0 Auto negligence                                                 0    Professional malpractice
             0 Negligence- other                                                        0      Malpractice - business
               .0 Business governance                                                   0      Malpractice - medical
               0    Business torts                                                      0      Malpractice- other professional
               0    Envlronmentalfroxic tort                                     0    Other
               0    Third party indemnification                                         0      AntitrusVTrade Regulation
               0    Construction defect                                                 D      Business Transaction
               0    Mass tort                                                           0      Circuit Civil - Not Applicable
               0    Negligent security                                                  0      Constitutional challenge-statute or
               0    Nursing home negligence                                                    ordinance
               D    Premises liability - commercial                                      0     Constitutional challenge-proposed
                                                                                               amendment
               0    Premises liability - residential
                                                                                        0      Corporate Trusts
             0 Products liability
                                                                                        D      Discrimination-employment or other
             0 Real Property/Mortgage foreclosure
                                                                                        0      Insurance claims
               0    Commercial foreclosure $0 • $50,000
                                                                                        D      Intellectual property
               0    Commercial foreclosure $50,001 -$249,999
                                                                                        0      Libel/Slander
                0   Commercial foreclosure $250,000 or more
                                                                                        0      Shareholder derivative action
               0    Homestead residential foreclosure $0 - 50,000
                                                                                        0      Securities litigation
               0    Homestead residential foreclosure $50,001 •
                    $249,999                                                            0      Trade secrets
                0   Homestead residential foreclosure $250,000 or                       0      Trust litigation
                    more
                0   Non-homestead residential foreclosure $0 -
                    $50,000
                0   Non-homestead residential foreclosure
                    $50,001 • $249,999
                0   Non-homestead residential foreclosure
                    $250,00 or more




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                                                   COMPLEX BUSINESS COURT

          This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
          Administrative Order. Yes D No~


          Ill.    REMEDIES SOUGHT (check all that apply):
                     1&1 Monetary;
                     D Non-monetary
                     D Non-monetary declaratory or injunctive relief;
                     D Punitive

          IV.     NUMBER OF CAUSES OF ACTION: {
                  (Specify)


                  1
          V.      IS THIS CASE A CLASS ACTION LAWSUIT?
                      181 Yes
                      D No

          VI.     HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                     181 No
                     D Yes- If "yes" list all related cases by name, case number and court:



          VII.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                      [81 Yes
                      D No



  I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief.

  Signature s/ Christopher J Lynch        FL Bar No.: 331041
            Attorney or party                                                (Bar number, if attorney)

          Christopher J Lynch      08/30/2016
                  (Type or print name)                                          Date
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                                                                  IN THE CIRCUIT COURT OF THE
                                                                  171H JUDICIAL CIRCUIT IN AND FOR
                                                                  BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all                  CASE NO:
        others similarly situated,
                                                                  CLASS REPRESENTATION
                 Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                 Defendants.
        --------------------------~--~----------/
                          PLAINTIFF'S CLASS ACTION COMPLAINT FOR DAMAGES

                 The Plaintiff KERRY ROTH, on behalf of herself and all others similarly situated, files

        this Class Action Complaint against GEICO GENERAl INSURANCE COMPANY~

        GOVERNMENT EMPLOYEE INSURANCE COMPANY; GEICO INDEMNITY COMPANY;

        GEICO CASUALTY COMPANY; GEICO ADVANTAGE INSURANCE COMPANY; GEICO

        CHOICE INSURANCE C OMPANYand GEICO SECURE INSURANCE COMPANY as follows:

                                                I. NATURE OF THE ACTION

                 1.     This is a class action lawsuit by Plaintiff who was the named insured under a

        G EICO G ENERAll NSURANCE COMPANY, (hereinafter also identified as 11 GEICO General"),

        automobile policy issued for private passenger auto physical damage requiring payment of

        {JActual Cash Value" ("ACV    11
                                           ),   including sales tax, and state and local regulatory fees, for

        covered total loss leased vehicles.




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               2.      The Defendant GEICO GENERAL's standardized policy language, which is also

        present in the Florida policies issued by GOVERNMENT EMPLOYEE INSURANCE

        COMPANY; GEICO INDEMNITY COMPANY; GEICO CASUALTV COMPANY; GEICO

        ADVANTAGE INSURANCE COMPANY; GEICO CHOICE INSURANCE COMPANY and

        GEICO SECURE INSURANCE COMPANY shows that sales tax equal to at least six percentl

        of the cash val Lie of the insured vehicle at the time of loss (the "ACV Sales Tax"), is included

        in a total loss vehicle coverage, as are state and local regulatory fees.

               3.      This lawsuit is brought on behalf of Plaintiff KERRY ROTH and on behalf of

        similarly situated insureds who have suffered damages due to the Defendants' policy and

        practice of refusing to pay full ACV Sales Tax and state and local regulatory fees, on insured

        leased vehicles, in the· case of total loss, notwithstanding that, as set forth above, the

        Defendants' standardized policy language provides coverage for said ACV Sales Tax and fees.

                                      II. IURISDICTION AND VENUE

               4.     This Court has subject matter jurisdiction over Plaintiff's claims since the

        Plaintiff's and classes' claims exceed $15,000.00.

               5.     Venue is proper in this Court, pursuant to §47.051 Fla. Stat.1 since the

        Defendants have agents or representatives doing business in this county.

                                              III. THE PARTIES

               6.     At aU times material hereto, the Plaintiff I<ERRY ROTH, is and was a person

        residing in Boca Raton, Florida.




               1
               Fiorida's sales tax is 6%. In addition, some counties impose a local sales tax of up
        to 1.5% in addition to the 6% state sales tax.
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               7.     At all times material hereto, the Defendant GEICO GENERAL is and was a

        foreign corporation authorize to transact insurance in the State of Florida, and one of the

        largest, if not the largest, motor vehicle insurer in Florida.      The remaining Defendants

        GOVERNMENT EMPLOYEE JNSURANCE COMPANY; GEICO fNDEMNITY COMPANY;

        GEICO CASUALTY COMPANY; GEICO ADVANTAGE INSURANCE COMPANYi GEICO

        CHOICE INSURANCE COMPANY and GEICO SECURE INSURANCE COMPANY are also

        foreign corporations authorized to transact insurance in Florida.

                                        IV. FACTUAL ALLEGATIONS

               8.     At all times material hereto, the Plaintiff ROTH was a lessee of a 2015 Audi A3

        Sedan, VIN number WAUACGFF7F1092286, financed through VW Credit, Inc.

               9.     At all times material hereto, the Plaintiff ROTH insured the 2015 Audi A3 under

        a Florida Family Automobile Insurance Policy with GEICO GENERAL (a copy of said policy

        is attached hereto as Exhibit A).

               10.    On or about June 18, 2016, the Plaintiff ROTH was involved in an accident

        while operating the 2015 Audi A3. As a result of said accident, ROTH filed a claim for

        property damage with GEICO GENERAL, claim number 05590116-0101-012.

               11.    Following the filing of said claim, GEICO GENERAL determined that the 2015

        Audi A3 was a total loss with an ACV of $23,947.00. GEICO GENERAL then paid the

        aforementioned sum to the lienholder, VW Credit Inc., minus the GEICO GENERAL policy's

        deductible of $1 ,000.00, for a total of $22,947.00.

               12.    In paying the aforementioned amount, GEICO GENERAL indicated that because

        the vehicle was leased ,no ACV Sales Tax or state or local regulatory fees were owed under

        the GEICO GENERAL policy.
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                                      V. THE GEICO GENERAL POLICY

                13.    The GEICO GENERAL policy, under Section UI, entitled PHYSICAL DAMAGE

        COVERAGE, (page 14 of Form A-70 Fl(03-11 ), states:

                               LOSSES WE WILL PAY

                               *                     *                    *
                               Collision

                              1. We will pay for collision loss to the owned
                              auto for the amount of each loss less the
                              applicable deductible and to the non·owned auto
                              for the amount of each loss less the applicable
                              deductible when driven by you or a relative.

               14.     The GEICO GENERAL policy, in Section Ill, under the provision entitled LIMIT

        Of LIABILITY, (page 15 of Form A-70Fl (03-11}), states:

                              The limit of our liability for loss:

                              1. Is the actual cash value of the property at the
                              time of the loss.

               15.     Finally, the DEFINITIONS provision of the GEICO GENERAL policy (page 13

        of form A-70Fl (03-11 )), states:




                              1. Actual cash value is the replacement cost of
                              the auto or property less depreciation or
                              betterment.
               16.     Clearly, the policy language, which is identical to the language contained in the

        Florida policies issued by GOVERNMENT EMPLOYE£ INSURANCE COMPANY; GEICO

        INDEMNITYCOMPANY;GEICOCASUALTYCOMPANY;GEICOADVANTAGEINSURANCE

        COMPANY; GEICO CHOICE INSURANCE COMPANY and GEICO SECURE INSURANCE

        COMPANY does not include: (1) any provision excluding sales tax or state and local
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        regulatory fees from ACV; (2) any provision deferring payment ofthe ACV Sales Tax and state

        or local regulatory fees for any purpose whatsoever; (3) any provision requiring an insured to

        lease a replacement vehicle; (4) any provision requiring the insured to first lease a replacement

        vehicle as a condition precedent to receiving a ACV Sales Tax or state and regulatory fees; and

        (5} any provision I inking the amount of ACV Sales Tax or state and regulatory fees to the lease

        of a replacement vehicle and the corresponding sales tax or state or regulatory fees on said

        replacement vehicle.

                                          VI. CLASS ALLEGATIQNS

               17.    The Plaintiff brings this action seeking representation of two classes pursuant to

        Florida Rule of Civil Procedure 1.220.

               18.    Plaintiff's claims are typical to those of all class members because members of

        the class are similarly affected by the Defendant's failure to pay ACV Sales Tax and state and

        local regulatory fees upon the total loss of insured leased vehicles. The material policy terms

        for each class member are identical to the terms of the Plaintiff's policy.

               19.    Plaintiff's interests are not antagonistic to those of other class members nor is

        the Plaintiff subject to any unique defenses.

               20.    The claim of the representative Plaintiff ROTH, raises questions of law and fact

        that are common to all members of the classes, within the meaning of Florida Rule of Civil

        Procedure 1.220. Said common questions include, but are not limited to, the following: (a)

        whether under the Defendant's standardized policy language Plaintiff and the class members

        are owed ACV Sales Tax and state and local regulatory fees upon the total loss of an insured

        leased vehicle; and (b) whether the Defendants have breached their insurance contracts with

       the Plaintiff and the class members by failing to pay ACV Sales Tax and state and local

       regulatory fees upon the total loss of an insured leased vehicle.
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               21.     The claims of the Plaintiff are typical of the claims of all other members of the

        classes because all such claims arise from the alleged improperfailure of the Defendant to pay

        ACV Sales Tax and state and local regulatory fees upon the total loss of insured leased

        vehicles.

               22.     The Plaintiff and her counsel will fairly and adequately protect and represent the

        interests of each member of the classes.

               23.     The Plaintiff is committed to the vigorous prosecution of this action and has

        retained competent counsel experienced in prosecuting and defending class actions.

               24.     This action is properly maintained as class action pursuant to Florida Rule of

        Civil Procedure 1.220(b)(3) in that questions of law and fact, common to claims of the Plaintiff

        and the members of the class, will predominate over questions of law or fact, affecting only

        individual members of the class, such that a class action is superior to other available methods

        for the fair and efficient adjudication of this controversy.

               25.     The Plaintiff brings this action pursuant to Rule 1.220(b)(3) of the Florida Rules

        of Civil Procedure as class representative, individually and on behalf of all other persons or

        entities similarly situated, more specifically defined as follows:

                                                    ClASS A

                              All insureds, under a policy issued by Geico
                              General Insurance Company in the State of
                              Florida, covering a leased vehicle, who sustained
                              a total loss to said vehicle and who, within the five
                              year time period prior to the date on which this
                              lawsuit was ftled till the date of any certification
                              order, received payment from Geico General
                              Insurance Company for said loss, which payment
                              did not include ACV Sales Tax or state and local
                              regulatory fees for the loss of said vehicle.
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                                                   CLASS B

                             All insureds, under policies issued by Geico
                             General Insurance Company; Government
                             Employee Insurance Company; Geico Indemnity
                             Company; Geico Casualty Company; Geico
                             Advantage Insurance Company; Geico Choice
                             Insurance Company and Geico Secure Insurance
                             Company, in the State of Florida, covering a leased
                             vehide1 who sustained a total loss to said vehicle,
                             and who, within the five years time period prior to
                             the date on which this lawsuit was filed to the date
                             of any certification order, received payment from
                             any of the aforementioned insurance companies,
                             which payment did not include ACV Sales Tax or
                             state and local regulatory fees for the loss of said
                             vehicle.

               26.    The issues relating to the claim of the Plaintiff do not vary from the issues

        relating to the claims of the other members of the classes such that a class action provides a

        more efficient vehicle to resolve d1is claim than through a myriad of separate lawsuits.

               27.    Certification of the above classes under Florida Rule of Civil Procedure

        1.220(b)(3) is also supported by the following considerations:

                             (a) The relatively small amount of damages that
                             members of the classes have suffered on an
                             individual basis would not justify the prosecution
                             of separate lawsuits.

                             (b) Counsel in this class action is not aware.of any
                             previously filed litigation against the Defendants in
                             which any of the members of the classes are a
                             party and which any question of law or fact in the
                             subject action is to be adjudicated.

                             (c} No difficulties would be encountered in the
                             management of the Plaintiff's claim on a class
                             action basis because the classes are readily
                             definable and the prosecution of this class action
                             would reduce the possibility of repetitious
                             litigation.
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               28.     Finally, although the precise number of class members is unknown to Plaintiff

        at this time, and can only be determined through appropriate discovery, the Plaintiff believes

        that since the Defendants collectively are one of the largest, if not the largest, motor vehicle

        insurer in the State of Florida, the classes of persons affected by the Defendants' unlawful

        practice consists of thousands of individuals or the classes of persons affected are otherwise

        so numerous, that joinder of all class members is impractical. The unlawful practice alleged

        herein is a standardized uniform practice, employed by the Defendants, pursuant to

        standardized insurance policy language, resulting in the retention by the Defendants of

        insurance benefits and monies properly owed to the Plaintiff and the class members.

                       COUNT I ~ BREACH OF CONTRACT FOR CLASSES A AND B

               29.     The allegations contained in paragraphs 1 through 28 above are incorporated

        herein by reference.

               30.     Pursuant to the aforementioned uniform contractual provisions, upon the total

        loss of insured leased vehicles, the Plaintiff and the class members were owed the actual cash

        value of the vehicle which would indude.ACV Sales Tax and state and focal regulatory fees.

               31.     The Defendants failure to provide coverage for the aforementioned ACV Sales

        Tax and state and local regulatory fees, constitutes a breach of said contractual provisions. As

        a result of said breaches, the Plaintiff and the class members are entitled to sums representing

        the benefits owed for ACV Sales Tax and state and local regulatory fees, under the Defendants'

        insurance polices, as well as costs, prejudgment and post judgment interest and other relief

        as is appropriate.

               32.     In addition, the Plaintiff and the class members are entitled to an award of

        attorney fees pursuant to §627.428 Fla. Stat.
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               WHEREFORE, the Plaintiff KERRY ROTH, individually and on behalf of Classes A and

        B, seeks an award of compensatory damages as outlined above, pre and post judgment

        interest, costs, attorney fees and such other relief deemed appropriate.           In addition, the

        Plaintiff ROTH seeks trial by jury of all issues so triable.

                                 COUNT II • CLAIM FOR DECLARATORY RELIEF
                                            FOR ClASSES A AND 8

               33.     The allegations in paragraph 1 through 28 above are incorporated herein by

        reference.

               34.     This is a claim for declaratory relief pursuant to §86.011 et. seq. Fla. Stat

               35.     lt is the Plaintiff's and the class members' position, that upon the total loss of the

        insured leased vehicles, the Plaintiff and the class members were properly owed ACV Sales

        Tax and state and regulatory fees under the Defendants' policies.

               36.     It is the Defendants' position, that upon the total loss of the insured leased

        vehicles, the Defendants did not owe ACV Sales Tax and state and local regulatory fees to

        Plaintiff and the class members.

               37.     Adispute having arisen between the Parties as to the proper interpretation of the

       subject contractual provisions, the Plaintiff and the class members request that this Court

       declare that under the Defendants' policy provisions, following the total loss of an insured

        leased vehicle, the Plaintiff and the class members were owed ACV Sales Tax and state and

        local regulatory fees.

               38.    In addition, pursuant to §86.011 Fla. Stat, the Plaintiff and the class members

        request further rei ief consisting of payment of the aforementioned ACV Sales Tax and state and

       local regulatory fees; injunctive relief mandating the payment of said ACV Sales Tax and state

       and local r~gulatory fees to all insureds under similar policy language; as well as costs,
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        prejudgment and post judgment interest and such other relief as deemed appropriate.

               39.    Finally, the Plaintiff and the class members are entitled to an award of attorney

        fees pursuant to §627.428 Fla. Stat.

               WHEREFORE, the Plaintiff KERRY ROTH, individually and on behalf of Classes A and

        B, seeks declaratory and supplemental relief as outlined above, attorney fees, costs, pre and

        post judgment interest and such other relief deemed appropriate. In addition, the Plaintiff

        ROTH seeks trial by jury of all issues so triable.

                                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served by process

        server on the Defendants.

                                                             Respectfully submitted,

                                                             Christopher J. Lynch, P.A.
                                                             Attorney for Plaintiff
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                                                             Coral Gables, Florida 33143
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                                                                    EDMUND A. NORMAND
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                          BE ICC
                          ONE GEICO PLAZA
                          Washington, D. C. 20076.0001
                                                               -...   ~




                          Telephone: f-800-841-3000




                          Florida
                          Family
                          Automobile
                          Insurance
                          Policy




                      •      GEICO GENERAl INSURANCE COMPANY




                                          EXHIBIT
                                    I      ~~A-''
    A·70Fl (03·11)                                                        NawPollcyPage2t or62
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     Whenever "he," "his," "him," or "himself" appears in this policy, you may l'$ad "she," "her," "hers," or"herself."
                                                                                AGREEMENT
     We~ the Company ~amed in the declarations attached to this policy, make this agreement with you. the
     policyholder. Rely1ng on the Information you have furnished and the declarations attached to this policy and if
     you pay your premium when due, we will do the following:     ·

     ------------------------S~E~C-T-IO_N_I_·_L-IA-B-JL-ITY--C~O-V_E_R~A~G~E-S----------------------­

                         Bodily Injury Liability And Property Damage Liability
    _ _ _ _ _ _ _ _ _ _ _ ___:Yi_o_u_r.:_P__:ro:....te_c-.-:..;tlon Against Claims From Others

    DEFINITIONS
    The words bolded and italicized in Section I of lhfs policy are defined below.
    1. Auto business means the buslness of selling, repairing, servicing, storing, transporting or patking of autos.
    2. Bodily Injury means bodily injury to a person, caused by accident, including resulting sickness, disease or death. All
       claims for damages arising from bodily injury to a person from a single loss shall be considered one bodily Injury.
    3. Farm auto means a truck type vehicle with a gross vehicle weight of 15,000 pounds or less, not used for commerCial
         purposes other than farming •

   •      i'i·IF:•.   'I~ I'!' ·. <:', J'   '   :··· :11. ·i.l , • . (.;.;·• f'·:'., IL'I.   1 .• : •   1":   ;,-:: 1.::
    6, Non-owned auto means a private passenger, farm or utility auto or trailer not owned by, furnished or available
        for regular use of either you or your relative. other than a temporary substitute auto. An auto rented or leased for
        more than 30 days will be considered as furnished or available for regular use.
    6, owned auto means:
        (a) A vehicle described in this policy for which a premium charge is shown for these coverages;
        {b) A trailer owned by you;
        (c) A private passenger, farm or utility auto, ownership of which you acquire during the policy period or for which
             you enter Into a lease during the policy period for a term of six months or more, if
             (i) It replaces an owned auto as defined In (a) above; or
             (I~ We Insure all private passenger, farm and utility autos owned by you on the date of the acquisition, and
                 you ask us to add it to the policy no more than 30 days later:
        (d) A temporary substitute auto.
    7. Private passenger auto means a four-wheel private passenger, station wagon or jeep-type auto, including a fann or
        utility auto as defined.
    8. Relative means a person related to you by blood. marriage or adoption (Including a ward or foster child) who is a
        resident of the same household as you.
    9. Temporary substitute auto means a private passenger, farm or utility auto or trailer, not owned by you or your
        relative, temporarily used wilh the permission of the owner. This vehicle must be used as a substitute for the owned
        auto or trailer when withdrawn from normal use because of its breakdown, repair, servicing, loss or destruction. This
        vehicle will no longer qualify as a temporary substitute auto:
        (a} Five (5) days after the owned auto is deemed by us to be a total loss, and
        (b) We pay the applicable limit of liability under Section Ill.
    1o. Trailer means a vehicle designed to be towed by a private passenger auto. 1r the vehicle Is being used for business
        or commercial purposes, it is a trailer only while used with a private passenger, farm or utility auto. Trailer also
        means a farm wagon or farm Implement used with a fBrm auto.
    11. Utility auto means a vehicle, other than a farm auto, with gross vehicle weight of 15,000 pounds or less of the
        pick·up body, van or panel truck type not used for commercial purposes.
    12. War means armed conflict between nations, whether or not declared, ciVIl war, Insurrection, rebellion or revolution.
    13. You and your means the named insured shown in the declarations or his or her spouse If a resident or the same
        household.
    LOSSES WE WILL PAY FOR YOU
    Under Section I, we will pay damages which an insured becomes legally obligated to pay because of:
    1. Bodily lt)jury, sustained by a person, and


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    2. Damage to or destruction of property,
        arising out of the ownership, maintenance or use of the owned auto or a non-owned auto.
        We will defend any suit for damages payable under the terms of this policy. We may Investigate and settle any claim
        or suit. We have no duty to Investigate or defend any claims which ere not covered under the terms of this policy.
        Our duty to defend ends when the limits of llablnty for bodily. Injury flabillty have been exhausted by payments of
        judgments or settlements.
    ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE LIABILITY COVERAGES
    1. All investigative and legal costs incurred by us.
    2. Interest calculated on that part of a judgment that Is within our limit of liability and accruing:
       (a) Before the judgment, where owed by law, and until we pay, offer to pay, or deposit in court the amount due under
             this coverage;
       (b) After the judgment, and until we pay, offer to pay, or deposit in court, the amount due under this coverage.
    3. Premiums for appeal bonds In a suit we appeal, or premiums for bonds to release attachments; but the face amount
       of these bonds may not exceed the applicable limit of our liability.
    4. We will upon request by an Insured, provide reimbursement for the following Items:
       (a) Costs Incurred by any Insured for first aid to others at the time of an accident Involving an owned auto or
             non-owned auto.
       (b) Loss of earnings up to $50 a day, but not other Income, if we request an Insured to attend hearings and trials.
       (c) All reasonable costs Incurred by an Insured at our request.
       (d) Premiums for bail bonds paid by an 111sured due to traffic law violations arising out of the use of an owned auto,
            not to exceed $250 per ball bond.
    EXCLUSIONS
    Section I Does Not Apply:
    1. To any bodily Injury to any Insured or relative or an Insured's family residing In the Insured's household.
       This exclusion does not apply If the Insured or relative of the Insured ts' injured as a passenger in a motor vehicle
       Insured under this policy while that vehicle is being driven by a person who Is not a rel8fiva, nor you.
    2. To any vehicle used to carry passengers or goods for hire. However, a vehicle used In an ordinary car pool on a ride
       sharing or cost sharing basis Is covered.
    3. To liability coverage for any person who Intentionally causes bodily Injury or property damage.
    4. To bodily Injury or property damage that Is insured under a nuclear liability policy. This exclusion applies even if the
       limits or that policy are exhausted.
    6. To bodily Injury or property damage arising from the operation of farm machinery.
    6. To boaiJy Injury to an employee of an Insured arising out of and In the course of employment by an Insured.
       However, bodily Injury of a domestic employee of the Insured Is covered unless benefits are payable or are
       required to be provided under a workmen's compensation law.
                                               or
    7. To bodily Injury to a fellow employee an Insured {other lhan you} Injured in the course of his employment If the
       bodily Injury arises from the use of an auto In the business of his employer, and if benefits are payable under a
       workmen's compensation policy.
    8. To an owned auto while used by a person (other than you or a relative or your or your relative's partner, agent or
       employee) when he Is employed or otherwise engaged In the auto business.
    9. To a non-owned auto while maintained or used by a person while he Is employed or otherwise engaged in any auto
        business.
        However, coverage does apply to a non-owned private passenger auto used by you, your chauffeur or a domestic
        servant, while engaged In the business of an Insured.
    10. To damage:
        (a) To property owned, or transported by an Insured; or
        (b) To property rented to or in charge of an Insured. This exclusion does not apply to a residence or private garage.
    11. To an auto acquired by you during the policy term, If you have purchased other liability Insurance for II.
    12. To:
        (a) The United Slates of America or any of its agencies;
        (b) Any person, including you, If protection Is afforded under the provisions of the Federal Tort Claims Act.
    13. To any liability assumed under any contract or agreement.
    14. To bodily Injury or property damage caused by the Insured in participation and/or preparation for any racing,
        speei:l, or demolition contest or stunting activity of any nature, whether or not prearranged or organized.
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         16. To punitive or exemplary damages, regardless of any other provision of thls policy.
         PERSONS INSURED
         Who Is Covered
         Section I applies to the following as Insureds with regard to an owned auto:
              1. You;
              2. Any other person using the auto wlth your permission to the extent of that permission;
              3. Any other person or organization for his or its liability because of acts or omissions or an Insured under 1. or 2.
                   above.
         Section I applies to the following as Insureds with regard to a non-owned auto:
              1. You and your relatives when driving the non-owned auto. Such use must be with the permission, or
                   reasonably believed to be with the permission, of the owner and to the extent of that permission.
              2. A person or organization, not owning or hiring the auto, regarding his or its Uablllty because of acts or omissions
                  of an Insured under 1. above.
        The limits of liability stated in the declarations are our maximum obligations regardless of the number of Insureds
        involved in the occurrence.
         FINANCIAL RESPONSIBILITY LAWS
        When this policy Is certified as proof of compliance with the Florida financial responsibility law for the future, this liability
        insurance will comply wilh the provisions or that law.
        OUT OF STATE COVERAGE
        When the policy applies to the operation of a motor vehicle outside of your state, we agree to Increase your coverages
        to the extent required of out-of-state motorists by local law. We will not provide Bodily Injury Liability Coverage under this
        provision if that coverage ls not purchased and shown in the policy deaarallons. This additional coverage will be reduced
        to tha extent that you are protected by another Insurance policy. No person can be paid more than once for any Item of
        loss.
        LIMITS OF LIABILITY
        Regardless of the number of autos or trailers to which this policy applies:
        1. The limit of bodily injury liability stated in the declarations as applicable to "each person" is the limit of our !lability for
             all damages, Including damages for care and loss or services, because of bodily injury sustained by one person as
             the result of one occurrence.
        2. The limit of such liability stated in the declarattons as applicable to •each occurrence'' Is, subject to the above
             provision respecting each person, the total limit of our liability for all such damages, Including damages for care and
             loss or services, because of bodily Injury sustained by two or more persons as the result of any one occurrence.
        3. The limit of property damage liability stated In the dec1arations as applicable to "each oCCtJrrence•ts the total limit of
             our liability for all damages because of damage to or destruction of the property of one or more persons or
             organizations, including the loss of use of the property as the result of any one occurrence.
        4. If this policy covets two or more autos, the LIMITS OF LIABILITY apply separately to each. An auto and attached
             trailer are considered to be one auto.
        OTHER INSURANCE
        Any Insurance we provide for losses ariSing out of the ownership, maintenance or use of a vehicle you do not own shall
        be excess over any other valid and collectible Insurance.                                                            ·
        If the Insured has other applicable insurance against a loss covered by Section I of this policy, we will not owe more than
        our pro-rata share of the total coverage available.
        CONDITIONS
        The following conditions apply to Section 1:
        1. NOTICE
             As soon as possible after an occurrence, written notice must be given us or our authorized agent stating:
             (a) The idenlily of the Insured;
             (b) The time, place and details of the occurrence:
r....        (c) The names and addresses of the injured, and of any witnesses; and
             (d) The names of the owners and the deseription and location of any damaged property.
             If a claim or suit Is brought against an Insured, he must promptly send us each demand, notice, summons or other
             process received.
        2. ASSISTANCE AND COOPERATION OF THE INSURED
             The IMured will cooperate and assist us, If requested:
             (a) In the investigation of the occurrence;                                                           New POlley Pege 25 of 62
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         (b) In making settlements;
         (c) In the conduct of suits;
         (d) In enforcing any right of contribution or Indemnity against any legally responsible person or organization because
             of bodily Injury or property damage;
         (e) At trials and hearings;
         (f) In secur1ng and giving evidence; and
         (g) By obtaining the attendance of witnesses ..
         Only at his own cost will the Insured make a payment, assume any obligation or Incur any cost other than for first aid
        to others.
     3. ACTION AGAINST US
        No suit will lie against us:
        (a) Unless the Insured has fully complied with all the policy's terms and conditions, and
        (b) UnUI the amount of the Insured's obligation to pay has been finally determined, either:
            (i) By a final judgment against the Insured after actual trial; or
            (ii) By written agreement of the Insured, the claimant and us.
        A person or organization or the legal representative of either, who secures a judgment or Wfitten agreement, may
        then sue to recover up to the policy limits.
        No person or organization, including the Insured, has a right under this policy to make us a defendant fn an action to
        determine the Insured's liability.
        Bankruptcy or insolvency of the Insured or of his estate will not relieve us of our obligations.
    4. SUBROGATION
       When payment Is made under this policy, we will be subrogated to all the /Murad's rights or recovery against others.
       The insured will help us to enforce these rights. The Insured will do nothing after loss to prejudice these rights.
       This means we will have the right to sue for or otherwise recover the loss from anyone else who may be held
       responsible.
       When a person has been paid damages by us under this policy and also recovers from another, that person shall:
       (a) Hold In trust for us the amount recovered; and
       (b) Reimburse us to the extent of our payment.
        SECTION II: PART I ·PERSONAL INJURY PROTECTION AND PART IV-AUTOMOBILE MEDICAL PAYMENTS
    (Automobile Medical Payments Coverage applies only If a premium amount is shown In the Policy Declarations
    for "Medical Payments" coverage)
    PART I ·PERSONAL INJURY PROTECTION
    DEFINITIONS
    The definitions of the terms Insured and you under Section I apply to Section II also.
    1. Bodily Injury means bodily Injury, sickness, or disease to a person, caused by accident, Including resulting sickness,
       disease or death resulting therefrom. All claims for damages arising from bodily Injury to a person from a single loss
       shall be considered one bodily Injury.
    2. Insured motor vehicle means a motor vehicle:
       (a) Of which you are the owner, and
       (b) With respect to which security Is required to be maintained under the Florida Motor Vehicle No-Fault Law, and
       (c) For which a premium is Charged, or whiCh Is a trailer, other than a mobile home, designed for use with a motor
             veltlcla.
    3. (a) Medical upenses means reasonable expenses for medically necessary medical, surgical, x-ray, dental,
           ambulance, hospital, professional nursing and rehabilitative services for prosthetic devices and for necessary
           remedial treatment and services recognized and. permitted under the laws of the stale for an injured person.
            Reimbursement for medkal expenses shall be limited to and shall not exceed 80% or the schedule of maximum
            charges as set forth In Florida Statute § 627. 736(5) (a) 2.
       (b) However, the medical benefits shall provide reimbursement only for such services and care that are lawfully
            provided, supervised, ordered, or prescribed by a physician licensed under Florida Statutes, Title 32, chapter 458
           or chapter 459, a dentist licensed under Florkla Statutes, Title 32, chapter 466, or a Chiropractic physician
            licensed under Florida Statutes, Title 32, chapter 460 or that are provided by any of the following persons or
            enlitles:
             1. A hospital or ambulatory surgical center licensed under Florida Statutes, TIUe 29, chapter 395.
            2. A person or enlfly licensed under Florida Statutes Tftle 29, chapters 401.2101-401.45 that provides
                emergency transportation and treatment.

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              3. An entity wholly owned by one or more physicians licensed under Florida Statutes Title 32, chapter 458 or
                 chapter 459, chiropractic physicians licensed under Florida Statutes, Title 32, chapter 460, or dentists licensed
                 under Florida Statutes, Title 32, chapter 466 or by su~h practitioner or practitioners and the spouse, parent,
                 child, or sibling of that practitioner or those practitioners.
              4. An entity wholly owned, directly or Indirectly, by a hospital or hospitals.
              5. A health care clinic licensed under Florida Statute Title 29, chapters 400.990-400.995 that Is :
                 a. Accredited by the Joint Commission on Accreditation of Healthcare Organizations, the American
                     Osteopathic Association, the Commission of Accreditation of Rehabilitation Facilities, or the Accreditation
                    Association for Ambulatory Health Care. Inc.; or
                 b. A heaHh care clinic that;
                    (I) Has a medical director licensed under chapter Florida Statute Title 32, chapter 458, chapter 4S9, or
                         chapter 460;
                                                                               or
                    (II) Has been continuously licensed for more than 3 years Is a publicly traded corporation that Issues
                         securllles traded on an exchange registered with the United States Securities and Exchange
                         CommlssiQn as a national securities exchange; and
                   (Ill) Provides at least four or the following medical specialties:
                         (A) General medicine.
                         (B) Radiography.
                         (C) Orthopedic medicine.
                         (D) Physical medicine.
                         (E) Physical therapy.
                         {F) Physical rehabilitation.
                         (G) Prescribing or dispensing outpatient prescription medication.
                         (H) Laboratory seNices.

    4. Medically necessary refers to a medical seNice or supply that a prudent physician would provide for the purpose of
             preventing, diagnosing, or treating an Illness, Injury, disease, or symptom in a manner that is:
             (a) In accordance with generally accepted standards or medical practice;
             (b) Clinically appropriate In terms of type, frequency, extent, site, and duration: and
             (c) Not primarily for the convenience or the patient, physician, or other health care provider.
    5. Motor vehicle means any self-propelled vehicle of four or more wheels which Is of a type both designed and
         required to be licensed for use on the highways of Florida and any trailer or semi-trailer desfgned for use with such
         vehicle.
        A motor vehicle does not include:
        (a) Any motor vehicle which fs used In mass tmnslt other than public school transportation and designed to
             transport more than five passengers exclusive of the operator of the motor vehicle and which Is owned by a
             municipality, a transit authority, or a political subdivision of the state; or
        (b) A mobile home.
    6. Occupying means In or upon or entering into or alighting from;
    7. owner means a person or organization who holds the legal title to a motor vehicle, and also Includes:
        (a) A debtor having the right to possession, In the event a motor vehicle Is the subject of a security agr~ment, and
        (b) A lessee havtng the right to possession, In the event a motor vehicle Is the subject of a lease with option to
            purchase and such lease agreement Is for a period of six months or more, and
        (c) A lessee having the right to possession, in the event a motor ve/Jicle is the subject of a lease without option to
             purchase, and such lease agreement is for a period of six months or more, and the lease agreement provides
            that the lessee shall be responslbJe for securing insurance;
    8. Pedestrian means a person while not an occupant of any self-propelled vehicle;
    9. Relative means a person related to you by blood, marriage or adoption (including a ward or foster child) who Is
        usually a resident of the same household as you;
    10. Replacement services expenses means with respect to the period of disability of the injured person all expenses
        reasonably Incurred in obtaining from others ordinary and necessary services In lieu or those that, but for such Injury,
        the Injured person would have performed without income for the benefit of his household;
    11. Work loss means with respect to the period of disability of the injured person, any loss of Income and earning
        capacity from Inability to work proximately caused by the injury sustained by the Injured person.




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    PAYMENTS WE WILL MAKE
    The Company will pay In accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended, or newly
    enacted), and in accordance with all fee schedules contained In the Florida Motor Vehicle No Fault Law,
    to or for the benefit of the Injured person:
          (a) 80% of medical expenses; whiclt are medically necossal)f, pursuant to the following schedule of maximum
              charges contained in the Florida Statute § 627. 736(5) {a) 2:
              1. For emergency transport and treatment by providers licensed under Florida Statutes, Title 29, chapter 401,
                 200 percent of medicine.
              2. For emergency services and care provided by a hospital licensed under Florida Statutes, Title 29, chapter
                 395, 75 percent of the hospital's usual and customary charges.
              3. For emergency services and care as defined by Florida Statutes Title 29 chapter 395.002(9) provided in a
                 facility licensed under chapter 395 rendered by a physician or dentist, and related hospital Inpatient services
                 rendered by a physician or dentist, the usual and customary charges in the community.
              4. For hospital Inpatient services, other than emergency services and care, 200 percent of the Medicare Part A
                 prospective payment applicable to the specific hospital providing the Inpatient services.
              5. For hospital outpatient services, other than emergency services and care, 200 percent of the Medicare Part A
                 Ambulatory Payment Classification for the specific hospital providing the outpatient services.
              6. For all other medical services, supplies, and care, 200 percent of the allowable amount under the participating
                 physicians schedule of Medicare Part B. However, if such services, supplies, or care Is not reimbursable
                 under Medicare Part 8, we may limit reimbursement to 80 percent of the maximum reimbursable allowance
                 under workers' compensation, as determined under Florida Statutes Tille 31, chapter 440.13 rules adopted
                 thereunder which are in effect at the time such services, supplies, or care Is provided. Services, supplies, or
                 care that Is not reimbursable under Medicare or workers' compensation is not required to be reimbursed by us.
         (b) 60% of work loss; and
         (c) Replacement services expenses; and
         {d) Death benefits.
    The above benefits will be provided for Injuries Incurred as a result of bodily Injury, caused by an accident arising out of
    the ownership, maintenance or use of a motor vehicle and sustained by:
         (1) You or any f81atlve while occupying a motor vehicle or, while a pedestrian through being struck by a motor
              vehicle; or
         (2) Any other person while occupying the Insured motor vehicle or, while a pedestrian, through being struck by
              the lnsurGd motor vehicle.
    EXCLUSIONS
    Section II ~ Part I does not apply:
    1. To you or any Nlatlve Injured while occupying any motor vehicle owned by you and which is not an Insured
        ·motor vehicle under this Insurance;
    2. To any person while operating the Insured motor vehicle without your express or Implied consent;
    3. To any person, If such person's conduct contributed to his bodily Injury under any of the following circumstances:
        (i) Causing bodily Injury to himself Intentionally;
        (II) While -commltung a felony;
    4. To you or any dependent relative for work loss If an entry In the schedule or declarations Indicates such coverage
        does not apply;
    6. To any pedestrian, other than you or any relative, not a legal resident of the State of Florida;
    6. To any person, other than you, if such person is the owner of a motor vehicle with respect to which security Is
         required under the Florida Motor Vehicle No~Fault law, as amended;
    7. To any person, other than you or any relative, who Is entitled to personal injuty protection benefits from the owner
         or owners of a motor vehicle which is not an lusured motor vehicle under this insurance or from the owner's
         insurer; or
    8. To any person who suslains bodily Injury while occupying a motor vehicle located for use as a residence or
        premises.




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    LIMIT OF LIABILITY; APPLICATION OF DEDUCTIBLE; OTHER INSURANCE
     Regardless of the number of persons insured, policies or bonds applicable, vehicles involved or claims made, the total
    aggregate limit of personal Injury protection benefits available under the Florida Motor Vehicle No-Fault Law, as
    amended, from all sources combined, including this policy, for all loss and expense incurred by or on behalf or any one
    person who sustains bodily Injury as the result of any one accident shall be $10,000; provided that payment for death
    benefits included In the foregoing shall be equal to the Jesser of $5,000 or the remainder of unused personallnjul}'
    protection benefits per individual.
    After the deductible is met, each Insured Is eligible to receive up to $10,000 In total benefits described. The amount of
    any deductible slated In the declarations shall be deducted from all expenses or losses as described In FL Stat. §
    627.736 with respect to all medical expenses, replacement services expenses and work Joss Incurred by or on behalf
    of each person to whOm the deductible applies and who sustafns bodily Injury as the result of any one accident. Such
    deductible will not apply to the death benefit.
    Any amount available for payment under this Insurance shall be reduced by the amount of benefits an Injured person has
    recovered for the same elements of loss under the workmen's compensation laws of any state or the federat government
    If benefits have been received under the Florida Motor Vehicle No-Fault Law, as amended, from any Insurer for the same
    Items of loss and expense for which benefits are available under this policy, we shall not be liable to make duplicate
    payments to or for the benefit of the Injured person, but the insurer paying such benefits shall be entitled to recover from
    us Its equitable pro rata share of the benefits paid and expenses incurred in processing the claim.
    POLICY PERIOD ·TERRITORY
    The insurance under this Section applies only to accidents which occur during the policy period:
         {a) In the State of Florida;
         (b) As respects you or a relative, while occupying the Insured motor vehicle outside the State of Florida but
              within the United Stales of America, its territories or possessions or Canada; and
         (o) As respects pedtstrlans injured when struck by the Insured motor vehicle In the State of Florida, if they are not
              the owner of a motor vehicle tor which coverage is required to be maintained under the Florida No-Fault Law.
    CONDITIONS
    1. NOTICE
         In the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
        practicable. If any Injured person or his legal representatives shall institute legal action to recover damages for
         bodily Injury against a third party, a copy of the summons and complaint or other process served In connection with
         such legal action shall be forwarded as soon as practicable to us by such Injured person or his legal representative.
    2. ACTION AGAINST THE COMPANY
        No action shall fie against us unless, as a condition precedent thereto, there shall have ooen full compliance with all
        terms of this Insurance, and in accordance with, and subject to the terms, conditions, and exclusions of, the Florida
         Motor Vehicle No-FauH Law, as amended.
    3. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
        As soon as practicable the person making the claim shall give to us written proof of claim, under oath if required,
        which may Include full particulars of the nature and extent of the Injuries and treatment received and contemplated,
        and such other Information as may assist us In determining the amount due and payable. Such person shall submit to
        mental or physical examinations In accordance with the Florida Motor Vehicle No Fauft Law (as enacted, amended,
         or newly enacted), at our expense when and as often as we may reasonably require and a copy of the medical report
         shall be foiW8rded to such person if requested. If the person unreasonably refuses to submit to an examination, we
         will not be liable for subsequent personal injury protection benefits.
        Whenever a person making a claim is charged with committing a felony, we shall wHhhold benefits until, at the trial
        level, the prosecution makes a fonnal entry on the record that it will not prosecute the ease against the person, the
        charge Is dismissed or the person Is acquitted.
         If requested by us an Insured. or any other person or organization making a claim or seeking payment, must submit
        to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
        require.
        This provision includes providing a copy of any documents, forms, records or material requested to be provided as
        part of the EUO request whether the request Is made before, during or after the EUO. If requested by us an Insured ,
        or any other person or organization making a claim or seeking payment. If the person unreasonably refuses to submit
        to an EUO, we will not be llable for personal Injury protection benefits.




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     4. REIMBURSEMENT AND SUBROGATION
          In the event of payment to or for the benefits of any injured person under this insurance:
          (a) The Company Is subrogated to the rights of the person to whom or for whose benefit such payments were made
               to the extent of such payments. Such person shall execute and deliver the Instruments and papers and do
               whatever else Is necessary to secure such rights. Such person shall do nothing after Joss to prejudice such rfghts.
          {b) The Company providing personal injury protection benefits on a pnvate passenger motor vehicle as defined In
               the Florida Motor Vehicle No·Fault Law, shall be entitled to reimbursement to the extent of the p~yment of
               personal injury protection benefits from the owner or Insurer of the owner of a commercial motor vehicle, as
              defined In the Florida Motor Veh~e No-Fault Law, lr suoh Injured person sustained the lnjUJy while occupying,
               or while a p9destrlan through berng struck by, such commercial motor vehicle.
     6. SPECIAL PROVISION FOR RENTED OR LEASED VEHICLES
          Notwithstanding any provision of this coverage to the contrary, If a person is injured while occupying, or through
          being struck by, a motor vehlc/6 rented or leased under a rental or lease agreement, within the state of Florida,
          which does not specify otheiWise in at least 10 point type on the face of such agreement, the personal Injury
          protection coverage afforded under the lessor's policy shall be primary. Personal injury protection coverage offered
          under this policy wifl not apply to a vehicle rented, operated, used, or leased oulslde the state of Florida.
    PART II· MODIFICATION OF POLICY COVERAGES
    Any Automobile Medical Payments Insurance, any Uninsured Motorists coverage or any excess Underinsured Motorists
    coverage arforded by the policy shall be excess over any Personal Injury Protection benefits paid or available for
    payment or which would be available but for the application of a deductible.
    Regardless of whether the full amount of Personal Injury Protection benefHs have been exhausted, any Medical
    Payments Insurance afforded by this policy shall pay the portion of any claim for Personal Injury Protection msdlcal
    expenses which are otheiWise covered but not available for payment due to the llmHatlon of 80% of medical expenses
    contained In Part I but shall not be payable for the amount of the deductible selected.
    PART Ill ·PROVISIONAL PREMIUM
    1t is agreed that In the event of any change in the rules, rates, rating plan, premiums or minimum premiums applicable to
    the Insurance atrorded, because of an adverse judicial finding as to the constitutionality of any provisions of the Florida
    Motor Vehicle No-Fault Law, as amended, providing for the exemption of persons from tort liability, the premium stated
    In the declarations for any Liability, Medical Payments and Uninsured Motorists Insurance shall be deemed provisional
    and subject to recomputa1ion.Jfthis policy Is a renewal policy, such recomputation shall also Include a determination or
    the amount of any retum premium previously credited or refunded to the named Insured pursuant to the Florida Motor
    Vehicle No-Fault Law, as amended, with respect to Insurance afforded under a previous policy.
    If the final premium thus recomputed exceeds the premium stated In the declaraUons, the insured shall pay to 1he
    Company the excess as well as the amount of any return premium previously credited or refunded.
    PART IV· AUTOMOBILE MEDICAL PAYMENTS COVERAGE
    (Automobile Medical Payments coverage applies only if a premium amount Is shown In the Policy Declarations
    for "Medical Payments" covera.ge)
    DEFINITIONS
    The definitions or the terms Insured and you under Section I apply to Section II - Part IV also. The definitions under
    Section II • Part I also apply to Section II • Part IV.
    Usual and customary medical charges as used In this Part means charges that are otheJWise covered under Section II,
    Part I of the policy.
    Medically necessary as used in this Part means all services which would be covered under Section n, Part I of the
    policy,
    PAYMENTS WE WILL MAKE
    Under Automobile Medical Payments coverage, the Company will pay the usual and customary charges for bodily
    injury, caused by an accident arising out of the ownership, maintenance or use of a motor vehicle and sustained by:
        (1) You or any relative while occupying a motor vt~lllcle or, while a ped&$trJan through being struck by a motor
             vehicle; or
        (2) Any other occupants of the Insured motor vehicle injured In an accident that occurs outside the sfate of Florida,
             but within the United states of America, Its territories or possessions, or Canada.
        In addition, we wil pay, subjea to the coverage limit:
        (a) The portion of any claim ror Personal Injury Protection medical expense benefits otherwise covered but not
            payable due to the coinsurance provision of the Personal Injury Protection provision. This Is the 20% of medical
            expenses not covered In Part I - Payments We Will Make, tt.em {a);


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         {b) Usual and customary charges incurred for medlcaJ/y necessary services that exceed the Personal Injury
             Protection medical expense coverage paid and when Personal Injury Protection coverage Is exhausted; and
         (c) Usual and customary charges Incurred by you or any relaUve for medically necessary services tnat result
             from Injuries received while occupying a motor vehicle or as a pedestrian In an accident that occurs outside
             the state of Florida, but within the United States of America, Its territories or possessions, or Canada.
     EXCLUSIONS
    Automobile Medical Payments coverage does not apply:
    1. To you or any relative injured while occupying any motor vehicle owned by you or a relative and which Is not an
           lnsurad motor vehicle under this Insurance;
    2. To any person while operating the Insured motor vehlcJ(J without your express or implied consent;
    3. To any person, If such person's conduct contributed to his bodily Injury under any of the following circumstances:
           (I) Causing bodily Injury to himself intentionally;
          (ii) While committing a felony;
    4. To any pedestrian, other than you or any relative; or
    6. To any person, other than you, If such person is the owner of a motor vehicle with respect to which security Is
          required under the Florida Motor Vehicle No-Fault Law, as amended;
    6. To any person, other than you or a relative, who is entllled to personal injury protection benefits from the owner or
           owne'-' of a motor vehicle which is not an insured motor vehicle under this insurance or from the owner's insurer;
    7. To any person who sustains bodily injury while occupying a motor vehicle located for use as a residence or
          premises;
    8. To bodily Injury sustained by you or a relaUve that results from war of any kind;
    9. To bodily Injury sustained by you or a relative that results from exposure to tungl;
    10. To bodily Injury sustained by you or a relative that results from:
          (i} Nuclear reaction;
          {10 Radiation or radioactive contamination from any source;
          (iii) The intentional or accidental detonation of, or release of radiation from any nuclear or radioactive device:
    11. To bodily Injury sustained by you or a relative while occupying a motor vohlc/e, or while a pedestrian through
          being struck by a motor vehicle willie being employed or engaged In the business of selling, leasing, repairing,
          parking, storing, servicing, deliverintJ or testing vehicles. However, this exclusion does not apply to you or a r.tlatlve,
          or an agent or employee of you or a relative, when using the Insured motor vehicle.
    12, To bodily Injury sustained by you or a relative caused by the Insured in participatlon and/or prepamtion for any
          racing, speed or demolltloo contest or stunting activity of any nature, whether or not prearranged or organized.
    UMITS OF LIABIL.ITY
    Regardless of the number of persons insured, policies or bonds applicable, vehicles involved or claims made, the totat
    aggregate limit of Automobile Medical Payments benefits available from aU sources oomblned, Including this policy, for
   ·all loss and expense Incurred by or on behalf of any one person who sustains bodily Injury as the result of any one
    accident Is the amount listed In the declarations page.
    OTHER INSURANCE
    Any amount available for payment under this Insurance shall be reduced by the amount of benefits an Injured person has ·
    recovered for the same elements of Joss under the workmen's compensation or other similar laws of any state or the
    federal government.
    If benefits have been received under any similar coverage from any insurer for the same items of loss and expense for
    which benefits am available under this policy, we shall not be liable to make duplicate payments to or for the benefit of
    the injured person, bullhe Insurer paying such benefits shall be entitled to recover from us Its equitable pro rata share of
    the benefits paid and expenses Incurred in processing the claim. This coverage will coordinate wllh any applicable
    Personal Injury Protection benefits but will not duplicate any benefits available for payment. The coverage of the
    occupied vehicle Is primary.
    Any Uninsured Motorist Coverage or any excess Underinsured Motorist Coverage afforded by this policy shall be excess
    over any Automobile Medical Payments benefits paid or available for payment or which would be available but for the
    application of a deducllble; and subject to the terms and conditions of the Unlnsured/Underinsured Motorist coverage.
    POLICY PERIOD- TERRITORY
    The Insurance under this Part applies only to acctdents which occur during the policy period:
    (a) tn the state of Florida; and



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    (b) We will cover you or any relative for Injuries Incurred while occupying a motor vehicle or as a pedestrian In an
         accident that occurs outside the state of Florida, but within the United States of America, Its territories or
         possessions, or canada. This coverage is excess over any other valid and collectible insurance provided with respect
         to the occupied motor vehicle.
    CONDITIONS
    1. NOTICE
         In the event of an accident, written notice of the loss must be given to us or any of our authorfzed agents as soon as
         practicable, It any Injured person or his legal representatives shall lnstrtute legal action to recover damages for
         bodily Injury agalnst a third party, a copy of the summons and complaint or other process served in connection with
         such legal action shall be forwarded as soon as practicable to us by such injured person or his legal representative.
    2. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
        As soon as practicable the person making the claim shall give to us written proof of claim, under oath If required,
        which may Include full particulars of the nature and extent of the bodily Injury and treatment received and
        contemplated, and such other information as may assist us in determining the amount due and payable. Such person
        shall submit to mental or physJcal examinations at our expense when and as often as we may reasonably require and
        a copy of the medical report shall be forwarded to such person If requested. If the person unreasonably refuses to
         submit to an examination, we will not be liable for subsequent Automobile Medical Payment benefils.
        Whenever a person making a claim is charged with committing a felony, we shall withhold benetlls untll, at the trial
        level, the prosecution makes a formal entry on the record that It will not prosecute the case against the person, the
        charge Is dismissed or the person Is acquitted.
        We also have the right to determine If incurred charges and treatment are reasonable, medically necessary and
        causally related to a bodilY Injury sustained in an accident. This determination may be made by use of utilization
        review, peer reviews, medical bill reviews or medical examination. We will also have the right to determine If
        Incurred charges are usual and customary clrarges and If treatment Is medically necessatY.
        If requested by us an Insured , or any other person or organization making a clatm or seeking payment, must submit
        to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
        require.                                           .
        This provision includes providing a copy of any documents, forms, records or material requested to be provided as
        part of the EUO request whether the request is made before, during or after the EUO. If requested by us an Insured,
        or any other person or organization making a claim or see!ting payment, If the person unreasonably refuses to submit
        to an EUO, we will not be liable for medical payments benefits.
    3. ACTION AGAINST THE COMPANY
        No actiOn shall lie against us:
        (a) Unless the Insured has fully complied with all the policy's terms and conditions; and
        (b) Until 30 days after the required notice of accident and reasonable proof of claim has been filed with us; and
        (c) Unless we receive written notice of the Intent to Initiate litigation and within 30 days after receipt of such notice
             we do not:
              0) Pay the claim; or
             (JO Mail to the person filing the notice a written statement of our agreement to pay for such treatment in
                 accordance with the nollce.
       Payment or our written statement of agreement to pay for treatment shall be treated as being made on the date a
       draft, or other valid Instrument that is equivalent payment, or the written statement of agreement to pay, is placed In
       the United Stales mall property addressed posted envelope or If not so posted, on the date of delivery.
       The written notice of intent to Initiate litigation must state that it Is a demand letter for Automobile Medical Payments
       coverage and contain the following lnfonnation:
       (a) The name of the Insured for whom benefits are being sought Including a copy of the assi{Jlment giving rights to
             the claimant if the claimant is nol the Insured;
       (b) The claim number and or policy number upon which the claim was originally submitted; and
        (c} To the extent applicable, the name of the medical provider who rendered the treatment, services,
             accommodations or supplies that fonn the basis or the claim, and each exact amount, the date of trealment, .
             service or accommodation and the type of benefits claimed to be due. A health insurance claim form
             (CMS-1500) or UB 92 fonn or any other standard form approved by the Department of Financial Services, may
             be used as the Itemized statement.
        The written notice must be delivered to us by United States Certified or Registered mall, Return Receipt Requested,
        at the address we have filed With and that is made available by the office of the Florida Chief Financial Officer on Its
        internet website.



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        4. SUBROGATION
           In the event of payment to or for the benefits of any injured person under this insurance the company Is subrogated
           to the rights of the person to whom or for whose benefit such payments were made to the extent of such payments.
           Such person shall execute and deliver the instruments and papers and do whatever else Is necessary to secure such
           rights. Such person shall do nothing after loss to prejudice such rights.
           When an injured person has been paid by us and also recovers from another, the amount recovered will be held by
           the injured person In trust for us and reimbursed to us to the extent or our payment. If we are not reimbursed, we may
           pursue recovery of that amount directly against the injured person.
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        DEFINITIONS
        The definitions of the terms auto business, farm auto, non-owned auto, private passenger auto, relative, temporary
        substitute auto, utility auto, you, yout, and war under Section I apply to Section Ill also. Und~ this Section, the
        following special deftnitions apply:

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        2.
        8
                                         of the auto or
                                                                                                                                                                      : "
                                                                                                                                                                            condition.
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        4. Comprehensive means loss caused other than by collision and includes the following causes:
           (a) Missiles;
           {b) Falling objects;
           {c) Fire;
           (d) Lightning:
           (e) Theft;
           (f) Larceny;
           (g) Explosion;
           (h) Earthquake;
             (I) Windstorm;
             (J) Hall;
           (k) Water;
           (I) Flood;
           (m) Malicious mischief;
           (n) Vandalism:
           (o) Riot;
           (p) Civil commotion; or
           (q) colliding with a bird or animal.
        5. custom parts or equipment means paint, equipment, devices, accessories, enhancements, and changes, other
           than those which are original manufacturer installed, which:
           (a) Ate permanently Installed or attached; or
           {b) Alter the appearance or performance of a vehicle.
           This includes any electronic equipment, antennas, and other devices used exclusively to send or receive audio,
           visual, or data signals, or to play back recorded media, other than those which are original manufacturer installed,
           that are permanently Installed In the owned auto or a newly acquired vehicle using bolts or brackets, Including
           slide-out brackets.
        6, Depreciation means a decrease or loss in value to the auto or property because of use, disuse, physical wear and
           tear, age, outdatedness, or other causes.:
        7. Insured means:
           {a) Regarding the owned auto:
                (I) You and your relatives;
.
.....
                (il) A person or organization maintaining, using or having custody of the auto with your permission, If his use is
                     within the extent of that permission .
           (b) Regarding a non-owned auto, you and your relatives, when driving the auto, if the actual operation or use is
                with the permission or reasonably believed to be with the permission of the owner and within the extent or that
                permission.


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    8.

         {b) Other property Insured under this section.
    9.       •'/''t.,     I       !"   '   I I




         (b)
                                                                                    ••••       ''   \\)   '   ;   ..   •'.


                       passenger, farm or utility auto or a trailer•. ownership of which you acquire during the policy period
                                                                                                                             •••••
            or for which you enter into a lease during the policy period for a term or six months or more, If
            (I) It replaces an owned auto as described In (a) above, or                                  ·
            (ii) We Insure all private passenger, farm, and utility autos owned by you on the date of the acquisition and
                 you ask us to add it to the policy no more than 30 days later;
        (c) A temporary substitute auto.
    1o. Trailer means a trailer designed to be towed by a private passenger auto and not used as a home, residence,
        omce, store, display or passenger trailer. Trailer does not mean a trailer with bullt·ln sleeping facilities designed for
        recreational or camping use.
     , :·;     ',   •'I       r   dJ       • ,

   Comprehensive (Excluding Collision}
   1. We will pay for each loss, less the appllcable deductible, caused other than by collision to the owned or
      non-owned auto. This Includes glass breakage.
      No deductible will apply to loss to windshield glass.
      At the option of the Insured, breakage or glass caused by collision may be paid under the Collision coverage, If
      Included In the policy.
   2. We will pay, up to $200 per occurrence, less the applicable deductible, for loss to personal effects due to:
      (a) Fire:
      (b) Lightning;
      (c) Flood;
         (d) Falling objects;
         (e) Ear1hquake;
         (f) Explosion; or
      (g) Theft of the entire automobile.
      The property must be owned by you or a relative, and must be in or upon an owned auto.
   3, Losses arising out of a single occurrence shall be subject to no more than one deductible.
   cJIIIWI
   •
   2. We will pay up to $200 per occurrence, less the applicable deductible, for loss to personal effects due to a collision.
      The property must be owned by you or a relative, and must be In or upon an owned auto.
   3. Losses involving one owned auto, arising out of a single occurrence shall be subject to no more than one
      deductible.
   4. If more than one owned auto or non-owned auto Is Involved in a collision loss, any deductible will apply
      separately to each owned auto or non-owned auto,
   ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE PHYSICAL DAMAGE COVERAGES
   1. We will reimburse the Insured for transportation expenses Incurred during the period beginning 48 hours after a theft
      of the entire auto covered by Comprehensive coverage under this policy has been reported to us and the police.
      Reimbursement ends when the auto ,is returned to use or we pay for the loss.
      Reimbursement will not exceed $30.00 per day nor $900.00 per loss.
   2. We will pay general average and salvage charges for which the Insured becomes legally liable when the auto Is
      being transported.
   EXCLUSIONS
   section Ill Does Not Apply:
   1. To an auto used to cany passengers or goods for hire is not covered. However, a vehicle used in an ordinary car
      poor on a ride sharing or cost sharing basis Is covered.
   2. To loss due to war.


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   3. To loss to a non-owned auto when used by the Insured in the auto business.
   4. To loss caused by and limited to wear and tear, freezing, mechanical or electrical breakdown or failure, unless that
       damage results from a covered theft.
   6. To road damage to tires.
   6. To Joss due to radioactivity.
   7. To loss to any tape, wire, record disc or other medium for use with a device designed for the recording and/or
       reproduction of sound.
   B. To loss to any radar detector.
   9. To any vehicle or trailer when used for business or commercial purposes other than a farm auto.
   10. To Joss tor custom parts or ~qulpment unless the existence of those custom parts or equipment has been
       previously reported to us and an endorsement to the policy has been added.
   11. To any liability assumed under any contract or agreement.
   12. To any Joss resulting from:
       {a) The acquisition of a stolen vehicle;
       {b) Any governmental, legal or other action to return a vehicle to Its legal, equitable, or beneficial owner, or anyone
           claiming an ownership Interest in the vehicle; or
       (c) Any confiscation, seizure or Impoundment of a vehicle by governmental authorities.
       (d) The sale of an owned auto.
   13. To the destruction, Impoundment, confiscation or seizure of a vehicle by governmental or civil authorities due to its
       use by you, a relative or a pennlsslve user of the vehicle in Illegal activity.
   14. To any loss caused by the Insured in participation and/or preparation for any racing, speed, or demolition contest or
       stunting activity of any nature, Whether or not prearranged or organized.
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       t                              I   I        " :               f .' : '




   2. Will not exceed the prevailing competitive price to repair or replace the property at the time of loss, or any of Its
        parts, Including parts from non-original equipment manufacturers, with other of like kind and quality and will not
        include compensation for any diminution of value that Is claimed to result from the loss. Although you have the right
        to choose any repair facility or location, the limit of liability for repair or replacement of such property is the prevailing
        competitive price which Is the price we can secure from a competent and conveniently located repair facility. At your
        request, we will Identify a repair facility that will perform the repairs or replacement at the prevailing competitive
        price;
   3. To personal effects arising out of one occurrence is $200;
   4. To a trailer not owned by you is $500;
   &. For custom parts or equipment Is limited to the actual cash value of the custom parts or equipment, not to
        exceed the actual cash value of the vehicle.
        Actual cash value or betterment of property will be determined at the Ume of the loss and will include an
        adjustment for depreciation/betterment and for the physical condition of the property.                   ·
   6. If this policy covers two or more autos or trailers any deductlbles will apply separately to each.
   OTHER INSURANCE
   If the Insured has other insurance against a toss covered by Section Ill, we will not owe more than our pro rata share of
   the total coverage available. Any Insurance we provide for a vehicle you do not own shall be excess over any other valid
   and collectible insurance.
   CONDITIONS
   The following conditions apply only to the Physical Damage coverages:
   1. NOTICE
        As soon as possible after a loss, written notice must be given us or our authorized agent stating:
        (a) The identity of the Insured;
        (b) A description of the auto or trailer;
        (c) The time, place and details or the loss; and
        (d) The names and addresses of any witnesses.
        In case of theft, the Insured must promptly noUry the police.



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    2. ASSISTANCE AND COOPERATION OF THE INSURED
        The Insured will cooperate and assist us, if requested:
        (a) In the investigation of the loss;
        (b) In making setllements;
        (c) In the conduct of suits:
        (d) In enforcing any right of subrogation against any legally responsible person or organization·
       (e) At trials and hearings;                                                                        '
        (f) In securing and giving evidence: and
       (g) By obtaining the attendance of witnesses.
    3. ACTION AGAINST US
       Suit will not lie against us unless the policy terms have been complied with and until 30 days after proof of loss is
        filed and the amount of loss is determined.                          .
       If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any purpose, Including as
       evidence for any civil or criminal proceeding. If you ask us Immediately after a loss to preserve the salvage for
       inspection, we will do so for a period not to exceed 30 days. You may purchase the salvage from us if you wish.
    4, INSURED'S DUTIES IN EVENT OF LOSS
       In the event of Joss the Insured will:
       (a) Protect the auto, whether or not the loss Is covered by this policy. Further loss due to the Insured's failure to
             protect the auto will not be covered. Reasonable expenses Incurred for this protection will be paid by us.
       (b) File with us, within 91 days after loss, his swom proof of loss Including all information we may reasonably
             require.
       (c) At our request, the insured will exhibit the damaged property and submit to examination under oath.
    s.              A




    6. PAYMENT OF LOSS
       We may at our option:
       (a) Pay for the loss; or
       (b) Repair or replace the damaged or stolen property.
       At any time before the loss is paid or the property replaced, we may retum any stolen property to you or to the
       address shown in the declarallons at our expense with payment for covered damage. We may take all or part of the
       property at the agreed or appraised value, but there will be no abandonment to us. We may settle claims for loss
      either with the Insured or the owner of the property.
   1. NO BENEFIT TO BAILEE
      This insurance does not apply directly or Indirectly to the benefit of a earner or other bailee for hire liable for the loss
      of the auto.
   8. SUBROGATION
      When payment is made under this policy, we will be subrogated to all the Insured's rights or recovery, to the extent
      of our payment against others. The Insured will help us to enforce these rights. The Insured will do nothing aner
      loss to prejudice these rights.
      Thls means we will have the right to sue for or otherwise recover the loss from anyone else who rriay be held
      responsible.
   9. ASSIGNMENT
      With respect to Section Ill, Physical Damage Coverages, an Assignment of interest under this policy Will not bind us
      without our consent. Any nonconforming assignment shall be void and invalid. Moreover, the assignee of a
      nonconforming assignment shall acquire no rights under this contract and we shall not recognize any such
      assignment.




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                                  SECTION IV· UNINSURED MOTORIST COVERAGE
          Protection For You And Your Passengers For Injuries Caused By Uninsured And Hit-And*Run Motorist
    UNLESS AMENDED WITH THE STACKED OR NON-STACKED UNINSURED/UNOERINSUREO AMENDMENT, YOU
    ELECTED NOT TO PURCHASE CERTAIN VALUABLE COVERAGE, WHICH WOULD HAVE PROTECTED YOU AND
    YOUR FAMILY WHEN INVOlVED, IN A COVERED LOSS WITH AN UNINSURED/ UNDERINSURED MOTORIST.
    THIS POLICY DOES NOT PROVIDE UNINSURED/UNDERINSURED MOTORISTS BENEFITS.
    Uninsured/underinsured motorist benefits are designed to provide protection when you or your family are
    Involved In an accident with an unlnsured/underinsured motorist.
                                                SECTION V- GENERAL CONDITIONS
                                      These conditions Apply To all coverages In This Polley
    1. TERRITORY- POLICY PERIOD
       This policy applies only to accidents, occurrences or tosses during the ponoy period within the United States of
       America, Its territories and possessions, or Canada and while an owned auto is being transported between ports
        thereof.
        Unless otheiWise cancelled, this policy will expire as shown in the declarations. But, it may be continued by our offer
        to renew and your acceptance prior to the expiration date. Eadl period will begin and expire at 12:01 A.M. local time
        at your address stated in the declarations.
    2. PREMIUM
        When you dispose of, acquire ownershiP of, or replace a private passenger, farm or utility auto, any necessary
        premium adjustment will be made as of the date of the change and in accordance with our manuals.
    3. CHANGES
       The terms and provisions of this policy cannot be waived or changed, except by an endorsement issued to form a
       part of this policy.
        We may revise this policy during Its term to provide more coverage without an increase In premium. If we do so,
       your policy will automatically Include the broader coverage when effective In your state.
        The premium for each auto Is based on the InformatiOn we have in your file. You agree:
        (a) That we may adjust your policy premiums during the policy term Uany of this information on which the
             premiums are based Is Incorrect~ incomplete or changed.
        (b) That you will cooperate with us In determining if this Information Is correct and complete.
        (c) That you will notify us of any changes In this information.
       Any calculation or recalculation of your premium or changes in your coverage will be based on the rules, rates and
        forms on file, If required, for our use in your state.
    4. ASSIGNMENT
       Assignment of Interest under this policy will not blnd us without our consent.
        If you die, this policy wlfl cover:
        {a) Your surviving spouse;
        (b) The executor or administrator of your estate, but only while acting within the scope of his duties:
        {c) Any person having proper temporary custody of the owned auto, as an insured, until the appointment and
             qualificaUon of the executor or administrator of your estate; and
        (d) Under the Medical Payments coverage, a person who was a relative at the time of your death, if a premium is
             shown on the Policy Dedamtlons for Medical Payments.
    6. CANCELLATION BY THE INSURED
        You may cancel this policy by providing notice to us stating when 1 after the notice, cancelfatlon will be effective.
        However, you may not cancel during the first two months Immediately foltowing your policy's effective dale except:
        (a) Upon total destruction of all of the owned •utos;
                                           au
        (b) Upon transfer of ownership of of the owned autos;
        (c) If you obtained a replacement policy covertng an owned auto elsewhere; or
        (d) When we notify you that the premium charged must be Increased to oomply with our rate filings or the applicable
             laws of Florida, you have the following options;
         1. Upon receipt of your bill you may pay the difference in premium and keep the policy as It stands with the
             corrected premium; or
        2. You may cancel this policy within 10 days from the receipt of our notice and receive a refund of any uneamed
           premium; or
        3. Your failure to respond timely or pay the additional premium charged will result in the cancellation of your policy
           when all paid premiums are exhausted.
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        If this policy is cancelled, you may be enUUed to a premium refund. The premium refund, if any, will be computed on
        a pro-rated basis according to our manuals.                                                         ·
    6. CANCELLATION BY US
        We may cancel this policy by mailing to you, at the address shown In this policy, written notice stating when the
       cancellation will be effective. Thls notice will be mailed by United States Post Office certificate of mailing.
       We will mall this notice:
       (a} 10 days in advance If the proposed cancellaUon Is for nonpayment of premium or any of its Installments when
              d~                                                                                                        -
       (b) 45 days in advance In all other cases.
       The mailing or delivery of the above notice will be sufficient proof of notice. The policy will cease to be In etrect as of
       the date and hour stated In the notice.
       If this policy Is cancelled, you may be entitled to a premium refund. The premium refund, if ~ny, will be computed on
       a pro-rated basis according to our manuals.
       Payment or tender of unearned premium Is not a condition of cancellation.
    7. CANCELLATION BY U$ IS LIMITED
       After this policy has been in effect for 60 days or, lf the policy is a renewal, affective Immediately, we will not cancel
       unless:
       {a) You do not pay the premiums for this policy or any installment when due to us or our agent; or
       (b) Any Insured has had his driver's license or motor vehicle registration under suspension or revocation; either:
              {i) During the current policy period; or
              {II) During the preceding 180 days If this is a new policy; or
       (c) There has been Fraud or material misrepresentation under the policy in your application or in making a claim.
       We will not cancel a new policy during the first 60 days Immediately following the effective date of the policy for
       nonpayment of premium unless the reason for the canceUation Is the Issuance or a payment for the premium that is
       dishonored for any reason. If the initial payment on the policy Is dishonored, we will not declare the policy void
        without providing you with notice of your right to cure the nonpayment as required by Florida law.
       Nothing in this section will require us to renew this policy.
    8. RENEWAL
       We guarantee to renew this polk:y for private passenger, farm or utility autos as long as all the following conditions
       are met:
        1. You (or your spouse) are at least 50 years old and you (or your spouse) are a principal operator or an auto
             insured under this policy. There are no principal or occasional operators under the age of 25.
        2. You and all operators of autos Insured under this policy must be physically and mentally able to safely operate an
              auto. We may require an operator to provide certification of this rrom a doctor acceptable to us.
        3. The autos Insured are principally located in a state which has approved the use of this condition, and that state
            conllnues to approve the use on this condition.
        4. The representations provided-In your application for this policy were true.
        If these requirements are not mel, the guaranteed renewal condition does not apply. We reserve the right to
        terminate this guaranty In any state In which conditions require that we discontinue writing new and renewal policies
        for all our Insureds. Should we choose not co renew, we will mall to you, at the address shown in this policy, written
        notice of our refusal to renew at least 45 days prior to the exptratlon date. This notice will be mailed by United
        states Post Offloo certificate of mailing. The mailing or delivery of this notice will be sufficient proof of notice.
         If you:
         {1) do not pay the premium as required to renew this policy; or
         (2) have Informed us or our agent that you wish the policy cancelled or not renewed; or
     •   (3) do not accept our offer to renew;

        11 will be construed to mean that you have refused our renewal otrer and the policy will expire without notice.
        If this policy has been In effect ror 5 years or more we will not refuse to renew solely because an Insured was
        Involved In a single traffiC accident.
    9. NON·RENEWAL
       We agree that we will not refuse to renew or continue this policy unless a written notice of our refusal to renew or
       continue Is mailed to you, at the address shown In the policy, at least 45 days prior to the expiration notice. This
       notice will be mailed by United States Post Office certificate of mailing. The mailing or delivery or this notice will be
       sufficient proof of notice.

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   10. MEDIATION OF CLAIMS
        In the event of a claim for bodily Injury amounting to $10,000 or less, or any property damage claim, either party
        may demand mediation of the claim, provided that suit has not yet been filed. Only one mediation may be
        demanded for each claim, unless both parties agree to more than one mediation. Mediation is not binding on either
        party.
        A request for mediation shall be filed with the Department of Financial Services on a form approved by the
        Department. The request for mediation shall state the reason for the request and the Issues in dispute which are to
        be mediated. The Department of Financial Services will appoint the mediator to conduct the mediation. Each party
        may once reject the mediator selected by the Department, either originally or after the opposing side has exercised
        its option to reject a mediator. Each party participating in the mediation must have the authority to make a binding
        decision. AU parties must mediate in good faith.
       The cost of the mediation, as set by the Department of Financial Services is shared equally by the parties. Costs
        incurred by a party In preparing for or attending the mediation are paid by the party Incurring that cost.
   11. OTHER INSURANCE
       If other Insurance is obtained on your ownod auto. any similar insurance afforded under this policy for that auto will
       terminate on the effective date ofth& other insurance.
   12. ACTION AGAINST US
       Persons other than the Insured covered by this policy, may not name us as a defendant prior to first obtaining a
       judgment against an Insured.
   13. DIVIDEND PROVISION
        You are entitled to share In a distribution of the surplus of the Company as determined by its Board of Directors from
       time to time.
   14. DECLARATIONS
       By accepting this policy, you agree that:
       (a) The statements In your application and In the declarations are your agreements and representations;
       (b} This policy Is Issued In reliance upon the truth of these representations; and
       (c) This policy, along wlth the application and declaration sheet, embodies all agreements relating to this Insurance.
             The terms of this policy cannot be changed orally.
   16. FRAUD AND MISREPRESENTATION ·
       Coverage Is not provided to any person who knowingly conceals or misrepresents any material fact or circumstance
       relating to this Insurance:
       1. At the time application Is made; or
       2. At any time during the policy period; or
       3. In connection with the presentation or settlement of a claim.
   16. EXAMINATION UNDER OATH (EUO)
       The Insured, or any other person or organization seeking coverage under this poflcy must submit to examination
       under oath by any person named by us when, where and as often as wa may reasonably require. This provision
       includes providing a copy of any documents, forms, records, or materials requested fo be provided as part of the
       EUO request whether the request Is made before, during or after the EUO.
   17. TERMS OF POLICY CONFORMED TO STATUTES
       Any terms of this policy in conflfct with the statutes of Florida are amended to conform to those statutes.
    18. CHOICE OF LAW
        The policy and any amendment(s} and endorsement(s) are to be interpreted pursuant to the laws of the state of
       Florida.




                                                                                                          New PGI/cy Page 39 Of 62
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                                        SECTION VI· AMENDMENTS AND ENDORSEMENTS
    1. SPECIAL ENDORSEMENT UNITED STATES GOVERNMENT EMPLOYEES
    A. Under the Property Damage coverage of Section I, we provide coverage to United States Government employees,
       civilian or milfla.y, using
       1. Motor vehicles owned or leased by the United States Government or any of its agencies., or
       2. Rented motor vehicle used for United States Government business, ·
       when such use \s with the permission of the United States Government. Subject to the limits describe In paragraph
       B. below, we will pay sums you are legally obligated to pay for damage to these vehicles.
    B. The following limits apply to this coverage:
        1. A $100 deductible applies to each occurrence.
       2. For vehicles described in A.1. above, our liability shall not exceed the lesser of the following:
           (a) The actual cash value of the property at the time of the occurrence; or
           (b) The cost to repair or replace the property, or any of its parts with other of nke kind and quality; or
           (c) Two months basic pay of the Insured; or
          (d) The limit of Property Damage liabfflty coverage stated In the declarations.
        3. For vehicles described In A.2. above, our liability shall not exceed the lesser of the following:
          (a) The actual cash value of the property at the time of the occurrence; or
          (b) The cost to repair or replace the property, or any of it parts w!th other of like kind and quality; or
           (c) The limit of Property Damage liability coverage stated in the declarations.

    This insurance Is excess over other valid and collectible insurance.




                                    w. c. E. Robinson                                 0. M. Nicely
                                       Secretary                                       President




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Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 34 of 115
                                    Case Number: CACE-16-0 16030 Division: 25
  Filing# 45874387 E-Filed 08/30/2016 03:35:58 PM



                                                            IN THE CIRCUIT COURT OF THE
                                                            171H JUDICIAL CIRCUIT IN AND FOR
                                                            BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all            CASE NO:
        others similarly situated,
                                                            CLASS REPRESENTAliON
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY, GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANYi GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY

                 Defendants.
        _____________________________________________ !

                                       REQUEST FOR PRODUCTION

                 COMES NOW, the Plaintiff, KERRY ROTH, on behalf of herself and all others

        similarly situated, and pursuant to Rule 1.350 of the Florida Rules of Civil

        Procedure,        and   requests   that   the   Defendants,    G EICO   General   Insurance

        (GOVERNMENT EMPLOYEE INSURANCE COMPANY; GEICO INDEMNITY COMPANY;

        GEICO CASUALTY COMPANY; GEICO ADVANTAGE INSURANCE COMPANY; GEICO

        CHOICE INSURANCE COMPANY and GEICO SECURE INSURANCE COMPANY, to

        produce and permit the undersigned to inspect and copy the following items at the

        offices of the undersigned counsel on or before thirty {30) days from the date of

        service:

                 1.       Produce a copy of all form communications to policy Insureds relating to

        total loss claims for leased vehicles insured under Florida policies between january 1, 2011




              ***FILED: BROWARD COUNTY, FL HOWARD FORMAN, CLERK 8/30/2016 3:35:54 PM.****
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        and the present, that reference sales tax.

               2.      Produce all documents evidencing training to claim representatives and/or

        sales representatives during the period of january 1, 2011 through the present relating to

        coverage or Actllal Cash Value Sales Tax or state and local regulatory fees on leased

       · vehicles total loss covered claims.

               3.      All documents relating to or evidencing the consideration of1 and/or

        implementation of, the decisio11 of Defendants to pay or not pay Actual Case Value Sales

        Tax or state and local regulatory fees on first party total Joss covered claims for leased

        vehicles which are covered by Defendants under Florida policies. Responsive documents

        should include all memoranda and communications relating to such decision and all

        communications to claim representatives and sale representative relating to payment of

        sales tax and state and local regulatory fees for total loss leased vehicles.

               4.      A copy of each form of automobile insurance policy issued by Defendants in

        Florida, since January 1, 2011, including a copy of each form of any addendum,

       amendment or endorsement to the forms, that relate In any way, to the payment or non-

       payment of Actual Cash Value Sales Tax or state and local regulatory fees on leased vehicle

       total loss covered claims.

               5.     Produce all documents evidencing or supporting any assertion that the

        PlaintifPs policy does not require that the Defendants pay sales tax or state and local

        regulatory fees in the case of a total loss of an insured leased vehicle.

               6.     Produce each and every document evidencing or relating to each and every

       formal or informal complaint or inquiry from insureds who made a first party covered total

       loss claim on a leased Florida vehicle, and relating to the Defendants' payment of or refusal
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         to pay sales tax or state and local regulatory fees.

                7.     Produce all documents evidencing any communication at any time between

         any Defendant and the Florida Office of Insurance Regulation addressing whether the

         Defendants are obi igated to pay sales tax or state and local regulatory fees to Florida

         insureds for the total loss of an insured leased vehicle.

                8.     Produce all documents evidencing or referencing the policies or procedur-e of

         Defendants relating to the payment of sales tax on first party total loss claims for Florida

         insureds for the total loss of a leased vehicle under form A-70 FL (03-11).

                9.     Produce all documents evidencing or referencing the policies or procedure of

         Defendants relating to the payment of sales tax on first party total loss claims for Florida

         insureds for the total loss of an owned or financed vehicle.

                                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was setved by

         process server on the Defendants.

                                                                Christopher J, lynch, P.A.
                                                                Attorney for Plaintiff
                                                                6915 Red Road, Suite 208
                                                                Coral Gables, Florida 33143
                                                                Telephone: (305) 443~6200
                                                                Facsimile: (305) 443-6204
                                                                Clynch@hunterlynchlaw.com
                                                                lmartinez@hunterlynchaw .com

                                                                By:   /s/ Christopher J. Lynch
                                                                      CHRISTOPHER J. LYNCH
                                                                      FBN 331041
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 37 of 115




                                              Edmund A. Normand, Esq.
                                              FBN: 0865590
                                              Normand Law PLLC
                                              4551 New Broad St.
                                              Orlando, Fl 32814
                                              Ed@Ed Normand .com

                                              By: /s/ Edmund A. Normand
                                                      EDMUND A. NORMAND
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 38 of 115
                                    Case Number: CACE-16-016030 Division· 25
  Filing# 45874387 E-Filed 08/30/2016 03:35:58 PM                       .




                                                      IN THE CIRCUIT COURT OF THE
                                                      17TH JUDICIAL CIRCUIT IN AND FOR
                                                      BROWARD COUNTY, FlORIDA

        KERRY ROTH, on behalf of herself and all      CASE NO:
        others similarly situated,
                                                      CLASS REPRESENTATION
                 Plaintiff,

        vs.
        GEICO GENERAl INSURANCE
        COMPANY, GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANYi
        GEICO CASUAlTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY~ GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY

                 Defendants.
       -------------------------------------'
                  PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANTS

                 COMES NOW, the Plaintiff, KERRY ROTH, on behalf of herself and all others

        similarly situated, and. hereby notifies the Court that they have propounded the

        attached Interrogatories to the Defendants, GEICO General Insurance Company

        GOVERNMENT EMPLOYEE INSURANCE COMPANY; GEICO INDEMNITY COMPANY;

        GEICO CASUALTY COMPANY; GEICO ADVANTAGE INSURANCE COMPANY; GEICO

       CHOICE INSURANCE COMPANY AND GEICO SECURE INSURANCE COMPANY to be

        answered in accordance with Rule 1.340 of the Florida Rules of Civil Procedure.




              **'~'FILED: BROWARD COUNTY, FL HOWARD FORMAN,   CLERK 8/30/2016 3:35:54 PM.*"'**
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served with the
       complaint by process server on the Defendant.

                                                   Christopher J. Lynch, P.A.
                                                   Attorney for Plaintiff
                                                   6915 Red Road 1 Suite 208
                                                   Coral Gables, Florida 33143
                                                   Telephone: (305) 443-6200
                                                   Facsimile: (305) 443-6204
                                                   Clynch@h unterlynch law .com
                                                   lmartinez@hunterlynchaw.com

                                                   By:     /s/ Christopher J. Lynch
                                                           CHRISTOPHER j. LYNCH
                                                           FBN 331041

                                                   -and-

                                                   Edmund A. Normand~ Esq.
                                                   FBN: 0865590
                                                   Normand Law PLLC
                                                   4551 New Broad St.
                                                   Orlando, Fl 32814
                                                   Ed@EdNormand.com

                                                   By: /s/ Edmund A. Normand
                                                            EDMUND A. NORMAND
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 40 of 115
Filing# 46655972 E-Filed 09/20/2016 10:43:47 AM



                                                              IN THE CIRCUIT COURT OF THE
                                                              17TH JUDICIAL CIRCUIT IN AND FOR
                                                              BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all              CASE NO: 16-016030
        others similarly situated,
                                                              CLASS REPRESENTATION
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                  Defendants.
        --------------------------------~/
                                                    SUMMONS

        TO:       GEICO Advantage Insurance Company
                  By Serving Registered Agent
                  Chief Financial Officer
                  200 E. Gaines Street
                  Tallahassee, FL 32399

                                                    IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after
       this summons is served on you to file a written response to the attached Complaint with
       the clerk of this Court. A phone call will not protect you. Your written response,
       including the case number given above and the names of the parties, must be filed if
       you want the Court to hear your side of the case. If you do not file your response on
       time, you may lose the case, and your wages, money, and property may thereafter be
       taken without further warning from the Court. There are other legal requirements. You
       may want to call an attorney right away. If you do not know an attorney, you may call
       an attorney referral service or a legal aid office (listed in the phone book).

              If you choose to file a written response yourself, at the same time you file your
       written response to the Court, you must also mail or take a copy of your written
       response to the "Plaintiff/Plaintiff's Attorney" named below.




              ~~ou Fll...ED: BROWARD COUNTY, FL   HOWARD FORMAN, CLERK 9/20/2016 10:43:46 AM.*•••
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                                CHRISTOPHER j. LYNCH, P.A.
                                     HUNTER & LYNCH
                                6915 SW 57 Avenue, Suite 208
                                   Coral Gables, FL 33143
                                       (305) 443-6200

        THE STATE OF FLORIDA:

        TO:         Executive Express
                    4460 NW 73rd Avenue
                    Miami, FL 33166

               You are commanded to serve this Summons and Complaint with First Set of
        Interrogatories and Amended Request For production in this lawsuit on the above
        named Defendant.        SEP 27 2016


                                                  As Clerk of Said Court




                                                               as
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Filing# 46655972 E-Filed 09/20/2016 10:43:47 AM



                                                           IN THE CIRCUIT COURT OF THE
                                                             1
                                                           17 H JUDICIAL CIRCUIT IN AND FOR
                                                           BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all           CASE NO: 16-016030
        others similarly situated,
                                                           CLASS REPRESENTATION
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                 Defendants. .
        --------------------------------~/
                                                 SUMMONS

        TO:      GEICO Casualty Company
                 By Serving Registered Agent
                 Chief Financial Officer
                 200 E. Gaines Street
                 Tallahassee, FL 32399

                                                IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after
       this summons is served on you to file a written response to the attached Complaint with
       the clerk of this Court. A phone call will not protect you. Your written response,
       including the case number given above and the names of the parties, must be filed if
       you want the Court to hear your side of the case. If you do not file your response on
       time, you may lose the case, and your wages, money, and property may thereafter be
       taken without further warning from the Court. There are other legal requirements. You
       may want to call an attorney right away. If you do not know an attorney, you may call
       an attorney referral service or a legal aid office (listed in the phone book).

               If you choose to file a written response yourself, at the same time you file your
        written response to the Court, you must also mail or take a copy of your written
        response to the 11 Piaintiff/Piaintiff's Attorney" named below .




              ..,,... FILED: BROWARD COUNTY, FL HOWARD FORMAN, CLERK 9/20/2016 10:43:46 AM.****
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                                CHRISTOPHER j. LYNCH, P.A.
                                     HUNTER & LYNCH
                                6915 SW 57 Avenue, Suite 208
                                   Coral Gables, FL 33143
                                       (305) 443-6200

        THE STATE OF FLORIDA:

        TO:         Executive Express
                    4460 NW 73rd Avenue
                    Miami, FL 33166

               You are commanded to serve this Summons and Complaint with First Set of
        Interrogatories and Amended Request For production in this lawsuit on the above
        named Defendant.         SEP 27 2016


                                                  As Clerk of Said Court
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 44 of 115
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                                                        IN THE CIRCUIT COURT OF THE
                                                        17TH JUDICIAL CIRCUIT IN AND FOR
                                                        BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all        CASE NO: 16·016030
        others similarly situated,
                                                        CLASS REPRESENTATION
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEJCO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                 Defendants.
        --------------------------------~/
                                               SUMMONS

        TO:      GEICO Choice Insurance Company
                 By Serving Registered Agent
                 Chief Financial Officer
                 200 E. Gaines Street
                 Tallahassee, FL 32399

                                              IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after
       this summons is served on you to file a written response to the attached Complaint with
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       an attorney referral service or a legal aid office (listed in the phone book).

              If you choose to file a written response yourself, at the same time you file your
       written response to the Court, you must also mail or take a copy of your written
       response to the "Plaintiff/Plaintiff's Attorney" named below.




              ***FILED: BROWARD COUNTY, FL HOWARD FORMAN, CLERK 9/20/2016 10:43:46 AM.****
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                                CHRISTOPHER j. LYNCH, P.A.
                                     HUNTER & LYNCH
                                6915 SW 57 Avenue, Suite 208
                                   Coral Gables, FL 33143
                                       (305) 443-6200

        THE STATE OF FLORIDA:

        TO:         Executive Express
                    4460 NW 73rd Avenue
                    Miami, FL 33166

               You are commanded to serve this Summons and Complaint with First Set of
        Interrogatories and Amended Request For production in this lawsuit on the above
        named Defendant.       SEP 27 2016


                                                  As Clerk of Said Court
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 46 of 115
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                                                         IN THE CIRCUIT COURT OF THE
                                                         17TH JUDICIAL CIRCUIT IN AND FOR
                                                         BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all         CASE NO: 16-016030
        others similarly situated,
                                                         CLASS REPRESENTATION
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                 Defendants.
        --------------------------------~/
                                               SUMMONS

        TO:      GEICO General Insurance Co.
                 By Serving Registered Agent
                 Chief Financial Officer
                 200 E. Gaines Street
                 Tallahassee, FL 32399

                                              IMPORTANT

               A lawsuit has been filed against you. You have twenty (20) calendar days after
        this summons is served on you to file a written response to the attached Complaint with
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               If you choose to file a written response yourself, at the same time you file your
        written response to the Court, you must also mail or take a copy of your written
        response to the "Plaintiff/Plaintiff's Attorney" named below.




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                               CHRISTOPHER j. LYNCH, P.A.
                                    HUNTER & LYNCH
                               6915 SW 57 Avenue, Suite 208
                                  Coral Gables, Fl33143
                                      (305) 443-6200

       THE STATE OF FLORIDA:

       TO:         Executive Express
                   4460 NW 73rd Avenue
                   Miami, FL 33166

              You are commanded to serve this Summons and Complaint with First Set of
       Interrogatories and Amended Request For production in this lawsuit on the above
       named Defendant.         SEP 27 2016


                                                 As Clerk of Said Court




                                                              as Dep
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 48 of 115
Filing# 46655972 E-Filed 09/20/2016 10:43:47 AM



                                                           IN THE CIRCUIT COURT OF THE
                                                           17TH JUDICIAL CIRCUIT IN AND FOR
                                                           BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all           CASE NO: 16-016030
        others similarly situated,
                                                           CLASS REPRESENTATION
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                  Defendants.
                                                                I

                                                SUMMONS

        TO:      GEICO Indemnity Company
                 By Serving Registered Agent
                 Chief Financial Officer
                 200 E. Gaines Street
                 Tallahassee, FL 32399

                                                IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after
       this summons is served on you to file a written response to the attached Complaint with
       the clerk of this Court. A phone call will not protect you. Your written response,
       including the case number given above and the names of the parties, must be filed if
       you want the Court to hear your side of the case. If you do not file your response on
       time, you may lose the case, and your wages, money, and property may thereafter be
       taken without further warning from the Court. There are other legal requirements. You
       may want to call an attorney right away. If you do not know an attorney, you may call
       an attorney referral service or a legal aid office (listed in the phone book).

              If you choose to file a written response yourself, at the same time you file your
       written response to the Court, you must also mail or take a copy of your written
                        11
       response to the Piaintiff/Piaintiff's Attorney" named below .




              ..,... Fll...ED: BROWARD COUNTY, FL HOWARD FORMAN, CLERK 9/20/2016 l0:43:46AM.uu
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 49 of 115




                               CHRISTOPHER j. LYNCH, P.A.
                                    HUNTER & LYNCH
                               6915 SW 57 Avenue, Suite 208
                                  Coral Gables, FL 33143
                                       (305) 443-6200

       THE STATE OF FLORIDA:

       TO:         Executive Express
                   4460 NW 73rd Avenue
                   Miami, FL 33166

              You are commanded to serve this Summons and Complaint with First Set of
       Interrogatories and Amended Request For production in this lawsuit on the above
       named Defendant.
                              SEP 27 2016


                                                 As Clerk of Said Court
Case 0:16-cv-62942-WPD Document 1-2 Entered on FLSD Docket 12/14/2016 Page 50 of 115
Filing# 46655972 E-Filed 09/20/2016 10:43:47 AM



                                                          IN THE CIRCUIT COURT OF THE
                                                            1
                                                          17 H JUDICIAL CIRCUIT IN AND FOR
                                                          BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all          CASE NO: 16-016030
        others similarly situated,
                                                          CLASS REPRESENTATION
                  Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                 Defendants.
                                                                I

                                                SUMMONS

        TO:      GEICO Secure Insurance Company
                 By Serving Registered Agent
                 Chief Financial Officer
                 200 E. Gaines Street
                 Tallahassee, FL 32399

                                               IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after
       this summons is served on you to file a written response to the attached Complaint with
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       written response to the Court, you must also mail or take a copy of your written
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              *** FU..ED: BROWARD COUNTY. FL. HOWARD FORMAN, CLERK 9/20/2016 10:43:46 AM.****
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                               CHRISTOPHER J. LYNCH, P.A.
                                    HUNTER & LYNCH
                               6915 SW 57 Avenue, Suite 208
                                  Coral Gables, FL 33143
                                      (305) 443-6200

       THE STATE OF FLORIDA:

       TO:        Executive Express
                  4460 NW 73rd Avenue
                  Miami, FL 33166

              You are commanded to serve this Summons and Complaint with First Set of
       Interrogatories and Amended Request For production in this lawsuit on the above
       named Defendant.       SEP 27 2016


                                                 As Clerk of Said Court
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Filing# 46655972 E-Filed 09/20/2016 10:43:47 AM



                                                        IN THE CIRCUIT COURT OF THE
                                                        17TH JUDICIAL CIRCUIT IN AND FOR
                                                        BROWARD COUNTY, FLORIDA

        KERRY ROTH, on behalf of herself and all        CASE NO: 16-G.16030
        others similarly situated,
                                                        CLASS REPRESENTATION
                 Plaintiff,

        vs.

        GEICO GENERAL INSURANCE
        COMPANY; GOVERNMENT EMPLOYEE
        INSURANCE COMPANY; GEICO INDEMNITY COMPANY;
        GEICO CASUALTY COMPANY; GEICO ADVANTAGE
        INSURANCE COMPANY; GEICO CHOICE INSURANCE
        COMPANY AND GEICO SECURE INSURANCE COMPANY,

                 Defendants.
                                                             I

                                              SUMMONS

        TO:      Government Employ Insurance Company
                 By Serving Registered Agent
                 Chief Financial Officer
                 200 E. Gaines Street
                 Tallahassee, FL 32399

                                              IMPORTANT

               A lawsuit has been filed against you. You have twenty {20) calendar days after
        this summons is served on you to file a written response to the attached Complaint with
        the clerk of this Court. A phone call will not protect you. Your written response,
        including the case number given above and the names of the parties, must be filed if
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        an attorney referral service or a legal aid office (listed in the phone book).

               If you choose to file a written response yourself, at the same time you file your
        written response to the Court, you must also mai I or take a copy of your written
        response to the "Piaintiff/Piaintiffts Attorney" named below.




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                               CHRISTOPHER j. LYNCH, P.A.
                                    HUNTER & LYNCH
                               6915 SW 57 Avenue, Suite 208
                                  Coral Gables, FL 33143
                                      (305) 443-6200

       THE STATE OF FLORIDA:

       TO:         Executive Express
                   4460 NW 73rd Avenue
                   Miami, FL 33166

              You are commanded to serve this Summons and Complaint with First Set of
       Interrogatories and Amended Request For production in this lawsuit on the above
       named Defendant.        SEP 27 2016


                                                 As Clerk of Said Court
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  Filing# 48649964 E-Filed 11108/2016 02:51 :05 PM



                                                              IN THE CIRCUIT COUR OF THE 17TH
                                                              JUDICIAL CIRCUIT IN AND FOR
                                                              BROWARD COUNTY, FLORIDA


        KERRY ROTH, on behalf of herself and all              CASE NO: 16-016030
        others similarly situated,
                                                              CLASS REPRESENTATION
                  Plaintiff,

        \IS,


       GEICO GENERAL INSURANCE
       COMPANY; GOVERNMENT EMPLOYEES
       INSURANCE COMPANY;
       GEICO INDEMNITY COMPANY;
       GEICO CASUALTY COMPANY; and
       GEICO CORPORATION

                  Defendants.
       ----------------------'
                       PLAINTIFF'S AMENDED CLASS ACTION COMPLAINT FOR DAMAGES

                  The Plaintiff KERRY ROTH 1 on behalf of herself and all others similarly situated, files

       this Class Action Complaint against GEICO GENERAL INSURANCE COMPANY;

       GOVERNMENT EMPlOYEES INSURANCE COMPANY; GEICO INDEMNITY COMPANY;

       GEICO CASUALTY COMPANY; and GEICO CORPORATION as follows:

                                          I. NATURE OF THE ACTION

                  1.      This is a dass action lawsuit by Plaintiff who was the named insured under a

       GEICO GENERAL INSURANCE COMPANY, (hereinafter also identified as "GElCO

       GENERAL"), automobile policy issued for private passenger auto physical damage requiring

       payment of "Actual Cash Value" ("ACV"), including sales tax, and state and local regulatory

       fees, for covered total loss leased vehicles.




               ***FILED: BROWARD COUNTY, FL HOWARD FORMAN. CLERK 1118/2016 2:51:05 PM ... **
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               2.      The Defendant G EICO GENERAL's standardized pol icy language, which is also

        present in the Florida policies issued by GOVERNMENT EMPLOYEES INSURANCE

        COMPANY; GEICO INDEMNITY COMPANY; and GEJCO CASUALTY COMPANY shows that

        sales tax equal to at least six percent' of the cash value of the insured vehicle at the time of

        loss (the "ACV Sales Tax)!), is included in a total loss vehicle coverage, as are state and local

        regulatory fees.

               3.     This lawsuit is brought on behalf of Plaintiff KERRY ROTH and on behalf of

        similarly situated insureds who have suffered damages due to the Defendants' policy and

        practice of refusing to pay full ACV Sales Tax and state and local regulatory fees, on insured

        leased vehicles, in the case of total loss, notwithstanding that, as set forth above, the

        Defendants' standardized policy language provides coverage for said ACV Sales Tax and fees.

                                        II. JURISDICTION AND VENUE

               4.     This Court has subject matter jurisdiction over Plaintiff's claims since the

        Plaintiff's and Classes' claims exceed $15,000.00.

               5.      Venue is proper in this Court pursuant to §47.051 Fla. Stat. since the

        Defendants have agents or representatives doing business in this county.

                                                  Ill. THE PARTIES

               6.      At all times material hereto, the Plaintiff KERRY ROTH, is and was a person

        residing in Boca Raton, Florida.


               1FioridaJs sales tax is 60fo.   In addition, some counties impose a local sales tax of up
        to 1.5% in addition to the 6% state sales tax.

                                                          2
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                7.     At all times material hereto, the Defendant GEICO GENERAL is and was a

        foreign corporation authorize to transact insurance in the State of Florida, and one of the

        largest, if not the largest, motor vehicle insurer in Florida. The Defendants GOVERNMENT

        EMPLOYEES INSURANCE COMPANY; GEICO INDEMNITY COMPANY; and GEICO

        CASUALTY COMPANY are also foreign corporations authorized to transact insurance in

        Florida.

               8.      All the aforementioned companies are subsidiaries of GEICO CORPORATION

        which controls all actions of all the subsidiaries relating to the illegal conduct at issue in this

        case since, as stated above, all subsidiaries use the same policy forms, as well as the same

        claim adjusting forms, adjusting guidelines and procedures.

                                         IV. FACTUAL ALLEGATIONS

               9.      At all times material hereto, the Plaintiff ROTH was a 1esseeof a 2015 Audi A3

        Sedan, VIN numberWAUACGFF7F1092286, financed through VW Credit, Inc.

               10.     At all times material hereto, the Plaintiff ROTH insured the 2015 Audi A3 under

        a Florida Family Automobile Insurance Policy with GEICO GENERAL (a copy of said policy is

        attached hereto as Exhibit A).

               11.     On or about June 18, 2016, the Plaintiff ROTH was involved in an accident

        while operating the 2015 Audi A3. As a result of said accident, ROTH filed a claim for

        property damage with GEICO GENERAL, claim number 05590116-0101-012.

               12.     Following the filing of said claim, GEICO GENERAL determined that the 2015

        Audi A3 was a total loss with an ACV of $23,947.00. GEICO GENERAL then paid the

        aforementioned sum to the lienholder, VW Credit Inc., minus the GEICO GENERAL policy's

        deductible of $1,000.00, for a total of $22,947.00.
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               13.    In paying the aforementioned amount, GEICO GENERAL indicated that because

        the vehicle was leased, no ACV Sales Tax or state or local regulatory fees were owed under

        the GEICO GENERAL policy.

                                       V. THE GEICO GENERAL POLICY

              14.    The GEICO GENERAL policy, under Section Ill, entitled PHYSICAL DAMAGE

        COVERAGE, (page 14 of Form A-70 FL(03-11 ), states:

                            LOSSES WE WILL PAY

                             *                     *                      *
                            Collision

                            1. We will pay for collision loss to the owned
                            auto for the amount of each loss less the
                            applicable deductible and to the non-owned auto
                            for the amount of each loss less the applicable
                            deductible when driven by you or a relative.

              15.    The GEICO GENERAL policy1 in Section Ill, under the provision entitled LIMIT

       OF LIABILITY, (page 15 of Form A-70Fl (03-11}), states:

                            The limit of our liability for loss:

                            1. Is the actual cash value of the property at the
                            time of the loss.


              16.    Finally, the DEFINITIONS provtsion oftheGEICO GENERAL policy (page 13 of

       form A-70Fl (03-11)), states:

                            1. Actual cash value is the replacement cost of
                            the   auto or property         less   depreciation   or
                            betterment.


              17.    Clearly1 the policy language, which is identical to the language contained in the
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        Florida policies issued by GOVERNMENT EMPLOYEES INSURANCE COMPANY; GEICO

        INDEMNITY COMPANY; and GEICO CASUALTY COMPANY; does not include: (1) any

        provision excluding sales tax or state and local regulatory fees from ACV; (2) any provision

        deferring payment of the ACV Sales Tax and state or local regulatory fees for any purpose

        whatsoever; (3) any provision requiring an insured to lease a replacement vehicle; (4) any

        provision requiring the insured to first lease a replacement vehicle as a condition precedentto

        receiving a ACV Sales Tax or state and regulatory fees; and (5) any provision linking the

        amount of ACV Sales Tax or state and regulatory fees to the lease of a replacement vehicle and

        the corresponding sales tax or state or regulatory fees on said replacement vehicle.

                                          VI. CLASS ALLEGATIONS

               18.    The Plaintiff brings this action seeking representation of two classes pursuant to

        Florida Rule of Civil Procedure 1.220(b}(2) and 1.220(b)(3).

               19.    Plaintiff's claims are typical to those of all class members because members of

        the class are similarly affected by the Defendant's failure to pay ACV Sales Tax and state and

        local regulatory fees upon the total loss of insured leased vehicles. The material policy terms

        for each class member are identical to the terms of the Plaintiff's policy.

               20.    Plaintiff's interests are not antagonistic to those of other class members nor is the

        Plaintiff subject to any unique defenses.

               21.    The claim of the representative Plaintiff ROTH, raises questions of law and fact

        that are common to all members of the classes, within the meaning of Florida Rule of Civil

        Procedure 1.220. Said common questions indude, but are not limited to, the following: (a)

        whether under the Defendant's standardized policy language Plaintiff and the class members

       are owed ACV Sales Tax and state and local regulatory fees upon the total loss of an insured
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        leased vehicle; and (b) whether the Defendants have breached their insurance contracts with

        the Plaintiff and the class members by failing to pay ACV Sales Tax and state and local

        regulatory fees upon the total loss of an insured leased vehicle.

               22.     The claims of the Plaintiff are typical of the claims of all other members of the

        classes because all such claims arise from the alleged improper failure of the Defendant to pay

        ACV Sales Tax and state and local regulatory fees upon the total loss of insured leased

        vehicles.

               23.     The Plaintiff and her counsel will fairly and adequately protect and represent the

        interests of each member of the classes.

               24.     The Plaintiff is committed to the vigorous prosecution of this action and has

        retained competent counsel experienced in prosecuting and defending class actions.

               25.     Defendants have acted and refused to act on grounds generally applicable to the

        class, thereby making appropriate final declaratory relief with respect to the class as a whole

        pursuant to Rule 1.220(b)(2).

               26.    This action is properly maintained as class action pursuant to Federal Rule of

        Civi I Procedure 1.220(b)(3) in that questions of law and fact, common to claims of the Plaintiff

        and the members of the classes, will predominate over questions of law or fact, affecting only

        individual members of the classes, such that a class action is superior to other available

        methods for the fair and efficient adjudication of this controversy.

               27.    The Plaintiff brings this action pursuant to Rules 1.220(b)(2) and 1.220(b)(3) of

        the Florida Rules of Civil Procedure as class representative, individually and on behalf of all

        other persons or entities similarly situated, more specifically defined as follows:

                                                   CLASS A
                                                      6
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                            All insureds, under a policy issued by Geico
                            General Insurance Company in the State of
                            Florida, covering a leased vehicle, who sustained a
                            total loss to said vehicle and who, within the five
                            year time period prior to the date on which this
                            lawsuit was filed till the date of any certification
                            order, received payment from Geico General
                            Insurance Company for said loss, which payment
                            did not include ACV Sales Tax or state and local
                            regulatory fees for the loss of said vehicle.


                                                 ClASS 8

                            All insureds, under policies issued by Geico
                            General Insurance Company; Government
                            Employees Insurance Company; Geico Indemnity
                            Company; and Geico Casualty Company; in the
                            State of Florida, covering a leased vehicle, who
                            sustained a total loss to said vehicle, and who,
                            within the five years time period prior to the date
                            on which this lawsuit was filed to the date of any
                            certification order, received payment from any of
                            the aforementioned insurance companies, which
                            payment did not include ACV Sales Tax or state
                            and local regulatory fees for the loss of said
                            vehicle.


              28.    The issues relating to the claim of the Plaintiff do not vary from the issues

       relating to the claims of the other members of the classes such that a class action provides a

       more efficient vehicle to resolve this claim than through a myriad of separate lawsuits.

              29.    Certification of the above classes under Florida Rule of Civil Procedure 1.220 is

       also supported by the following considerations:

                            (a} The relatively small amount of damages that
                            members of the classes have suffered on an
                            individual basis would not justify the prosecution
                            of separate lawsuits.

                            (b) Counsel in this class action is not aware of any
                                                      7.
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                               previously filed litigation against the Defendants in
                               which any of the members of the classes are a
                               party and which any question of Jaw or fact in the
                               subject action is to be adjudicated.

                               {c) No difficulties would be encountered in the
                               management of the Plaintiff's claim on a class
                               action basis because the classes are readily
                               definable and the prosecution of this class action
                               would reduce the possibility of repetitious
                               Iitigation.


               30.     Finally, although the precise number of class members is unknown to Plaintiff at

        this time, and can only be determined through appropriate discovery, the Plaintiff believes that

        since the Defendants collectively are one of the largest, if not the largest, motor vehicle insurer

        in the State of Florida, the classes of persons affected by the Defendants' unlawful practice

        consists of thousands of individuals or the classes of persons affected are otherwise so

        numerous, that joinder of all class members is impractical.       The unlawful practice alleged

        herein is a standardized uniform practice, employed by the Defendants, pursuant to

        standardized insurance policy language, resulting in the retention by the Defendants of

        insurance benefits and monies properly owed to the Plaintiff and the class members.

                       COUNT I - BREACH OF CONTRACT FOR CLASSES A AND 8

               31.     The allegations contained in paragraphs 1 through 30 above are incorporated

        herein by reference.

               32.     Pursuant to the aforementioned uniform contractual provisionst upon the total

        loss of insured leased vehicles, the Plaintiff and the class members were owed the actual cash

        value of the vehicle which would include ACV Sales Tax and state and local regulatory fees.

               33.    The Defendants failure to provide coverage for the aforementioned ACV Sales

                                                        8
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        Tax and state and focal regulatory fees, constitutes a breach of said contractual provisions. As a

        result of said breaches, the Plaintiff and the class members are entitled to sums representing

        the benefits owed for ACV Sales Tax and state and local regufatory fees, under the Defendants•

        insurance policies, as well as costs, prejudgment and post judgment interest and otherrelief as

        is appropriate.

               34.     In addition, the Plaintiff and the class members are entitled to an award of

        attorney fees pursuant to §627.428 Fla. Stat.

               WHEREFORE, the Plaintiff KERRY ROTH, individually and on behalf of Classes A and

        B, seeks an award of compensatory damages as outlined above, pre and post judgment

        interest, costs, attorney fees and such other relief deemed appropriate. In addition, the

        Plaintiff ROTH seeks trial by jury of all issues so triable.

                          COUNT II- DECLARATORY RELIEF FOR CLASSES AAND 8

               35.    The allegations in paragraphs 1 through 30 above are incorporated herein by

        reference.

               36.    This is a class action for declaratory relief against the Defendants pursuant to

        86.011 et. seq. Fla. Stat. The question of law and fact common to the claim of the

        representative party ROTH, and the Classes, is whether the Defendants were obligated to

        provide coverage for ACV Sales Tax and state and local regulatory fees under the Defendants'

        insurance contracts issued to ROTH and the class members.

               37.     It is ROTH's and the class members position that pursuant to the Defendants

        policies, ROTH and the class members are entitled to ACV Sales Tax and state and local

        regulatory fees, while it is the Defendants' position that coverage for the aforementioned is not

        owed under the Defendants' policies.
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               38.     Accordingly, ROTH and the class members request a declaratory degree that the

        Defendants are obligated to provide coverage for ACV Sales Tax and state and local regulatory

        fees, under the insurance policies issued to the Class Members.

               WHEREFORE, the Plaintiff ROTH, individually and on behalf of the class members,

        requests the following relief: (a) a declaratory degree that the Defendants are obligated to

        provide coverage under the Defendants' policies for ACV Sales' Tax and state and local

        regulatory fees for the benefit of ROTH and the class members; (b) attorneys fees pursuant to

        §627.428 Fla. Stat.; (c) costs allowed by law; (d) any other supplementary relief deemed just

        and proper under 86.061 Fla. Stat.; and (e) trial by jury of all issues so triable.



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                                                             By: /s/ Christopher j. lynch
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                                                             FBN 331041



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                                                        to
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                                              By: lsi Edmund A. Normand
                                              EDMUND A. NORMAND




                                         1]
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                          GEICD                                ,,..,... .. ···
                          ONE GEICO PLAZA
                          Washington, D. c. 20076-0001
                          Telephone: 1·800·841·3000




                          Florida
                          Family
                          Automobile
                          Insurance
                          Policy




                      •      GEICO GENERAL INSURANCE COMPANY




                                          EXHIBIT
                                    1 \l.f.f     ll

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    Whenever "he," "hfs," 11 him," or "himseff'' appears In this policy, you may read "she," 11her, .. "hers," or 11 herself."
                                                          AGREEMENT
    We, the Company named In the declarations attached to this policy, make this agreement with you, the
    policyholder. Relying on the information you have furnished and the declarations attached to this policy and if
    you pay your premium when due, we will do the foJrowtng~

                                              SECTrON I - LIABILITY COVERAGES
                                      Bodily Injury Liability And Property Damage Liability
                                         Your Protection Against Claims From Others

    DEFINITIONS
    The words bolded and italicized In SeCtion I of this polley are defined below.
    1. Auto business means the business or selling, repairing, servlctng, storing, transporting or parking of autos.
    2. Bodily Injury means bodily Injury to a person, caused by accident, Including resulting sickness, disease or death. All
        claims ror damages arising from bodily injury to a person from a single loss shall be considered one bodily Injury.
    3. Farm auto means a truck type vehicle with a gross vehicle weight of 15,000 pounds or less, not used tor QOmmercial
        purposes other than farming.
    4. Insured means a person or oJganlzatfon described under PERSONS INSURED.
    6. Non-owned auto means a private passenger, farm or utility auto or trailer not owned by, furnished or available
        for regular use of either you or your relative, other than a temporary substitute auto. An auto rented or leased for
        more than 30 days will be considered as furnished or available for regular use.                                ·
    6. OWned auto means:
        (a) A vehicle described in this policy for whiCh a premium charge is shown for these coverages;
        (b) A trailer owned by you;
        (c) A private passenger, farm or utility auto, ownership or which you aoqulre during the policy period or tor which
             you enter into a lease during the policy period fOr a term of six months or more, If
             (I) It replaces an owned auto as defined in (a) above; or
             (iO We Insure aH private passenger, fann and utility autos owned by you on the date of the acquisition, and
                 you ask us to add it to the policy no more than 30 days later;
        (d) A temporary substitute auto.
    7. Private passenger auto means a four-wheel private passenger, stallon wagon or jeep-type auto, lncludil\g a farm or
        utility autD as defined.
    B. Relative means a person related to you by blood, marriage or adoption (including a ward or foster child) who is a
        resident of the same household as you.
    9. Temporary substitute auto maans a private passenger, farm or utility auto or tr'ailer, not owned by you or your
        relative, temporarily used with the pennisslon of the owner. This vehtcle must be used as a substitute for the owned
        auto or trailer when withdrawn from normal use because of Its breakdown, repair, servicing, Joss or destruction. This
        vehicle Will no longer qualify as a temporary substitute auto:
        (a) Five (5) days after the owned auto is deemed by us to be a total Joss, and
        (b) we pay the applicable limit of tiabUity under Section Ill.
    1o. Trailer means a vehicle desfgned to be towed by a private passenger auto. If the vehicle Is being used for business
        or commercial purposes, It Is a trailer only while used with a private passenger, farm or utility auto. Trailer also
        means a rarm wagon or farm Implement used With a farm auto-.
    11. Utility auto means a vehlclet other than a farm auto, with gross vEihiQie weight of 15,000 pounds or[ess of the
        pick-up body, van or panel truck type not used for commercial purposes.
    12. War means armed conflict between nations. whether or not declared, civil war, Insurrection, rebeltlon or revoluUon.
    13. You and your means the named Insured shown in the declarations or his or her spouse If a resident of the same
        household.
    LOSSES WE WILL PAY FOR YOU
    Under Section I, we will pay damages which an Insured becomes legally obligated to pay because of:
    1. Bodily /n]UfY, sustained by a person, and


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     2. Damage to or destruction of property,
         arising out of lhe ownership, maintenance or use of the owned auto or a non-owned auto.
         We will defend any suit for damages payable under the terms ot this policy. We may investigate and settle any claim
          or suit. Wa have no duly to Investigate or defend any claims which are not covered under the tenns of this policy.
          Our duty to defend ends when the limits of liability tor bodily Injury liability have been exhausted by payments of
          judgments or settlements.
    ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE LIABILITY COVERAGES
    1. All Investigative and legal costs Incurred by us.
    2. Interest calculated on that part of a judgment that Is within our limit of llabUlty and accruing:
         {a) Befor8 the judgment, where owed by law, and until we pay, offer to pay, or deposit In court the amount due under
              this coverage;
         (b) After the judgment, and until we pay, offer to pay, or deposit in court, the amount due under this coverage.
    3. Premiums for appeal bonds in a suit we appeal, or premiums for bonds to release attachments; but the face amount
         of these bonds may not exceed the applicable llmlt of our liability.
    4. wa will upon request by an Insured, provide reimbursement for the foJiowing Items:
         (a) Costs Incurred by any Insured for first aid to others at the time of an accident Involving an owned auto or
              non-owned auto.
         {b) Loss of earnings up to $50 a day, but not other income, if we request an Insured to attend hearings and trials.
         {c) All reasonable costs Incurred by an Insured at our request.
         (d) Premiums for bail bonds paid by an Insured due to tramc law violations arising out of the use of an owtJed auto,
              not to exceed $250 per ball bond.
    EXCLUSIONS
    Section I Does Not Apply:
                                                         or
    1. To any IJodlly Injury to any Insured or relative an Insured's family residing In the Insured's household.
        This exclusion does not apply If the Insured or relative of the Insured is.lnjured as a passenger In a motor vehicle
        insured under this policy while that vehicle is being driven by a person who Is not a relative, nor you.
    2. To any vehicle used to cMry passengers or goads for hire. However, a vehicle used In an ordinary car pool on a rfde
        sharing or cost sharing basis Is covered.
    3. To llablllty coverage for any person who intentionally causes bodily Injury or property damage.
    4. To bodily Injury or property damage that is insured under a nuclear liability policy. Thls exclusion applies even If !he
        limits of that policy are exhausted.
    5. To bodily injury or property damage arising from the operation of farm machinery.
    6. To bodily Injury to an employee of an Insured arising out of and In the course of employment by an Insured.
        However, bodily ltJ]ury of a domesUc employee or the insured Is covered unless benefits are payable or are
        required to be provided under a workmen's compensation law.
    7. To bodily InJury to a fellow employee of an Insured (other than you) inJured In the course of hls employment if the
        bodily Injury arises from the use or an auto In the business of his employer, and If benefits are payable under a
        workmen's compensation policy.
    8. To an owned auto while used by a person (o1her than you or a relative or your or your relatlw's partner, agent or
        employee) when he Is employed or otheiWise engaged in the auto business.
    9. To a non-owned auto whtle maintained or used by a person while he Is employed or otherwise engaged in any auto
        business.
        However, coverage does apply to a non-ow~Jed private passenger auto used by you, your chauffeur or a domestic
        servant, while engaged In the business of an Insured.
    10. To damage:
        (a) To property owned, or transported by an tnsumd; or
        (b) To property rented to or in charge of an Insured. This exclusion does not apply to a residence or private garage.
    11. To an auto acquired by you during the poHcy term, if you have purchased other liability Insurance for lt.
    12. To:
        (a) The United Slates of America or any of Its agencies;
        (b) Any person, includlog you, If protection ls arforded under the provisions of !he Federal Tort Claims Act.
    13. To any liability assumed under any contract or agreement.
    14. To bodily Injury or property damage caused by the Insured in participation and/or preparation for any racing,
        speed, or demolition contest or stunting activity or any nature, whether or not prearranged or organized.
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     15. To punitive or exemplary damages, regardless of any other provision of this policy.
     PERSONS INSURED
     Who Is Covered
     Section I applies to the follOWing as Insureds With regard to an owned auto:
          1. You;
          2. Any other person using the auto with your permission to the extent of that permission;
          3. Any other peTSon or organization for his or its liability because or acts or omissions of an Insured under 1. or 2.
               above.
     Section I applies to tho following as Insureds with regard to a non-owned 8uto:
          1. You and your relatives when driving the non-owned auto. Such use must be with the permission, or
               reasonably believed to be with the permission, of the owner and to the extent of that pennlssion.
          2. A person or organization, not owning or hiring the auto, regarding his or Its liability because of acts or omissions
               of an Insured under 1. above.
    The limits of liability stated In the declarations are our maximum obligations regardless of the number of Insureds
     involved in the occurrence. ·                                                                                           ·
    FINANCIAL RESPONSIBILITY LAWS
    When this policy Is certified as proof of compliance with the Florida financial responslblllly law for the future, this liability
     Insurance will comply with the provisions of that Jaw.
    OUT OF STATE COVERAGE
    When the poiJcy applies to the operation of a motor vehicle outside of your state, we agree to increase your coverages
    to the extent required or out-or-state motorists by local law. We will not provide Bodily Injury Liability Coverage under this
    provision If that coverage is not purchased and shown in the policy declarations. This additional coverage will be reduced
    to the extent thai you are protected by another insurance policy. No person can be paid more than once for any Item of
    loss.
    l.IMITS OF LIABILITY
    Regardless or the number of autos or fl'allers to which this policy applies:
    1. The limit of bodily Injury liability stated In the declarations as applicable to •each person" Is the limit of our liability for
          all damages, including damages for care and loss of services, because of bodily Injury sustained by one person as
         the result of one oceurrence.
    2. The limit of such liability slated In the declarations as applicable lo "each occurrence" Is, subject to the above
          provision respecting each person. the totallfmlt of our liability for all such damages, Including damages for care and
         loss of services, because of bodily Injury sustained by two or more persons as the result of any one occurrence.
    3. The limit of property damage liability slated In the declarations as applicable to •each occurrence" is the total limit of
         our liability for all damages because of damage to or destruction of the property of one or more persons or
         organizations, Including the loss of use of the property as the result of any one occurrence.
    4. lf thfs policY covers two or more autos, the LIMITS OF LIABJLfTY apply separately to each. An auto and attached
         trailer are constdered to be one auto.
    OTHER INSURANCE
    Any insurance we provlde ror losses arising out or the ownership, maintenance or use of a vehlcte you do not own shall
    be excess over any other valid and collecUble Insurance.                                                             ·
    If the Insured has other applicable insurance agaJnst a loss covered by Section I of this policy, we wiU not owe more than
    our pro-rata share of the total coverage available.
    CONDITIONS
    The following conditions apply to Section I:
    1. NOTICE
         As soon as possible after an occurrence, written notice must be given us or our authorized agent stating:
         (a) The Identity of the Insured;
         {b) The tfme, place and details of the occurrence;
         (c) The names and addresses of the injured, and of any witnesses; and
         (d} The names of the owners and the description and location of any damaged property.
         If a claim or suit Is brought against an Insured, he must promptly send us each demand, notice, summons or other
        process received.
   2. ASSISTANCE AND COOPERATION OF THE INSURED
      The Insured will cooperate and assist us, If requested:
      (a) In the JnvesllgaUon of the occurrence;
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         (b) In making settlements;
         {c) In the conduct of suits;
         (d) In enforcing any right of contribution or Indemnity against any legally responsible person or organization because
             of bodily Injury or property damage;
         (e) At trials and hearings;
         (f) In securing and glving evidence; and
        {g) By obtaining the attendance of witnesses.
         Only at his own cost will the Insured make a payment, assume any obltgatlon or incur any cost other than for first aid
        to others.
     3, ACTION AGAINST US
        No suit will 1/e against us:
         (a) Unless the Insured has fully compiled with all the policy's tem1s and conditions, and
        (b) Until the amount of the Insured's obligation to pay has been finally determined, either:
             (I) By a flnal judgment against the Insured after actual trial; or
             (ii) By written agreement of the Insured, the claimant and us.
        A person or organfzalion or the legal representative of either, who secures a judgment or written agreement, may
        then sue to recover up to the polk:y limits.
        No person or organization, Including the Insured, has a right under this policy to make us a defendant In an action to
        determine the lnsuretf$ liability.
        Bankruptcy or insolvency of the Insured or of his estate will not relieve us of our obligations.
     4. SUBROGATION
        When payment is made under this policy, we will be subrogated to all the Insured's rights of recovery against others.
        The Insured will help us to enforce these rights. The Insured will do nothing after loss to prejudice these rights.
        This means we will have the right to sue for or otherwise recover the loss from anyone else who may be held
        responsible.
        When a person has been paid damages by us under this policy and also recovers from another, that person shall:
        (a) Hold in trust for us the amount recovered; and
        (b) Reimburse us to the extent of our payment.
        SECTION U: PART I·PERSONAL INJURY PROTECTION AND PART IV-AUTOMOBILE MEDrCAL PAYMENTS
    (Automobile Medical Payments Coverage applies only it a premium amou.nt Is shown In the Policy Declarations
    for "Medical Payments" coverage)
    PART I • PERSONAL INJURY PROTECTION
    DEFINITIONS
    The definitions or the lenns Insured and you under Section l apply to Section II also.
    1. Bodily injury means bodily Injury, sickness, or disease to a person, caused by accident, including resulting sickness,
       disease or death resulting therefrom. All claims for damages arising from bodily Injury to a person from a single loss
       shall be considered one bodily Injury.
    2. Insured motor whicle means a motor vehicle:
       (a) Of 'Nhlch you are the owner, and
       (b) With respect to whldl security Is required to be maintain&! under the Florida Motor Vehicle No-Fault Law, and
       (c) For which a premium Is charged, or which is a trailer, other than a mobile home, deSigned for use with a motor
            vehicle.
    3. (a) Medical expenses means reasonable expenses for medically necessary medical, surgical, x-ray, dental,
           ambulance, hospital, professional nursing and rehabilitative services for prosthetic devices and for necessary
           remecllal treatment and services recognized and.permitted under the laws of the state for an Injured person.
            Reimbursement for medical expenses shall be llmiled to and shall not exceed 60% of the schedule of maximum
            charges as set forth In Florida Statuto § 627. 736(5) (a) 2.
       (b) However, the medical benefits shall provide reimbursement only for such services and care that are lawfully
           provided, supervised, ordered, or prescribed by a physician licensed under Florida Statutes, Title 32, chapter 458
           or chapter 459, a dentist licensed under Florida Statutes, Title 32, chapter 466, or a chiropractic physician
           licensed under Florida Statutes, Tille 32, chapter 460 or that are provided by any of the following persons or
           entitles:
            1. A hospital or ambulatory surgical center licensed under Florida Statutes, Title 29, chapter 395,
            2. A person or entity licensed under Florida Statutes Title 29, chapters 401.2101-401.45 that provides
               emergency tmnsportallon and treatment.

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              3. An entity wholly owned by one or more physicians licensed under Florida Statutes Title 32, chapter 458 or
                 chapter 459, chiropractic physicians licensed under Florida Statutes. Title 32, chapter 460, or dentists licensed
                 under Florida SlaiUles, Title 32, chapter 466 or by suqh practitioner or practitioners and the spouse, parent,
                 child, or sibling of that practitioner or those practltfoners.
              4. An entity wholly owned, directly or Indirectly, by a hospital or hospitals.
              5. A hearth care Clinic licensed under Florida Statute Title 29, chapters 400.990-400.995 that Is :
                 a. Accredited by the JOint Commission on Accreditation of Healthcare Organizations, the American
                     Osteopathic Association, the Commission of Accreditation of Rehabilitation Facilities, or the Accreditation
                     Association for Ambulatory HeaHh Care, Inc.; or
                 b. A health care clinic that;
                     (I) Has a medical director licensed under chapter Florida Statute Title 32, chapter 458, chapter 459, or
                         chapter 460;
                    (10 Has been continuously licensed for more than 3 years or is a publicly traded corporation that issues
                         securities traded on an exchange registered with the United States Securities and Exchange
                         Commission as a national securities exchange; and
                    (IIQ Provides at least four of the following medical specialties:
                   · (A) General medicine.
                         (B) Radiography.
                         (C) Orthopedic medicine.
                         (D) Physlcal medicine.
                         (E) Physleal therapy.
                         (F) Physical rehabilitation,
                         (G) Prescribing or dispensing outpatient prescription medication.
                         (H) Laboratory services.

     4. Medically necessary refers to a medical service or supply that a prudent physician would provide for the purpose of
             preventing, diagnosing, or treating an Illness. Injury, disease, or symptom In ·a manner that is:
              {a) In accordance wl1h generally accepted standards or medical practice;
              (b) Clinically appropriate in tenns of type, frequency, extent, site, and duration: and
              (c) Not primarily for the convenience of the patient, physician, or other health care provider.
    5. Motor vehicle means any self-propelled vehicle of four <~r more wheels whlcllls of a type both designed and
         required to be licensed for use on the highways of Florida and any trailer or semi-trailer designed for use with such
         vehicle.
        A motor ve/Jicle does not Include:
         (a) Any motor vel1/cle which fs used In mass transit other Ihan public school transportation and designed to
             transport more than flve passengers exclusive of the operator of the motor vehicle and which is owned by a
             municipality, a transit authority, or a political subdivision of the stale; or
        (b) A mobile home.
    6. Occupying means In or upon or entering Into or alighting from;
    7. Owner means a person or organization who holds the legal title to a motor vehlcle1 and also Includes:
        (a} A debtor having the right to possession, In the event a motor vehicle is the subject of a security agreement, and
        {b) A lessee having the right to possesslon,ln the event a motor vehicle Is the subject of a lease with option to·
             purcllase and such lease agreement Is for a period of six months or more, and
        (c) A lessee having th& right to possession, In the event a motor vehicle Is the subject of a lease without option to
             purchase, and such lease agreement Is for a period of six months or more, and the lease agreement provides
             that the lessee shall be responsible for securing Insurance;
    8. PedestrlatJ means a person while not an occupant of any self-propelled vehicle;
    9. Relative means a person related to you by blood, marriage or adoption (Including a ward or foster chlld) who Is
        usually a resident of the same household as you;
    1o. Replacement services expenses means wlth respect to the periOd ot disability of the Injured person all expenses
        reasonably incurred In obtaining from others ordinary and necessary services In lieu of those that, but for such Injury,
        1he injured person would have performed without Income for the benefit of his household;
    11. Work Joss means with respect to the period of disability of the injured person, any loss of income and eamJng
        capacity from inability to work proximately caused by the ~njury sustained by the Injured person.




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     PAYMENTS WE WILL MAKE
     The Company will pay In accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended, or newly
     enacted), and In accordance with all fee schedules contained In the Florida Motor Vehicle No Fault Law,
    to or for the benefit of the Injured person:
         (a) 80% of medical expenses; which are medically necessary, pursuant to the following schedule of maximum
             charges contained in the Florida Statute§ 627.736(5) (a) 2:
              1. For emergency transport and treatment by providers licensed under Florida Statutes, Title 29, chapter 401,
                 200 percent of medicine.
             2. For emergency services and care provided by a hospital licensed under Florida Statutes, Title 29, chapter
                 395, 75 percent of the hospital's usual and customary charges.
             3. For emergency services and care as defined by Florida Statutes Title 29 chapter 395.002(9) provided in a
                 facility licensed under chapter 395 rendered by a physician or dentist, and related hospital inpatient services
                 rendered by a physician or dentist, the usual and customary charges in the community.
             4. For hOspital Inpatient services, other than emergency services and care, 200 percent of the Medicare Part A
                 prospective payment applicable to the spedflc hospital providing the inpatient services.
             5. For hospital outpatient services, other than emergency services and care, 200 percent of the Medicare Part A
                 Ambulatory Payment Classification for the specific hospital providing the outpatient services.
             6. For all other medical services, supplies, and care, 200 percent of the allowable amount under the participating
                 physicians schedule of Medicare Part B. However, If such services, supplies, or care Is not reimbursable
                 under Medicare Part B, we may limit reimbursement to 80 percent of the maximum reimbursable allowance
                 under workers' compensation, as determined under Florida Statutes Title 31, chapter 440.13 rules adopted
                 thereunder which areln effect at the time such services, supplies, or care Is provided. Services, supplies, or
                 care thatls not reimbursable under Medicare or workers' compensation is not required to be reimbursed by us.
         (b) 60% of work loss; and
         (c) Replacement services expenses; and
        (d) Death benefits.
    The above benefits will be provided for Injuries Incurred as a result of bodily Injury, caused by an accident arising out of
    the ownership, maintenance Dr use of a motor veiJ/cle and sustained by:
         (1) You or any relative while occupying a motor vehicle or, while a pedestrian through being s!rucl< by a motor
             vehicle; or                                                                                                      .
        (2) Any other person whila occupying the Insured motor vehicle or, While a pedestrian, through being struck by
             the Insured motor vehicle.
    EXCLUSIONS
    Section II • Part I does not apply.
    1. To you or any relative injured While occupying any motor vehicle owned by you and which Is not an Insured
        motor vehicle under this Insurance;
    2. To any person while operating the Insured motor vehicle without your express or Implied consent;
    3. To any person, if such person's conduct contributed to his bodily Injury under any of the following circumstances:
        (I) Cat.tSing bodily Injury to himself Intentionally;
        (II) While committing a felony;
    4. To you or any dependent relative for work loss If an entry in the schedule or declarations indicates such coverage
        does not apply;
    6. To any pedestrian, other than you or any relative, not a legal resident of the State of Florida;
    6. To any person, other than you, if such person Is the owner of a motor vehicle with respect to which security Is
        required under the Florida Motor Vehicle No·Fault law, as amended;
    7. To any person, other than you or any relative, who Is entitled to personal injury protection benefits from the owner
        or owners of a motor vehicle which Is not an Insured motor vehicle under this Insurance or from the owner's
        Insurer; or
    6. To any person who sustains bodily ltyurywhlle occupying a motor vehicle located for use as a residence or
        premises.




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     LIMIT OF LlABILITY; APPLICATION OF DEDUCTIBLE; OTHER INSURANCE
     Regardless of_the number of persons Insured, policies or bonds applicable, vehicles involved or claims made, the total
     aggregate llm1t of personal Injury protection benefits available under the Florida Motor Vehicle No-Fault Law as
     amended, from all sources combined, including 1hls poliGy, for all loss and expense Incurred by or on behalf ~f any one
     person who sustains bodily Injury as the result of any one accident shall be $1 0,000; provided that payment for death
     benefits included In the foregoing shall be equal to the lesser of $5,000 or the remainder ot unused personal injury
     protection benefits per Individual.
    After the deductible is met, each Insured is eligible to receive up 1o $10,000 In total benefits described. The amount of
     any deduc~lble stated In the declarations shall be deducted from all expenses or losses as described in FL Stat. §
    627.736 wdh respect to all medics/ expenses, replacement services expenses and work loss Incurred by or on behalf
     of each person to whom the deductible applfes and wtio sustains bodily Injury as the result of any one accident. Such
    deductible will not apply to the death benefit.
    Any amount available for payment under this Insurance shall be reduced by the amount of benefits an Injured person has
    recovered for the same elements of loss under the workmen's compensation Jaws of any state or the federal government.
    If beneflls have been received under the Florlda Motor Vehicle No-Fault law, as amended, from any ln$urer for the same
    Items of loss and expense for which benefits are available under this policy, we shall not be liable to make duplicate
    payments to or for the benefit of the Injured person, but the insurer paying suoh benefits shall be entitled to recover from
    us its equitable pro rata share of the benefits paid and expenses incurred in processing the claim.
    POLICY PERIOD· TERRITORY
    The insurance under this Section applies only to accidents which occur during the policy period:
          (a) In the State of Florida;                                                  ·
          (b) As respects you or a re/Btlve, while occupying the Insured motor vehicle outside the State of Florida but
              within the United States of America, Its territories or possessions or Canada; and
          {c) As respects pedestrians Injured when struck by the ;nsurQd motor vehicle in the State of Florida, If they are not
              the owner of a motor vehicle for which coverage Is required to be maintained under the Florida No-Fault Law.
    CONDITIONS                                                                                               .
    1. NOTICE
         In the event of an accident, wrilten notice of the Joss must be given to us or any of our authorized agems as soon as
         practicable. If any Injured person or his legal representatives shall institute legal acllon to recover damages for
         bodily Injury against a third party, a copy of the summons and complaint or other process sef\led In connection With
         such legal action shall be forwarded as soon as practicable to us by such Injured person or his legal representative.
    2. ACTION AGAINST THE COMPANY
         No action shall lie against us unless, as a condition precedent thereto, there shall have been fUll compliance with all
         terms of this Insurance, and in accordance with, and subject to the terms, conditions, and exclusions of, the .Florida
         Motor Vehicle No-Fault Law, as amended.
    3. PROOF OF ClAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
         As soon as practicable the person making the cfalm shall give to us written proof of claim, under oath If required,
         which may include full pattioolars of the nature and extent of the Injuries and treatment received and contemplated,
         and sooh other Information as may assist us in determining the amount due and payable. Such person shall submit to
         mental or physical examinations In accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended,
         or newly enacte<l), at our expense when and as often as we may reasonably require and a copy of the medical report
         shall be forwarded to such person If requested. If the person unreasonably refuses to submit to an examination, we
         will not be liable for subsequent personal Injury protection benefits.
         Whenever a person making a claim Is charged with committing a felony, we shall withhold benefits until, at the trial
        level, the prosecution makes a formal entry on the record that it will not prosecute the case against the person, the
         charge Is dismissed or the person Is a<:qultted.
         If requested by us an Insured, or any other person or organization making a claim or seeking payment, must submit
         to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
        require.
        This provision includes providing a copy of any documents, forms, records or material requested to be provided as
        part of the EUO request whether the request is made before, during or after the EUO. If requested by us an Insured •
         or any other person or organization making a claim or seeking payment, if the person unreasonably reruses to submit
        to an EUO, we will not be liable for personal injury protection benefits.




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     4. REIMBURSeMENT AND SUBROGATION
          rn the event of payment to or for the benefits of any Injured person under this Insurance:
          (a) The Company Is subrogated to the rights of the person to whom or for whose ·benefit such payments were made
               to the extent of such payments, Such person shall execute and deliver the Instruments and papers and do
               whatever else is necessary to secure such rights. Such person shall do nothing after loss to prejudice such rights.
          (b) The Company providing personal injury protection benefits on a private passenger motor vehicle, as defined In
               the Florida Motor Vehicle No-Fault Law, shatl be entitled to reimbursement to the extent or the payment of
               personal injury protection benefiCs from the owderor insurer of the owner at a commercial motor vehicle, as
               defined In the Florida Motor Vehicle No-Fault law, if such Injured person sustained the Injury while occupying,
               or while a pedestrian through being struck by, such commercial motor vehicle.
     5. SPECIAL PROVISION FOR RENTED OR LEASED VEHICLES
          Notwithstanding any provision of this coverage to the contrary, If a person Is Injured while occupying, or through
          being struck by, a motor vehicle rented or leased under a rental or lease agreement, within the state of Florida,
          which does not specify otherwise In at least 10 point type on the face of such agreement, the personal injury
          protection coverage afforded \lnderthe lessor's policy shall be primary. Personal injury protection coverage offered
          under this policy will not apply to a vehicle rented, operated, used, or leased outside the state or Florida.
     PART II- MODIFICATION OF POLfCY COVERAGES
    Any Automobile Medical Payments insutance, any Uninsured Motorists coverage or any excess Underinsured Motorists
    coverage afforded by the policy shall be excess over any Personal Injury Protection benefits paid or available fOf
    payment or which would be available but for the application of a deductible.
    Regardless of whether the futr amount of Personal InJury Protection beneffts have been exhausted, any Medical
    Payments Insurance afforded by this policy shall pay the por1ion of any claim for Personal Injury Protootlon medical
    expenses which are otherwise covered but not available for payment due to the limitation of 80% of medical expenses
    contained In Part I but shall not be payable for the amount of the deductible selected.
    PART Ill • PROVISIONAL PREMIUM
    It is agreed that in the event of any change in the rules, rates, rating plan, premiums or minimum premiums applicable to
                                                                                               or
    the insurance afforded, because of an adverse judicial finding as to the constitutionality any provisions or the Florida
    Motor Vehicle No...Fault Law, as amended, providing for the exemption of pel50ns from tort liability, the premium stated
    In the declarations for any Liability, Medical Payments and Uninsured Motorists Insurance shall be deemed provisional
    and subject to recomputatlon.lf this policy Is a renewal policy, such recomputation shall also Include a determination or
    the amount of any return premium previously credited or refunded to the named Insured pursuant to the Florida Motor
    Vehicle No-Faull Law, as amended, with respect to insurance afforded under a previous policy.
    If the final premium thus recomputed exceeds the premium S'lated In the declarations, the Insured shall pay to the
    Company the excess as weJI as the amount or any return premium previously credited or refunded.
    PART IV- AUTOMOBILE MEDICAL PAYMENTS COVERAGE
    (Automobile Medical Payments coverage applies only lr a premium amount fs shown In the Polley Declarations
    for ••Medical Payments" coverage)
    DEFINITIONS
    The definitions of the teims Jnsured and you under Sectron I apply to Section II - Part IV also. The definitions under
    Section II- Part I also apply to Section II- Part IV.
    Usual und customary medical charges as used In this Part means charges that are otherwise covered under Section II,
    Part I of the policy.
    Medically necessary as used In this Part means all services which would be covered under Section II, Part I of the
    policy.
    PAYMENTS WE WILL MAKE
    Under Automobile Medical Payments coverage, the Company will pay the usual and customary chsrges for bodily
    Injury, caused by an aooident arising out of the ownership, maintenance or use of a motor vehicle and sustained by:
        (1) You or any relative While occupying a motor vehicle or, while a pedestrian through being struck by a motor
             vehicle; or
        (2) Any other ocoupants of the Insured motor V6hfclelnjured in an accident that occurs outside the stale of Florida,
             but within the United States of America, its territories or possessions, or canada.
        In addition, we will pay, subject to the coverage limit:
        (a) The portion of any claim for Personal Injury Protection medical expense benefits otherwise covered but not
             payable due to the coinsurance provls!on of the Personal Injury Protection provision. This Is tl'te 20% of medical
             exPenses not covered in Part I - Payments We Will Make, Item (a);


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         (b) Usual and customary clmrges Incurred for medically necessary services that exceed the Personal Injury
             Protection medical expense coverage paid and when Personal Injury Protection coverage is exhausted; and
         (c) Usual and customary chatges Incurred by you or any relative for medlcaTiy necessary services that result
             from Injuries received while occupying a motor vehicle or as a pedestrian In an accident that occurs outside
             the state of Florida, but within the United States of America, its territories or possessions, or Canada.
     EXCLUSIONS
    Automobile Medical Payments coverage does not apply:
    1. To you or any relative Injured while occupying any motor vehicle owned by you or a relative and which Is not an
          lnsutGd motor vehicle under thls Insurance;               .
    2. To any person while operating the Insured motor vehicle without your express or Implied consent;
    3. To any person, if such person's conduct contributed to his bodily Tt1]utyunder any of the following circumstances:
          (I) Causing bodily Injury to hlmselr lntenllonally;
          (iQ While commHUng a felony;
    4. To any pedestrian, other than you or any rel&tlve; or
    5. To any person, other than you, if such person Is the owner of a motor veiJic/e with respect to which security Is
          required under the Florida Motor Vehicle No-Fault law, as amended;
    6. To any person, other than you ora relative, who Is entitled to personal injury protection benefits from the owner or
          owners of a motor velllcle which is not an Insured motor vehicle under this insurance or rrom the owner's insurer;
    7. To any person who sustains bodily ln]urywhile occupying a motor vehicle located for use as a residence or
          premises;
    8. To bodily Injury sustained by you or a relative that results from war of any kind;
    9. To bodily Injury sustained by you or a relative that results from exposure to fungi;
    10. To bodily Injury sustained by you or a relative that results from:
          (I} Nuclear reaction;
          (lf) Radlallon or radioactive contamination from any source;
          (ill) The Intentional or accidental detonation of, or release of radiation from any nuclear or radioactive device;
    11. To bodily Injury sustained by you or a relative while occupying a motor vehicle, or while a pedestrian through
          being struck by a motor vehicle while being employed or engaged In the business of selling, leasing, repairing,
          parking, storing, seJVIclng, delivering or testing vehicles. However, this exclusion does not apply to you or a relative,
          or an agent or employee 0( you or a relative, when using the Insured motor velllcte.
    12. To bodily Injury sustained by you or a relative caused by the Insured In participation and!or preparation for any
          racing, speed or demolition contest or stunting activity of any nature, whether or not prearranged or organized.
    LIMITS OF LIABILITY
    Regardless of the number of persons insured, policies or bonds applicable, vehicles Involved or claims made, the totaf
    aggregate llmH of Automobile Medical Payments benefits available from all souroes·combined, including this policy, for
    all loss and expense Incurred by or on behalf of any one person who sustains bodily Injury as the result of any one
    accident Is the amount listed In the declarations page,
    OTHER INSURANCE
    Any amount available for payment underthls Insurance shall be reduced by the amount of benefits an Injured person has
    recovered for the same elements of loss under the workmen's compensation or other similar laws of any state or the
    federal government.
    If benefits have been received under any similar coverage from any Insurer for the same Items of loss and expense for
    which benems are available under this policy, we shall not be liable to make duplicate payments to or for the benefit of
    the injured person, but the insurer paying such benefits shall be entitled to recover from us Its equitable pro rata share of
    the benefits paid and expenses incurred in processing the claim. This coverage will coordinate with any applicable
    Personal Injury Protection benefits but will not duplicate any benefits available for payment. The coverage of the
    occupied vehicle Is primary.
    Any Uninsured Motorist Coverage or any excess Underlnsured Motorist Coverage afforded by this policy shall be excess
    over any Automobile Medical Payments benefits paid or available for payment or which would be available but for the
    application of a deductible; and subject to the terms and conditions of the Untnsured/Underinsured Motorist coverage.
    POLICY PERIOD ·TERRITORY
    The insurance under this Part applies only to accidents which occur during the policy P.erlod:
    (a) In the State of Florida; and



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    (b) We will cover you or any relative for Injuries Incurred while occupying a motor vehicle or as a pedestrian In an
        accident that occurs outside the state of Florida, but within the United States of America, Its territories or
        possessions, or Canada. This coverage is excess over any other valid and collectible insurance provided with respect
        to the occupied motor velllc/e.
    CONDITIONS
    1. NOTICE
        In the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
        practicable. If any Injured person or his legal representatives shall Institute legal action to re<:over damages for
        bodily Injury against a third party, a copy of the summons and complaint or other process served in connection with
        such legal action shall be forwarded as soon as practicable to us by such injured person or his legal representative,
    2. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
        As _soon as p!'8ctlcable the person making the claim shall give to us written proof of claim, under oath if required,
        whtoh may Include full particulars of the nature and extent of the bodily Injury and treatment received and
        contemplated, and such other Information as may assist us In determining the amount due and payabfe. Such person
        shall submit to mental or physical examinations at our expense when and as often as we may reasonably require and
        a copy of the medical report shall be forwarded to such person If requested. If the person unreasonably refuses to
         submit to an examination, we will not be liable for subsequent Automobile Medical Payment benefits.
        Whenever a person making a claim Is charged wHtt committing a felony, we shall withhold beneftls until, at the trial
        level, the prosecution makes a formal entry on the record that it will not prosecute the case against the person, the
        charge Is dismissed or the person Is acquitted.
        We also have the right to determine if Incurred charges and treatment are reasonable, medically necessary and
        causally related to a bodily Injury sustained In an accident. This determination may be made by use of utilization
        review, peer reviews, medical bill reviews or medical examination. We will also have the right to determine if
        Incurred charges are usual and customary charges and If treatment Is medlcttlly necessary.
        If requested by us an lnsun~d, or any other person or organization making a claim or seeking payment, must submit
        to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
        require.
        This provision Includes providing a copy of any documents, fonns, records or material requested to be provided as
        part of the EUO request whether the request is made before, during crafter the EUO. If requested by us an lnsuted,
        or any other person or organl2:ation making a claim or seeking payment, if the person unreasonably refuses to submit
        to an EUO, we will not be liable for medical payments benefits.
    3. ACTION AGAINST THE COMPANY
        No action shall lie against us:
        (a) Unless the insured has fully complied with all the policy's terms and condition~ and
        {b) Unlll 30 days after the required notice of accident and reasonable proof of claim has been filed with us; and
        (c) Unless we receive written notice or the Intent to Initiate litigation and within 30 days after receipt of such notice
             we do not:
              (Q Pay the claim; or
             ~i) Mall to the person filing the notice a written statement of our agreement to pay for such treatment In
                  accordance wilh the notice.
        Payment or our written statement of agreement to pay for treatment shall be treated as being made on the date a
        draft, or other valid Instrument that Is equivalent payment, or the written statement of agreement to pay ,is placed In
        the United States mall properly addressed posted envelope or If not so posted, on the date of delivery.
        The written notice or Intent to Initiate litigation must state that it is a demand letter for Automobile Medical Payments
        coverage and contain the following Information:
        (a) The name of the Insured for whom benefits are being sought including a copy of the assignment giving rights to
             the claimant If the claimant Is not the insured;
        (b) The claim number and or policy number upon which the claim was originally submitted; and
        (c) To the extent applicable, the name of the medical provider who rendered the treatment, S81VIces,
              accommodations or supplies that form the basis or the claim, and each exact amount, the date of treatment,
             service or accommodation and the type of benefits claimed to be due. A health Insurance claim fonn
             (CMS-1500) or UB 9.2 form or any other stand am form approved by the Department of Financial Services, may
              be used as the Itemized statement.
         The written notice must be delivered to us by United States Certified or Registered maU, Return Receipt Requested,
         at the address we have filed with and that Is made available by the office of the Florida Chief Financial Officer on Its
         Internet website.


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      4. SUBROGATION
         In the event of payment to or for the benefits of any injured person under this Insurance the Company Is subrogated
         to the rights of the person to whom or for whose benefit such payments were made to the extent of such payments.
         Such person shall execute ~nd deliver the Instruments and papers and do whatever else Is necessary to secure such
         rights. Such person shall do nothing after loss to prejudice such rights.
         When an Injured ptnon has been paid by us and also recovers from another, the amount recovered will be held by
         the Injured person in trust for us and reimbursed to us to the extent of our payment. If we are not reimbursed, we may
         pursue recovery of that amount directly against the inJured person.
                                        SECTION Ill· PHYSICAL DAMAGE COVERAGES
                                        Your Protection For Loss Or Damage To Your Car
      DEFINITIONS
      The definitions of the terms auto business, ftmn auto, non-owned auto, private passenger auto, relative, temporary
      substitute auto, utility auto, you, yout, and war under seouon 1apply to Section Ill also. Under this Section, the
      following special definitions apply:
      1. Actual cash value Is the replacement cost of the auto or property less depreciation or bettermlfnt.
      2. Betterment is Improvement of the auto or property to a value greater than its pre-ross condition.
      3. CO.IIIslon means toss caused by upset of the covered auto or its collision Wilh another object, Including an attached
          vehlcte,·
      4. Comprehensive means toss caused other than by collision and Includes !he following causes:
          (a) Missiles;
          {b) Falling objects;
          (c) fire;
          (d) Lightning;
          (e) Theft;
          (f) Larceny;
          (g) Explosion;
          (h) earthquake;
          (I) Windstorm;
          {j) Hall;
          (k) Water;
          (I) Flood;
         (m) Malicious mischief;
         (n) Vandalism;
         (o) Riot;
         (p) Civil commotion; or
         (q) colliding with a bird or ammal.
      5. Custom parts or equlpmant means paint, equipment, devices, accessories, enhancements, and changes, other
         than those which ere original manufacturer Installed, which:
         (a) Are permanently Installed or attached; or
         (b) Alter the appearance or performance of a vahlcle.
         This Includes any electronic equipment, antennas, and other devices used exclusJvely to send or receive audio,
         visual, or data signals. or to play back recorded media, other than those which are original manufacturer installed,
         that are permanently installed in the owned auto or a newly acquired vehicle using bolts or brackets, including
         slide-out brackets.
      6. Depreciation means a decrease or loss In value to the auto or propeny because of use, disuse, physical wear and
         tear, age, outdatedness, or other causes.:
      7. tnsuredmeans:
         {a) Regarding the owned auto:
              (i) You and your relatives;
              (II) A petson or organization maintaining, using or having custody of the auto with your permission, If his use is
;..                within the extent of that permission.
         (b) Regarding a non-owned auto, you and your relatives, when driving the auto, If the actual operation or use Is
             with the permission or reasonably believed to be with the permission of the owner and within the extent of thllt
              permission.



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     8. Loss means direct and accidental loss of or damage to:
         (a) An owned or non-owned auto, Including Its equipment: or
         (b) Olher property insured under this section.
    9, Owned auto means:
         (a} Any vehicle desclibed in this policy tor Which a spedflo premium charge Indicates there is physical damage
             coverage;
         (b) A private passenger, farm or utility auto or a traf/er, ownership of which you acquire during the policy period
             or for which you enter Into a loose during the policy periOd for a term of six months or more, if
             (I) It replaces an owned auto as described In {a) above, or                                   ·
             (JQ We illsure all private passenger, farm, and utility autos owned by you on the date of the acquisition and
                  you ask us to add It to the policy no more than 30 days later;
         (c) A temporary substitute auto.
    10. Tlal/er means a trailer designed to be towed by a private passenger auto and not used as a home, residence.
        office, store, display or passenger trailer. Trailer does not mean a trailer with bultt-in sleeping facilities designed for
        recreational or camping use.
    LOSSES WE WILt PAY
    Comprehensive (Excluding Collision)
    1. We will pay for each ross, less the applicable deducUbfe, caused other than by collision to the owned or
        non-owned auto. This Includes glass breakage.
        No deductible will apply to loss to windshield gfass.
        At the option or lhe Insured, breakage of grass caused by collision may be paid under the Collision coverage, If
        included In the policy.
    2. We will pay, up to $200 per occurrence, less the applicable deductible, for toss to personal effects due to:
        (a) Fire;
        (b) Lfghtning;
        (c) FlOOd;
        (d) Falling objects~
       (e) Earthquake;
       (f) Explosion; or
       (g) Theft of the entire automobile.
       The property must be owned by you or a relative, and must be In or upon an owned auto.
   3. Losses arising out or a single occurrence shall be subject to no more than one deductible.
   Collision.
   1. w~ wfll ~Y fQr ~lll•lon loss t() th~ .()WJ'I~q a~o. fQr the.. arno"nt Qf &II.~ 1~ less the i;lppficabl~. c::l~uCill.b~ a11d to
        the                                     or
           iron~owned auto ror tl\8 amount eaetitriSs         ress loo
                                                                     apj)liciible dedLiritlble\Yhen driVen             a
                                                                                                         bV·.You 0r rellitl118.
   2. We will pay up to $200 per occurrence, Jess the applicable deductible, for loss to personal effects due to a collision.
       The property must be owned by you or a relative, and must be In or upon an owned auto.
   3, Losses Involving one owned auto, arising out or a single occurrence shall be subject to no more than one
      deductible.                                                        ·
   4. If more than one owned auto or non·owned auto Is Involved in a collision loss, any deductible will apply
      separately to each owned auto or non.owned auto.
   ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE PHYSICAL DAMAGE COVERAGES
   1. We will reimbUrse the Insured for transportation expenses incurred during the period beginning 48 hours after a theft
      of the entire auto covered by Comprehensive coverage under this policy has been reported to us and the pollee.
      Reimbursement ends when the auto .iS returned to use or we pay tor the loss.
      Reimbursement will not exceed $30.00 per day nor $900.00 per loss.
   2. We wlfl pay general average and salvage charges for which the Insured becomes legally liable when the auto Is
       being transported.
   EXCLUSIONS
   Section Ul Does Not Apply:
   1. To an auto used to carry passengers or goods for hire is not covered. However, a vehicle used tn an ordinary car
      pool on a ride sharing or cost sharing basis Is covered.
   2. To loss due to war.


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    3. To loss to a non-owned auto when used by the Insured In the auto business.
    4. To loss caused by and limited to wear and tear, freezing, mechanical or electrical breakdown or failure, unless that
        damage resulls from a covered theft.
    6. To road damage to tires.
    6. To loss due to radioactivity.
    7. To loss to any tape, wire, record disc or other medium for use with a device designed for the recording and/or
        reproduction of sound.
    8. To loss to any radar detector.
    9. To any vehicfe or trallerwhen used for business or commercial purposes other than a farm auta.
    1o. To loss for custom parts or equipment unless the existence of those custom ·parts or equipment has been
        previously reported to us and an endorsement to the policy has been added.
    11. To any liablJily assumed under any contract or agreement.
    12. To any loss resulting from:
        (a) The acquisition of a stolen vehicle;
        (b) Any governmental, legal or other action to return a vehicle to its legal, equitable, or beneficial owner, or anyone
            claiming an ownership Interest In the vehicle; or
        (c) Any confiScation, seizure or impoundment of a vehicle by governmental authorities.
        (d) The sale or an owned auto.
    13. To the destruction, impoundment, confiscation or seizure or a vehicle by governmental or civil authorities due to its
        use by you, a relative or a pennlsslve user or the vehicle In Illegal activity.
    14. To any loss caused by the Insured In participation and/or preparation for any racing, speed, or demolition contest or
                          or
        stunting activity any nature, whether or not prearranged or o~ganized.
    UMIT OF LIABILITY
    The limit or our liability for foss:
    1. fs the actual cash value of the property at lhe time of the loss;
    2. Will not exceed the prevailing competHive price to repair or replace the property at the time of loss, or any of 1t.s
         parts, including parts from non-original equipment manufacturers, with other of like kind and quality and will not
         include compensation for any diminution of value that is claimed to result from the Joss. Although you have the right
         to choose any repair facility or location. the limit of llablllty for repair or replacement of such property Is the prevailing
         competitive price which Is the price we can secure from a competent and convenienlly located repair facility. At your
         request, we will identify a repair facility that will perform the repairs or replacement at the prevaiBng competitive
         price;
   3, To personal effects arising out of one occurrence Is $200;
   4. To a trailer not owned by you is $500;
    6. For custom pal'tS or equipment is limited to the actual cash value of the cusrom parts or equipment, not to
        exceed the actual cas/J value or the vehicle.                                                  _
        Actual cash value or betterment of property will be determined at the time of the loss and willl~ude an
        adjustment for depreciation/betterment and for the physical condition of the property.
   6. Jf this policy covers two or more autos or ttall&rS any deductlbles will appJy separately to each.
   OTHER INSURANCE
   If the Insured has other insurance against a loss covered by Section Ill, we will not owe more than our pro rata share of
   the total coverage available. Any Insurance we provide for a vehicle you do not own shall be excess over any other valid
   and collectible insurance.
   CONDITIONS
   The following conditions apply only to the Physical Damage coverages:
   1. NOTICE
        As soon as posslble after a foss, Wfitten notice must be gtven us or our authorized agent stating:
        (a) The identity of the Insured;
        (b) A description of the auto or trailer;
        (c) The tJme, place and details of the foss: and
        (d) The names and addresses of any witnesses.
        In cas& of theft, the Insured must promptly notify the police.



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    2. ASSISTANCE AND COOPERATION OF THE INSURED
       The Insured wiN cooperate and assist us, If requested:
       (a) In the Investigation of the loss;
       (b) In making settlements;
       (c} In the conduct of suits;
       (d) In enfOIClng any tight of subrogallon against any legally responsible person or organization·
       {e) At tflals and hearings;                                                                     '
       (f) In securing and giving evidence; and
       (g) By obtaining the aHendance of witnesses.
    3. ACTION AGAINST US
         Suit will not lie against us unless the policy terms have been complied with and until 30 days after proof of toss Is
         filed and the amount of toss Is determined.
       If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any purpose, including as
       evidence for any civil or criminal proceeding. If you ask us immediately after a loss to preserve the salvage for
       Inspection, we will do so for a period not to exceed 30 days. You may purchase the salvage from us If you wish.
    4. INSURED'S DUTIES IN EVENT OF LOSS
       In the event or Joss the Insured will:
       {a) Protect the auto, whether or not the loss is co\'ered by this policy. Further loss due to the Insured's failure to
            protect the auto win not be covered. Reasonable expenses Incurred tor this protection will be paid by us.
       (b) File with us, Withl!l91 days after foss, his swom proof of loss including all Information we may reasonably
            require.
       (c) At our request, the Insured will exhibit the damaged property and submit to examination under oath.
    5. APPRAISAl
         lrwo a~ l~e 'ns.ureddo oot agree Qll.t~e amcyunt.of loss, either may, wfttlinOO.days afterprqQf Qf 1~.1$.n~.
         request an appraisal o.( t~e.loS$. ~oto pai'tle$.m~ agiee to th~ appntlsal.~t Uw Ume o( dlspute.:~·lri Uta~ &Vent, We
         and. th~ ~nsui(td.wifle«Jch 5eleet a gm~pQtent appral.~~r. ·The. appraiser$ will sel~ct. a: cori:l~te~rit aricJ (lfsin.tef!3~e.d
          umplre. The appral~rs. Will .Sta.le seM~tely thE!.I!'ctual casb ~lui. ~n<t th·~ amo~ot of ~he lo$s:: If t~ey ~IJ ~ agree,
         they \vlll.s.ubmit th~ ~IsplAte to the 1,1mpl~e~· Ao ~W11.Rf in writing pf ~ny tW9 wJil de~erml.ne th8 ~(int, '9f f.t;Jss. We. and
         the Jn$UrettWill eaCh pay his ch~el') app'~l$e( an4 Will be.~fequalfy the other ·expenses or the appraisal and umpire.
         We will not waive our rights by any of our aCts relating to ·appraisal.
    6,   PAYMENT OF LOSS
         We may at our op11on:
         (a) Pay for the loss; or
         (b) Repatr or replace the damaged or stolen property.
      At any time before the loss Is paid or the property replaced, wa may return any stolen property to you or to the
      address shown in the declarations at our expense with payment for covered damage. We may take all or part of the
      property at the agreed or appraised varue, but there will be no abandonment to us. We may settle claims for Toss
      either with the Insured or the own&r of the property.
   7. NO BENEFIT TO BAILEE
      This insurance does not apply directly or Indirectly to the benefit of a carrier or other bailee for hire liable for the toss
      of the auto.
   8. SUBROGATION
      When payment is made under this policy, we will be subrogated to all the Insured's rights of recovery, to the extent
      of our payment against others. The fnsuredwlll help us to enforce these rights. The Insured will do nothing after
      loss to prejudice these rights.
      This means we will have the right to sue for or otherwise recover the loss from anyone else who may be held
      responsible.
   9. ASSIGNMENT
      With respect to Section Ill, Physical Damage Coverages, an Assignment of Interest under this policy will not bind us
      without our consent. Any nonconfonnlng assignment shall be void and invalid. Moreover, the assignee of a
      nonconronnfng assignment shall acquire no rights under this contract and we shall not recognize any such
      assignment.




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                                       SECTION IV • UNINSURED MOTORIST COVERAGE
         Protection For You And Your Passengers For lnjurJes Caused By Uninsured And Hit·And-Run Motorist
   UNLESS AMENDED WITH THE STACKED OR NON-STACKED UNINSURED/UNDERINSURED AMENDMENT, YOU
   ELECTED NOT TO PURCHASE CERTAIN VALUABLE COVERAGE, WHICH WOULD HAVE PROTECTED YOU AND
   YOUR FAMJLY WHEN INVOLVED, IN A COVERED LOSS WITH AN UNINSURED/ UNDER INSURED MOTORIST.
   THfS POLICY DOES NOT PROVIDE UNINSURED/UNDERINSURED MOTORISTS BENEFITS.
   Uninsuredlunderinsured motorist benefits are designed to provide protection when you or your family are
   Involved In an accident with an unlnsuredlunderlnsured motorist.
                                               SECTION V· GENERAL CONDITIONS
                                     These conditlons Apply To aU coverages In This Policy
   1. TERRITORY· POLICY PERIOD
       This policy applies 011ly to accidents, occurrences or losses during the policy period within the United States of
      America, its territories and possessions, or Canada and while an owned auto is being transported between ports
      thereof.
       Unless otherwise cancelled, this policy will explre as shown in the declarations. But, it may be continued by our offer
       to renew and your acceptance prior to the expiration date. Each period will begin and expire at 12:01 A.M. local time
       at your address stated In the declarations.
   2. PREMIUM
       When you dispose or, acquire ownership of, or replace a private passenger, farm or utility auto, any necessary
      premium adjustment will be made as of the date of the change and In accordance wilfl our manuals.
   3. CHANGES
       The terms and provisions of this policy cannot be waived or changed, except by an endorsement issued to form a
       part of this policy.
       We may revise this policy during Its term to provide more coverage without an increase In premium. If we do so,
      your policy will automatically include the broader coverage when effective In your state.
       The premium for each auto Is based on the information we have In your file. You agree:
       (a} That we may adjust your policy premiums during the policy term If any of this Information on which ~he
            premiums are based is Incorrect, incomplete or changed.
       (b) That you will cooperate wilh us In determining If this informaUon Is correct and complete.
       (c) That you wllr notify us or any changes In this Information.
       Any calculation or recalculation of your premium or changes In your coverage will be based on the rules, rates and
       forms on file, If required, for our use In your state.
   4. ASSIGNMENT
       Assignment of Interest under this policy will not bind us without our consent.
       If you die, this policy wm cover:
       (a) Your surviving spouse;
       {b) The executor or administrator of your estate, but only while acting within the scope of his dulles;
       (c) Any person having proper temporary custody of the owned auto, as an Insured, until the appointment and
            qualification of the executor or administrator of your estate; and
       (d) Under the Medical Payments coverage, a person who was a relative at the time of your death, If a premium is
            shown on the Polley Declarations for Medical Payments. .
   5. CANCELLATION BY THE INSURED
        You may caneelthis poricy by providing notice to us stating when, after the notice, cancellation will be effective.
       However, you may not cancel during the first two months immediately following your policy's effective date except:
       (a) Upon total destruction of all of the owned autos;
       (b) Upon transfer of ownership of all of the ow11ed autos;
       {c) If you obtained a replacement policy covering an owned auto elsewhere; or
       {d) When we notify you that the premium charged must be Increased to comply wllh our rate tlllngs or the applicable
            laws of Florida, you have the following options:
       1. Upon receipt of your bill you may pay the difference in premium and keep the policy as It stands with the
            corte¢ted premium; or.
       2. You may cancel this policy within 10 days from the receipt of our notice and receive a refund of any unearned
            premium; or
       3. Your failure to respond timely or pay the additional premium charged wfll result in the cancellation of your policy
            when all pakf premiums are exhausted.
                                                                                                         Naw Policy Page 37 of 62
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         If this policy Is cancelled, you may be entitled to a premium refund. The premium refund If any will be computed on
         a pro.rated basis according to our manuals.                                             '      '
    6. CANCELLATION BY US
       We may can~l this policy by mailing to you, at the address shown In this policy, written notice stating when the
       cancellation Will be effective. This notice will be mailed by United States Post Office certificate of mailing.
       We will mail thls notice:
       (a) 10 days In advance if the proposed cancellation Is for nonpayment of premium or any or Its installments when
            due;
       (b) 45 days In advance In all other cases,
       The mailing or delivery of the above notice will be sufficient proof of notice. Tho policy will cease to be In effect as of
       the date and hour stated in the notice.
       If tbls policy Is cancelled, you may be entitled to a premium refund. The premium refund, if any, will be computed on
       a pro-rated basis accolding to our manuals.
       Payment or tender of unearned premium Is not a condition of cancellation.
    7. CANCELLATION BY US IS LIMITeD
       After this policy has been In effect for60 days or, If the policy Is a renewal, effective immedlately, we Will not cancel
      unless:
      (a) You do not pay the premiums for this policy or any Installment when due to us or our agent; or
      (b) Any Insured has had his driver's license or motor vehicle registration under suspension or revocation; either:
            (t) During the current policy period; or
            (il) During the preceding 180 days If this Is a new policy; or
      (c) There has been fraud or materral misrepresentation under the policy in your application or In making a claim.
      We will nol cancel a new policy during the first 60 days Immediately folloWing the effective date or the policy for
      nonpayment of premium unless the reason for the cancellation Is the Issuance of a payment for the premium that is
      dishonored for any reason. If the Initial payment on the policy is dishonored, we Win not declare the policy void
      without providing you with notice of your right to cure the nonpayment as required by Florida law.
      Nothing in this section will require us to renew this policy.
   8, RENEWAL
      We guarantee to renew this policy for private passenger, farm or utility autos as long as all the following conditions
      are met:
      1. You (or your spouse) are at least 50 years old and you (or your spouse) are a principal operator of an auto
           insured under this policy. There are no principal or occasional operators under the age of 25.
      2. You and all operators of autos Insured under this policy must be physically and mentally able to safely operate an
            auto. We may require an operator to provide certification of this from a doctor acceptable to us.
      3. The autos insured are principally located fn a state which has approved the use of this condllion, and that state
           continues to approve the use on this condition.
      4. The represeotatlons provided in your application for this policy were true.
      If these requirements are not met, the guaranteed renewal eoodition does not apply. We reserve the right to
      terminate this guaranty In any state in which conditions require that we discontinue writing new and renewal polldes
      for all our Insureds. Should we choose not to renew, we will mall to you, at the address shown In this policy, written
      notice of our refusal to renew at least 45 days prior to the expiration date. Th1s notice will be flUIIIed by United
      States Post Office certificate of mailing. The mailing or delivery of this notice will be sufficient proof of notice.
       If you:
       (1) do not pay the premium as required to renew this poflcy; or
       (2) have Informed us or our agent that you Wish the policy cancelled or not renewed; or
      (3) do not accept our offer to renew;

       It will be construed to mean that you have refused our renewal offer and the policy will expire without notice.
       If this policy has been in effect for 5 years or more we will not refuse to renew solely because an Insured was
       involved In a single traffiC aooldent.
   9. NON·RENEWAL
      We agree that we will not refuse to renew or continue this policy unless a written notice of our refusal to renew or
      continue Is mailed to you, at the address shown In the policy, at least 45 days prior to the expiration nolloe. This
      notice will be mailed by United States Post Office certificate of mailing. The mailing or delivery of this notice will be
      sufficient proof of nouce.

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   10. MEDIATION OF CLAIMS
        In the event of a <:latm for bodily Injury amounting to $10,000 or less, or any property damage claim, either party
        may demand mediation of the claim, provided that suit has not yet been filed. Only one mediation may be
        demanded for each claim, unless both parties agree to more than one mediation. Mediation is not binding on ellher
        party.
        A request for mediation shall be filed with the Department of Financial Services on a form approved by the
        Department. The request for mediation shall state the reason for the request and the Issues in dispute which are to
        be mediated. The Department of Financial Services will appoint the mediator to conduct the mediation. Each party
        may once reject the mediator selected by th~ Department, either originally or after the opposing side has exercised
        Its option to reject a mediator. Each party partfcipatlng In the mediation must have the authority to make a binding
        decision. All parties must mediate in good faith.
       The cost or the mediation, as set by the Department of Financial Services Is shared equally by the parties. costs
        incurred by a party ln preparing for or attending the mediation are paid by the party incurring that cost.
   11.0THERINSURANCE
       Jf other Insurance is obtained on your owned auto, any similar Insurance atrorded under this policy for that auto will
       terminate on the effective date of the other insurance.
   12, ACTION AGAtNST US
       Persons other than the insuted covered by this policy, may not name us as a defendant prior to first obtaining a
       judgment against an Insured.
   13. DIVIDEND PROVISION
        You are entiUed to share in a dislribuUon of the surplus of the Company as determined by Its Board of Directors from
       time to time.
   14. DECLARATIONS
       By accepting this policy, you agree that
       (a} The statements ln your application and In the declarations are your agreements and representations;
       (b) This poffcy Is issued in reliance upon the truth of these representations; and
       (c) This policy, along wllh the application and declaration sheet, embodies all agreements relating to this Insurance,
             The terms or this policy cannot be changed orally.
   16. FRAUD AND MISREPRESENTATION
       Coverage is not provided to any person who knowingly conceals or misrepresents any material fact or circumstance
       relating to this Insurance:
       1. At the time application is made; or
       2. At any time during the policy period; or
       3. In connection with the presentation or settlement of a claim.
   16, EXAMINATION UNDER OATH (EUO)
       The Insured, or any other person or organization seeking coverage under this policy must submit to examination
       under oath by any person named by us when, where and as often as we may reasonably require. This provision
       includes providing a copy of any doouments, forms, records, or materials requested to be provided as part of the
       EUO request whether the request is made before, during or after !he EUO.
   17. TERMS OF POLICY CONFORMED TO STATUTES
       Any terms of this policy in conOict with the statutes of Florida are amended to conform to those statutes.
   18. CHOJCE OF LAW
       Tile policy and any amendment(s) and endorsement(&) are to be Interpreted pursuant to the laws of the state of
       Florida.




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                                      SECDQN Vl· AMENDMENTS AND ENDORSEMENTS
   1. SPECIAL ENDORSEMENT UNITED STATES GOVERNMENT EMPLOYEES
   A. Under the Property Damage coverage of Section I, we provide coverage to United States Govemment employees,
      civilian or milital)", using
      1. Motor vehicles owoed or leased by the United States Government or any of its agencies, or
      2. Rented motor vehicle used for United States Government business,
      when such use Is With the permission of the United States Government. Subject to the limits describe In paragraph
      B. below, we will pay sums you are legally obligated to pay for damage to these vehicles.
   B. The following limits apply to this coverage:
       1. A $100 deductible applies to each occurrence.
      2. For vehicles described In A.1. above, our liability shall not exceed the lesser of the following:
          (a) The actual cash Vlllue otthe property at the time of the occurrence; or
          (b) The oost to repair or replace the property, or any of Its parts with other of like kind and quality; or
          (c) Two months basic pay or the Insured; or
          (d) Tile limit of Property Damage liability coverage stated In !he declarations.
       3. For vehicles described In A.2. above, our liability shall not exceed the lesser of the following:
         (a) The actual cas/~ value or the 'property at the time of the occurrence; or
          (b) The cost to repair or replace the property, or any of It parts with other of like kind and quality; or
           (c) The limit of Property Damage liability coverage stated In the declarations.

   This insurance Is excess over olher valid and collectible Insurance.




                                   W. C. E. Robinson                                 O.M. Nicely
                                      Secretary                                       President




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                                                           IN THE CIRCUIT COUR OF THE 17TH
                                                           JUDICIAL CIRCUIT IN AND FOR
                                                           BROWARD COUNTY, FLORIDA


        KERRY ROTH, on behalf of herself and all           CASE .NO: 16-016030
        others similarly situated,
                                                           CLASS REPRESENTATION
                Plaintiff,

        vs.

       GEICO GENERAL INSURANCE
       COMPANY; GOVERNMENT EMPLOYEES
       INSURANCE COMPANY;
       GEICO INDEMNITY COMPANY; and
       GEJCO CASUALTY COMPANY;

                Defendants.
       ---------------------- I
              PLAINTIFF'S SECOND AMENDED CLASS ACTION COMPLAINT FOR DAMAGES

               The Plaintiff KERRY ROTH, on behalf of herself and all others similarly sit1.1ated, files

       this Class Action Complaint against GEICO GENERAL INSURANCE COMPANY;

       GOVERNMENT EMPLOYEES INSURANCE COMPANY; GEICO INDEMNITY COMPANY;

       and GEICO CASUALTY COMPANY as follows:

                                        I. NATURE OF THE ACTION

                1.      This is a class action lawsuit by Plaintiff who was the named insured under a

       GEICO GENERAL INSURANCE COMPANY, (hereinafter also identified as "GEICO

       GENERAL"), automobile policy issued for private passenger auto physical damage requiring

       payment of "Actual Cash Value" c•ACV''), including sales tax, and state and local regulatory

       fees, for covered total loss leased vehicles.


                                                       1




          ,..,..... FILED: BROWARD COUNTY, FL HOWARD FORMAN, CLERK 11/16/2016 11:44:22 AM.****
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              2.      The Defendant GEICO GENERAL's standardized policy language, which is also

       present in the Florida policies issued by GOVERNMENT EMPLOYEES INSURANCE

       COMPANY; GEICO INDEMNITY COMPANY; and GEICO CASUALTY COMPANY shows that

       sales tax equal to at least six percent1 of the cash value of the insured vehicle at the time of

       loss (the '~ACV Sales Tax"), is included in a total loss vehicle coverage, as are state and local

       regulatory fees.

              3.     This lawsuit is brought on behalf of Plaintiff KERRY ROTH and on behalf of

       similarly situated insureds who have suffered damages due to the Defendants• policy and

       practice of refusing to pay full ACV Sales Tax and state and local regulatory fees, on insured

       leased vehicles, in the case of total loss, notwithstanding that1 as set forth above, the

       Defendants' standardized policy language provides coverage for said ACV Sales Tax and fees.

                                     II. JURISDICTION AND VENUE

              4.     This Court has subject matter jurisdiction over Plaintiff's claims since the

       Plaintiff's and Classes' claims exceed $15,000.00.

              5.     Venue is proper in this Court pursuant to §47.051 Fla. Stat. since the

       Defendants have agents or representatives doing business in this county.

                                              Ill. THE PARTIES

              6.     At all times material hereto, the Plaintiff KERRY ROTH, is and was a person

       residing in Boca Raton, Florida.



              7.     At all times material hereto, the Defendant GEICO GENERAL is and was a


              1
               Fiorida's sales tax is 6%. In addition, some counties impose a local sales tax of up
       to 1.5% in addition to the 6% state sales tax.
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        foreign corporation authorize to transact insurance in the State of Florida, and one of the

        largest, if not the largest, motor vehicle insurer in Florida. The Defendants GOVERNMENT

        EMPLOYEES INSURANCE COMPANY; GEICO INDEMNITY COMPANY; and GEICO

        CASUALTY COMPANY are also foreign corporations authorized to transact insurance in

        Florida.

                                        IV. FACTUAL ALLEGATIONS

               8.     At all times material hereto1 the Plaintiff ROTH was a lessee of a 2015 Audi A3

        Sedan, VIN number WAUACGFF7F1092286, financed through VW Credit, Inc.

               9.    At afl times material hereto, the Plaintiff ROTH insured the 2015 Audi A3 under

       a Florida Family Automobile Insurance Policy with GEICO GENERAL {a copy of said policy is

       attached hereto as Exhibit A).

               10.    On or about June 18, 2016, the Plaintiff ROTH was involved in an accident

        while operating the 2015 Audi A3. As a result of said accident, ROTH filed a claim for

       property damage with GEICO GENERAL, claim number 05590116-0101-012.

               11.    Following the filing of said claim, GEtCO GENERAL determined that the 2015

       Audi A3 was a total loss with an ACV of $23,947.00. GEICO GENERAL then paid the

       aforementioned sum to the lienholder, VW Credit Inc., minus the GEICO GENERAL policy's

       deductible of $1 ,000.00, for a total of $22,94 7.00.

               12.    In paying the aforementioned amount, GEICO GENERAL indicated that because

       the vehicle was leased, no ACV Sales Tax or state or local regulatory fees were owed under

       the GEICO GENERAL policy.



                                    V. THE GEICO GENERAL POLICY
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              13.    The GEICO GENERAL policy, under Section Ill, entitled PHYSICAL DAMAGE

       COVERAGE, (page 14 of Form A-70 Fl(03-11), states:

                             LOSSES WE WILL PAY

                             *                     *                    *
                             Collision

                             1. We will pay for collision loss to the owned
                             auto for the amount of each Joss less the
                            applicable deductible and to the non-owned auto
                            for the amount of each loss less the applicable
                            deductible when driven by you or a relative.

              14.    The GEICO GENERAL policy, in Section Ill, under the provision entitled LIMIT

       OF LIABILITY, (page 15 of Form A-70Fl (03-11)}, states:

                            The limit of our liability for Joss:

                            1. Is the actual cash value of the property at the
                            time of the Joss.


              15.    Finally, the DEFINITIONS provision of the GEICO GENERAl policy (page 13 of

       form A~70Fl (03-11)), states:

                            1. Actual cash value is the replacement cost of
                            the   auto or property         less depredation or
                            he/tennent.


              16.    Clearly, the policy language, which is identical to the language contained in the

       Florida policies issued by GOVERNMENT EMPLOYEES INSURANCE COMPANY~ GEICO

       INDEMNITY COMPANY; and GEICO CASUALTY COMPANY; does not include: {1) any

       provision excluding sales tax or state and local regulatory fees from ACV; (2) any provision

       deferring payment of the ACV Sales Tax and state or local regulatory fees for any purpose
                                                       4
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        whatsoever; (3) any provision requiring an insured to lease a replacement vehicle; (4) any

        provision requiring the insured to first lease a replacement vehicle as a condition precedent to

       receiving a ACV Sales Tax or state and regulatory fees; and (5) any provision linking the

       amount of ACV Sales Tax or state and regulatory fees to the lease of a replacement vehicle and

       the corresponding sales tax or state or regulatory fees on said replacement vehicle.

                                         VI. ClASS ALLEGATIONS

               17.    The Plaintiff brings this action seeking representation of two classes pursuant to

       Florida Rule of Civil Procedure 1.220(b)(2) and 1.220(b)(3).

               18.    Plaintiff's claims are typical to those of all class members because members of

       the class are similarly affected by the Defendant's failure to pay ACV Sales Tax and state and

       local regulatory fees upon the total loss of insured leased vehicles. The materral policy terms

       for each class member are identical to the terms of the Plaintiff's policy.

               19.    Plaintiff's interests are not antagonistic to those ofotherclass members nor is the

       Plaintiff subject to any unique defenses.

               20.    The claim of the representative PlaintiffROTH, raises questions of law and fact

       that are common to all members of the classes, within the meaning of Florida Rule of Civil

       Procedure 1,220. Said common questions include, but are not limited to, the following: (a)

       whether under the Defendant's standardized policy language Plaintiff and the class members

       are owed ACV Sales Tax and state and local regulatory fees upon the total loss of an insured

       leased vehicle; and (b) whether the Defendants have breached their insurance contracts with

       the Plaintiff and the class members by failing to pay ACV Sales Tax and state and local

       regulatory fees upon the total loss of an insured leased vehicle.

              21.     The claims of the Plaintiff are typical of the claims of all other members of the
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        classes because all such claims arise from the alleged improper failure of the Defendant to pay

        ACV Sales Tax and state and local regulatory fees upon the total loss of insured leased

        vehicles.

               22.    The Plaintiff and her counsel wilf fairly and adequately protect and represent the

        interests of each member of the classes.

               23.    The Plaintiff is committed to the vigorous prosecution of this action and has

        retained competent counsel experienced in prosecuting and defending class actions.

               24.    Defendants have acted and refused to act on grounds generally applicable to the

       class, thereby making appropriate final declaratory relief with respect to the class as a whole

       pursuant to Rule 1.220(b)(2).

               25.    This action is properly maintained as class action pursuant to Florida Rule of

       Civil Procedure 1.220(b)(3) in that questions of law and fact, common to claims of the Plaintiff

       and the members of the classes, will predominate over questions of law or fact, affecting only

       individual members of the classes, such that a class action is superior to other available

       methods for the fair and efficient adjudication of this controversy.

              26.     The Plaintiff brings this action pursuant to Rules 1.220(b)(2) and 1.220{b)(3) of

       the Florida Rules of Civil Procedure as class representative, individually and on behalf of all

       other persons or entities similarly situated, more specifically defined as follows:




                                                   CLASS A

                             All insureds, under a policy issued by Geico
                             General Insurance Company in the State of
                             Florida, covering a leased vehicle, who sustained a
                                                      6
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                            total loss to said vehicle and who, within the five
                            year time period prior to the date on which this
                            lawsuit was filed till the date o( any certification
                            order, received payment from Geico General
                            Insurance Company for said loss, which payment
                            did not include ACV Sales Tax or state and local
                            regulatory fees for the loss of said vehicle.


                                                    CLASS 8

                            All insureds, under policies issued by Geico
                            General     Insurance    Company; Government
                            Employees Insurance Company; Geico Indemnity
                            Company; and Geico Casualty Company; in the
                            State of Florida, covering a leased vehicle, who
                            sustained a total loss to said vehicle, and who,
                            within the five years time period prior to the date
                            on which this lawsuit was filed to the date of any
                            certification order, received payment from any of
                            the aforementioned insurance companies, which
                            payment did not include ACV Sales Tax or state
                            and local regulatory fees for the loss of said
                            vehicle.


              27.    The issues relating to the claim of the Plaintiff do not vary from the issues

       relating to the claims of the other members of the classes such that a class action provides a

       more efficient vehicle to resolve this claim than through a myriad of separate lawsuits.

              28.    Certification of the above classes under Florida Rule of Civil Procedure 1.220 is

       also supported by the following considerations:

                            (a) The relatively small amount of damages that
                            members of the classes have suffered on an
                            individual basis would not justify the prosecution
                            of ~eparate lawsuits.

                            (b) Counsel in this class.actlon is not aware of any
                            previously filed litigation against the Defendants in
                            which any of the members of the classes are a
                            party and which any question of Jaw or fact in the
                                                      7
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                               subject action is to be adjudicated.

                               (c) No difficulties would be encountered in the
                               management of the Plaintiff's claim on a class
                              action basis because the classes are readily
                              definable and the prosecution of this class action
                              would reduce the possibility of repetitious
                              litigation.

               29.     Finally, although the precise number of class members is unknown to Plaintiff at

        this time, and can only be determined through appropriate discovery, the Plaintiff believes that

        since tne Defendants collectively are one of the largest, if not the largest, motor vehicle insurer

        in the State of Florida, the classes of persons affected by the Defendants' unlawful practice

       consists of thousands of individuals or the classes of persons affected are otherwise so

        numerous, that joinder of all class members is impractical.       The unlawful practice alleged

       herein is a standardized uniform practice, employed by the Defendants, pursuant to

        standardized insurance policy language, resulting in the retention by the Defendants of

        insurance benefits and monies properly owed to the Plaintiff and the class members.

                       COUNT I · BREACH OF CONTRACT FOR CLASSES A AND B

               30.     The allegations contained in paragraphs 1 through 29 above are incorporated

       herein by reference.



               31.     Pursuant to the aforementioned uniform contractual provisions, upon the total

       loss of insured leased vehicles, the Plaintiff and the class members were owed the actual cash

       value of the vehicle which would indude ACV Sales Tax and state and local regulatory fees.

               32.    The Defendants failure to provide coverage for tne aforementioned ACV Sales

       Tax and state and local regulatory fees, constitutes a breach of said contractual provisions. As a

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        result of said breaches, the Plaintiff and the class members are entitled to sums representing

        the benefits owed for ACV Sales Tax and state and local regulatory fees, under the Defendants•

        insurance policies, as well as costs, prejudgment and post judgment interest and other relief as

        is appropriate.

               33.     In addition, the Plaintiff and the class members are entitled to an award of

        attorney fees pursuant to §627.428 Fla. Stat.

               WHEREFORE, the Plaintiff KERRY ROTH, individually and on behalf of Classes A and

        B, seeks an award of compensatory damages as outlined above, pre and post judgment

        interest, costs, attorney fees and such other relief deemed appropriate. In addition, the

        Plaintiff ROTH seeks trial by jury of all issues so triable.

                          COUNT II- DECLARATORY RELIEF FOR CLASSES A AND B

               34.     The allegations in paragraphs 1 through 29 above are incorporated herein by

        reference.

               35.     This is a class action for declaratory relief against the Defendants pursuant to

       86.011 et. seq. Fla. Sta·t. The question of law and fact common to the claim of the

        representative party ROTH, and the Classes, is whether the Defendants were obligated to

        provide coverage for ACV Sales Tax and state and local regulatory fees under the Defendants'

        insurance contracts issued to ROTH and the class members.

               36.     It is ROTH's and the class members position that pursuant to the Defendants

       policies, ROTH and the class members are entitled to ACV Sales Tax and state and local

        regulatory fees, while it is the Defendants' position that coverage for the aforementioned is not

       owed under the Defendants' policies.

               37.    Accordingly, ROTH and the class members requesta declaratory degree thatthe
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       Defendants are obligated to provide coverage for ACV Sales Tax and state and local regulatory

       fees, under the insurance policies issued to the Class Members.

              WHEREFORE, the Plaintiff ROTH, individually and on behalf of the class members,

       requests the following relief: (a) a declaratory degree that the Defendants are obligated to

       provide coverage under the Defendants' policies for ACV Sales Tax and state and local

       regulatory fees for the benefit of ROTH and the class members; (b} attorneys fees pursuant to

       §627.428 Fla. Stat.; (c) costs allowed by law; (d) any other supplementary relief deemed just

       and proper under 86.061 Fla. Stat.; and (e) trial by jury of all issues so triable.


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                                               EDMUND A. NORMAND




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                                Florida
                                Family
                                Automobile
                                Insurance
                                Policy


                     ,'·~




                            •      GEICO GENERAL INSURANCE COMPANY




                                                EXHIBIT
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    Whenever "he," "his," "hfm," or "himself' appears in this policy, you may read "she," "her, .. "hers," or "herself.!'
                                                          AGREEMENT
    We, the Company named in the declarations attached to this policy, mak& this agreement with you, th&
    policyholder. Relying on the information you have furnished and the declarations attached to this policy and If
    you pay your premium when due, we will do the following;

                                              SECTION I • UABILITV COVERAGES
                                      Bodily Injury Liability And Property Damage Liability
                                          Your Protection Against Cia ims From Others

    DEFINITIONS
    The words bolded and italicized In Se<itlon I of this policy are defined below.
    1. Auto business means the business of selling, repairing, servicing, storing, transporting or parking of autos.
    2. Bodily ln)my means bodily injury to a person, caused by accident, including resulting sickness, disease or death. All
        claims for damages arising rrom bodily Injury to a person from a single loss shall be considered one bodily Injury.
    3. Farm auto means a truck type vehicle with a gross vehicle weight of 15,000 pounds or less, not used for commercial
        purposes other than farming.
    4. Insured means a person or organization descrlbed under PERSONS INSURED.
    6. Non-owned auto means a private passenger, farm or utility auto or trailer not owned by, furnished or available
        for regular use of either you or your relative, other than a temporary substitute auto. An auto rented or leased for
        more than 30 days will be considered as furnished or available for regular use.
    6. OWned auto means:
        (a) A vehiCle described In this policy for which a premium charge is shown for these coverages;
        (b) A trailer owned by you;
        (c) A private passenger, farm or utility auto, ownership or which you acquire during the policy period or for which
             you enter Into a lease during the pollcy period for a term of six months or more, if
             (I) Hreplaces an owned auto as defined in {a) above; or
             Qi} We Insure all private passenger, farm and utility autos owned by you on the date of the acquisition, and
                 you ask us to add It to the policy no more than 30 days later;
        (d) A temporary substitute auto.
    7. Private passenger auto means a four..wheel priVate passenger, statJon wagon or jeep..type auto, including a farm or
        utility auto as defined.
    8. Relative means a person related to you by blood, marriage or adoption (including a ward or foster chird} who Is a
        resident of the same household as you.
    9. Temporary substitute auto means a private passenger, farm or utility auto or trailer, not (]WOed by you or your
        relative, temporarily used with the pennlsslon of the owner. This vehicle must be used as a substitute for the owned
        auto or trailer when Withdrawn from normal use because of its breakdown, repair, serviCing, loss or destruction. This
        vehicle will no longer quallry as a temporary substitute auto:
        {a) Five (S) days after the owned auto is deemed by us to be a total loss, and
        (b) We pay the applicable limit of liability under Section Ill.
    1o. Trailer means a vehicle designed to be towe<f by a private passenger auto. If the vehicle Is being used for business
        or commercial purposes, it is a Irailer only while used with a pr/Wte passenger, farm or utility auto. Trailer also
        means a farm wagon or farm Implement used with a fann auto.
    11. Utility auto means a vehicle, other than a farm auto, with gross vehicle weight of 15,000 pounds or less of the
        pick-up bOdy, van or panel truck type not used for commercial ptlrposes.
    12. War means armed confllcl between naUons. whether or not declared, civil war, insurrection, rebellion or revolution.
    13. You and your means the named insured shown in the declarations or his or her spouse if a resident of the same
        household.
    LOSSES WE WILL PAY FOR YOU
    Under Section I, we will pay damages whrch an 111suredbecomes legally obligated to pay because of:
    1. Bodily Injury, sustained by a person, and


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    2. Damage to or destruction of property,
        arising out of the ownership, maintenance or use of the owned auto or a non-owned auto.
        We will defend any suit for damages payable under the terms or this policy. We may investigate and settle any claim
         or suit. We have no duty to lrwestlgate or defend any claims which are not covered under the terms of this policy.
         Our duty to defend ends when the limits of liability for bodily Injury liability have been exhausted by payments of
        judgments or sellfements.
    ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE LIABILITY COVERAGES
    1 . All investigative and legaJ costs Incurred by us.
    2. Interest calculated on that part of a judgment that Is within our limit of liability and accruing:
        (a} Before the judgment, where owed by law, and until we pay, offer to pay, or deposit in court the amount due under
             this coverage;
        (b) After the judgment, and until we pay, offer to pay, or deposit In court, the amount due under this coverage.
    3. Premiums for appeal bonds In a suit we appeal, or premiums for bonds to release attachments; but the face amount
        of these bonds may not exceed the applicable limit of our liability.
    4. We will upon request by an Insured, provide reimbursement for the following items:
        (a) Costs incurred by any Insured ror first aid to others at the time of an accident involving an owned auto or
              non·owtred auto.
       (b) Loss of earnings up to $50 a day, but not other Income, If we request an Insured to attend hearings and trials.
        (c) All reasonable costs incurred by an Insured at our request.
       (d) Premiums for ball bonds paid by an Insured due to traffic law violations arising out of the use of an owned auto,
            not to exceed $250 per bail bond.
    EXCLUSIONS
    section I Does Not Appfy:
    1. To any bodily Injury to any Insured or relative of an Insured's family residing in the Insured's household.
       This exclusion does not apply if the Insured or relative of the Insured ls.lnjured as a passenger ln a motor vehicle
       insured under this policy while that vehicle Is being drlyen by a person who is not a relative, nor you.
    2. To any vehicle used to carry passengers or goods for hire. However, a vehicle used in an ordinary car pool on a ride
       sharing or cost sharing basis is covered.
    3. To liability coverage for any person who Intentionally causes bodily Injury or property damage.
    4. To bodily Injury or property damage that is Insured under a nuclear liability policy. This exclusion applies even if the
       limits of thai policy are exhausted.
    5, To bodily Injury or property damage arising from the operation of farm machinery.
    6. To bodily Injury to an employee of an Insured arising out of and in the course of employment by an Insured.
       However, bodily Injury of a domestic employee of the Insured Is covered unless benefits are payable or are
       required to be provided under a workmen's compensation law.
    7. To bodily Injury to a fellow employee of an Insured {olher than you) injured In the course of his employment If the
       bodily Injury arises from the use of an auto In the business of his employer, and if benefits are payable under a
       workmen's cO"mpensatlon policy,
    8. To an owned auto while used by a person {other than you or a relative or your or your relative'S partner, agent or
       employee) when he Is employed or otherwise engaged In the auto business.
    9. To a non-owned auto while maintained or used by a person while he Is employed or otherwfse engaged In any auto
         business.
        However, coverage does apply to a non-owned private passenger auto used by you, your chauffeur or a domestic
        servant, while engaged In the business of an Insured.
    10. To damage:
        (a) To property owned, or transported by an Insured; or
        (b) To property rented to or In charge of an Insured. This exclusion does not apply to a residence or private garage.
    11. To an auto acquired by you during the policy term, If you have purchased other liability Insurance for n.
    12. To:
        (a) The United States or America or any of it~ agencies;
        (b) Any person, lncludiQg you, If protection Is afforded under the provisions of the Federal Tort Claims Act.
    13. To any llabiHty assumed under any contract or agreement.
    14. To bodily Injury or property damage caused by the Insured in participation and/or preparation for any racing,
        speed, or demolition contest or stunting activity of any nature, whether or not prearranged or organized.
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    16. To punitive or exemplary damages, regardless of any other provision of this policy.
   PERSONS INSURED
   Who Is Covered
   Section I applies to the following as insureds with regard to an owned auto:
         1. You;
         2. Any other pei'Son using the auto with your permission to the extent of that permission;
         3. Any other person or organizatiOn for his or Its liability because of acts or omissions of an Insured under 1, or 2.
             above.
    Section I applies to the following as Insureds with regard to a non·OWIJed auto:
         1. You and your relatives when driving the non-owned auto. Such use must be with the permission, or
              reasonably believed to be wHh the permission, of the owner and to the extent of that permission.
         2. A person or organization, not owning or hiring the auto, regarding his or its liability because of acts or omissions
             of an Jnsuredunder 1. above.
   The limits of fiablllty stated In the declarations are our maximum obligations regardless of the number of Insureds
   involved In the occurrence. ·                                                                                            ·
   FINANCIAL. RESPONSIBILITY LAWS
   When this policy Is certified as proof of compliance with the Florida financial responsibility Jaw for the future, this liability
   insurance will comply with the provisions of that Jaw.
   OUT OF STATE COVERAGE
   When the policy applies to the operation of a motor vehicle outside of your state, we agree to Increase youn:overages
   to the extent required or out-of-state motorists by local law. We will not provfde Bodily Injury Liability Coverage under this
   provision If that coverage Is not purchased and shown In the policy declarations. This additional coverage will be reduced
   to the extent that you are protected by another Insurance policy. No person can be paid more than once for any item of
   loss.
   LIMITS OF LIABILITY
   Regardless or the number of autos or trailers to which this policy applies:
   1. The limit of bodily Injury liability stated in the declarations as applicable to "each person" is the limit of our liability for
        all damages, Including damages for care and loss of services, because of bodily Injury sustained by one person as
        the result of one occurrence.
   2. The limit or such liability stated In the declarations as applicable to •each occurrence" Is, subject to the above
        provision respecting each person, the total limit of our liability for all such damages, Including damages for care and
        loss of services, because of bodily Injury sustained by two or more persons as the result of any one occurrence.
   3, The limll of property damage liability stated in the declarations as applicable to "each occurrence" is the total limit of
        our liabHity for all damages because of damage to or destruction of the property of one or more persons or
        organizations, Including the loss of use of the property as the result of any one occurrence.
   4. If this policy covers two or more autos, the LIMITS OF LIABILITY apply separately to each. An auto and attached
        trailer are considered to be one auto.
   OTHER INSURANCE
   Any insurance we provide for losses arising out of the ownership, maintenance or use of a vehicle you do not own shall
   be excess over any other valid and collectible Insurance.                                                            •
   If the Insured has other applicable Insurance against a loss covered by Section I of this policy, we will not owe more than
   our pro-rata share of the total coverage available.
   CONDITIONS
   The following conditions apply to Section I:
   1. NOTICE
        As soon as possible aner an occurrence. written notice must be given us or our authorized agent stating;
        (a) The idenllly of the Insured;
        (b) The time, place and details of the occurrence;
        (c) The names and addresses of the Injured, and or any witnesses; and
        (d) The names ofthe owners and the description and location of any damaged property.
        If a claim or suit is brought against an Insured, he must promptly send us each demand, notice, summons or other
        process received.
   2. ASSISTANCE AND COOPERATION OF THE INSURED
       The Insured will cooperate and assist us, If requested:
       (a} In the investigation or lhe occurrence;
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       (b) In making settlements:
      (c) In the conduct or suits;
       (d) In enforcing any right of contribution or lndemnHy against any legally responsible person or organization because
           of bodily lujury or property damage;
       (e) At trials and hearings;
       (f) In securing and giving evidence; and
      (g) By obtaining the attendance of witnesses.
      Only at his own cost will the Insured make a paymen!, assume any obligation or Incur any cost other than for first aid
      to others.
   3. ACTION AGAINST US
      No sun wllllte against us:
      (a) Unless the Insured has fully complied with all the policy's terms and conditions, and
      (b) Until the amount of the fnsured's obligation to pay has been finally determined, either:
           Q) By a final judgment against the Insured after actual trial; or
           (ii) By written agreement of the Insured, the claimant and us.
      A person or organization or the legal representative of either, who secures a judgment or written agreement, may
      then sue to recover up to the policy llm!ts.
      No person or organization, rncludlng the Insured, has a right under this policy to make us a defendant in an action to
      determine the Insured's liability.                                       .
      Bankruptcy or Insolvency of the Insured or of his estate will not relieve us of our obligations.
   4. SUBROGATION
      When payment is made under this policy, we will be subrogated to all the insured's rights of recovery against others.
      The lnsuredwiJI heJp us to enforce these rights. The Insured will do nothing after loss to prejudice these rights.
      This means we wlll have the right to sue for or otheJWise reeover the loss from anyone else who may be held
      responsible.
      When a person has been paid damages by us under this policy and also recovers from another, that person shall:
      (a) Hold In trust for us the amount recovered; and
      (b) Reimburse us to the extent of our payment.
      SECTION II: PART I -PERSONAL INJURY PROTECTION AND PART IV-AUTOMOBILE MEDICAL PAYMENTS
   (Automobire Medical Payments Coverage applies only If a premium amoQnt is shown in the Policy Declarations
   for "Medical Payments" coverage)
   PART I ·PERSONAL INJURY PROTECTION
   DEFINITIONS
   The definitions of the tenns Insured and you under Section I apply to Section II also.
   1. Bodily ln)Uiy means bodily Injury, sickness, or disease to a person, caused by accident, Including resulting sickness,
      disease or death resulting therefrom. All claims for damages arising from bodily Injury to a person from a single loss
      shall be considered one bodily Injury.
   2. Insured motor vehicle means a motor vehicle:
      (a) Of which you are the owner, and
      (b) With respect to which security Is required to be maintained under the Florida Motor Vehicle No-Fault Law, and
      (c) For which a premium Is charged, or which Is a trailer, other than a mobile home, designed for use with a motor
         vehicle.
  3. (a) Medical expenses means reasonable expenses for medically necessary medical, surgical, x-ray, dental,
           ambulance, hospital, professional nursing and rehabilitative services for proslhetio devices and for necessary
          remedial treatment and services recognized and_permiUed under the laws of the state for an Injured person.
           Reimbursement for medical expenses shall be limited to and shall not exceed 80% or the schedule of maximum
           charges as set forth in Florida Statute§ 627.736{5) (a) 2.
       (b) However, the medical benefits shall provide reimbursement only for such services and care that are lawrully
           provided, supervised, ordered, or prescribed by a physician licensed under Florida Statutes, Title 32, chapter 458
           or chapter 459, a dentist licensed under Florida Statutes, Title 32, chapter 466, or a chiropractic physician
           licensed under Florida Statutes, Title 32, chapter 460 or that are provided by any of the following persons or
           entitles:
            1. A hospital or ambulatory surgical center licensed under Florida Statutes, Tille 29, chapter 395.
           2. A person or entity ft<:ensed under Florida Statutes Title 29, chapteiS 401.2101-401.45 that provides
               emergency transportation and treatment.

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           3. An enlity wholly owned by one or more physicians licensed under Florida Statutes Title 32, chapter 458 or
              chapter 459, chiropractic physk:ians licensed under Florida Statutes, Title 32, chapter 460, or dentists licensed
              under Florida Statutes, Title 32, chapter 466 or by su~ practitioner or practitioners and the spouse, parent,
              chlld. or sibling of that practitioner or those practitioners.
           4. An enlfty wholly owned, directly or Indirectly, by a hospital or hospitals.
           5. A health care clinic licensed under Florida Statute Title 29, chapters 400.990-400.995 that Is;
              a. Accredited by the Joint Commission on Accreditation of Heallhcare Organizations, the American
                 Osteopathic Association, the Commission of Accreditation of Rehabilitation Facilities, or the Accreditation
                 Association for Ambulatory Health care, Inc.: or
              b. A health care clinic that;
                 (I) Has a medical director licensed under chapter Florida Statute Title 32, chapter 458, chapter 459, or
                      chapter 460;
                 (II) Has been continuously licensed for more than 3 years or Is a publicly traded corporation that issues
                      securities traded on an exchange registered with the United Slates Securities and Exchange
                       Commission as a national securities exchange; and
                (IIQ Provides at lease four of lhe following medical specialties:
                ·     (A) General medicine.
                      (B) Radiography.
                      (C) Orthopedic medicine.
                      {D) Physical medicine.
                      (E) Physical the1apy.
                      {F) Physical rehabilitation.
                      (G) Prescribing or dispensing oulpatlent prescripllon medication.
                      {H) Laboratory services.

   4. Medically necessal}' refers to a medical service or supply that a prudent physician would provide for the purpose of
                                                                                        a
            preventing, diagnosing, or treating an Illness, Injury, disease, or symptom In manner that Is:
            (a) In accordance with generaHy accepted standards or medical practice;
          . (b) Clinically appropriate In terms of type, frequency, extent, site, and duration: and
            (c) Nol primarily for the convenience of the patient, physician, or other health care provider.
  5. Motor vehicle means any self-propelled vehicle of four or more wheels which Is of a type both designed and
       required to be licensed for use on the highways of Florida and any trailer or semi-trailer designed for use with such
        vehicle. ·
       A motor vehicle does not include:
       (a) Any motor vehicle which Is used in mass transit other than public school transportation and designed to
            transport more than five passengers exclusive of the operator of the motor vehicle and which is owned by a
            municipality, a transit authority, or a political subdivision of the state; or
       (b) A mobile home.
  e. Occupying means in or upon or entering into or alighting from;
  7. owner means a person or organization who holds the legal title to a motor vehicle, and also Includes:
      (a) A debtor having the right to possession, In the event a motor vehicle is the subject of a security agreement, and
       (b) A lessee having the right to possession, in the event a motor ve/1/C/e Is the subject or a lease with option to
           purchase and such lease agreement Is for a period of six months or more, and
      (c) A lessee having the right to possession, In the event a motor vehicle is the subject of a lease without option to
           purchase, and such lease agreement is for a period of six months or more, and the lease agreement provides
           that the lessee shall be responsible for securing Insurance;
  8. Pedestrian means a person while not an occupant of any self-propelled vehicle;
  9. Relative means a person related to you by blood, marriage or adoption (Including a ward or foster child) wlw Is
      usuaUy a resident of the same household as you;
  10. Replacement setvlces expenses means with respect to the period of disability of the injured person all expenses
      reasonably Incurred In obtalnfng from others ordinary and necessary services In lieu of those that, but for such injury,
      the Injured person would have performed without Income for the beneflt of hiS household;
  11. Work loss means with respect to the period of disability of the Injured person, any loss of income and earning
      capacity from Inability to work proximately caused by the Injury sustained by the Injured person.




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    PAYMENTS WE WILL MAKE
   The Company will pay in accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended, or newly
   enacted), and In accordance with all fee schedules contained in the Florida Motor Vehicle No Fault Law,
   to or for the benefit of the Injured person:
       (a) 80% of medical expenses; which are medically SJecessaJY, pursuant to the following schedule or maximum
            charges contained in the Florida Statute§ 627.736(5) (a) 2:
            1. For emergency transport and treatment by providers licensed under Florida Statutes, Title 29, chapter 401,
                200 percent of medicine.
            2. For emergency services and care provided by a hospital licensed under Florida Statutes, Title 29, chapter
                395, 75 percent of the hospital's usual and customary charges.
            3. For emergency services and care as defined by Florida Statutes Title 29 chapter 395.002{9) provided in a
               facility licensed under chapter 395 rendered by a physician or dentist, and related hospital inpatient services
               rendered by a physician or den1ist1 the usuaf and customary charges In the community.
            4. For hospital Inpatient services, other than emergency services and care, 200 percent of the Medicare Part A
                prospective payment applicable to the specific hospital providing the inpatient services.
            5. For hospital outpatient services, other than emergenc~ services and care, 200 percent of the Medicare Part A
               Ambulatory Payment Classification for the specific hospital providing the outpatient services.
            6. For all other medical services, supplies, and care, 200 percent of the allowable amount under the participating
                physicians schedule of Medicare Part B. However, If such services, supplies, or care Is not reJmbursable
                under Medicare Part B, we may limit reimbursement to 80 percent of the maximum reimbursable allowance
                under workers• compensation, as determined under Florida Statutes Tille 31, chapter 440.13 rules adopted
                thereunder which are ln effect at the time such servtces, supplies, or care Is provided. Services, supplies, or
               care that Is not reimbursable under Medicare or workers' compensation Js not required to be reimbursed by us.
       {b) 60% of work Joss; and
       {c) Replacement services expenses; and
       (d) Death benefits.
   The above benefits will be provided for InJuries Incurred as a resutl of bodily Injury, caused by an accident arising out of
   the ownership, maintenance or use or a motor vehicle and sustained by;
       {1) You or any relative while occupying a motor vehicle or, while a pedestrian through being struck by a motor
           vell/cle; or                                                                                                     .
      (2) Any other person white occupying the insured motor vehicle or, while a pedestrian, through being struck by
           the Insured motor vehicle.
   EXCLUSIONS
   Section If • Part I does not apply:
   1. To you or any relative injured while occupying any motor vehicle owned by you and which Is not an Insured
      motor ve/1/cle under this Insurance;           ·
   2. To any person while operating the Insured motor vehicle without your express or Implied consent;
   3. To any person, if such person's conduct contributed to his bodily Injury under any of the following circumstances:
      (I) Causing bodily Injury to himself intenlionally;
      (II) While commilllng a felony;
   4. To you or any dependent relative for work loss if an entry In the schedule or declarations Indicates such coverage
      does not apply;
   5, To any pedestrian, other than you or any relative, not a legal resident of the State of Florida;
   6. To any person, other than you, If such person Is the owner of a motor veiJicle with respect to which security Is
      required under the Florida Motor Vehicle No-Fault law, as amended;
   7. To any person, other than you or any relative, who Is entitled to personal injury protection benefits from the owner
      or owners of a motor venlcle which Is not an Insured motor vehicle under this Insurance or from the owner's
      Insurer; or
   8. To any person who sustains bodily fn]ul)fwhlle occupying a motor vehicle located for use as a residence or
       premises.




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   LIMIT OF LIABILITY; APPUCATION OF DEDUCTIBLEi OTHER INSURANCE
  Regardless of the number of persons Insured, policies or bonds applicable, vehicles involved or claims made, the total
   aggregate limit of personal Injury protection benefits available under the Florida Motor Vehicle No-Fault Law, as
   amended, from all sources combined, including this policy, for all loss and expense incurred by or on behalf of any one
  person who sustains bodily Injury as the result of any one accident shall be $10,000; provided that payment for death
  benefits Included In the foregoing shall be equal to the lesser of $5,000 or the remainder of unused personallnjUJy
  protection benefits per individual.
  After the <leduclible Is met, each Insured is eligible to receive up to $10,000 in total benefits described. The amount of
  any deductible stated In the declarations shall be deducted from all expenses or losses as described In FL Slat. §
  627.736 with respect to all medlcPI expenses, replacement setVIces expenses and work loss Incurred by or on behalf
  of each person to whom the deductible applies and who sustains bodily InJury as the result of any one accident. Such
  deductible will not apply to the death benefit.
  Aoy amount available for payment under this insurance shall be reduced by the amount of benefits an injured person has
  recovered for the same elements of Joss under the workmen's compensation laws of any state or the federal government.
  If benefits have been received under the Florida Motor Vehicle No-Fault Law, as amended, from any Insurer for the same
  items of loss and expense for which benefits are available under thfs policy, we shall not be liable to make duplicate
  payments to or for the benefit of lhe injured person, but the insurer paying such benefits shall be entitled to recover from
  us its equitable pro rata share of the benefits paid and expenses incurred In processing the claim.
  POLICY PERIOD -TERRITORY
  The Insurance under this Section applies only to accidents which occur during the policy period:
       (a) In the State of Flotida;                                                   ·
       (b) As respects you or a relative, while occupying the Insured motor vehicle outside the State of Florida but
            within the United States of America, tls territories or possessions or Canada; and
       (c) As respects pedestrians Injured when struck by the Insured motor vehicle In the State or Florida, rr they are not
            the owner of a motor vehicle for which coverage is required to be maintained under the Florida No-Fault Law.
  CONDIYIONS
  1. NOTICE
       In the event of an accident, written notice of the loss must be given to us or any of our authorized agents as soon as
       practicable. If any Injured person or his legal representatives shall insti!ute legal action to recover damages for
       bodily Injury against a third party, a copy of the summons and complaint or other process se!Ved tn connection With
       such legal acUon shall be forwarded as soon as practicable to us by such Injured person or his legal representative.
  2. ACTION AGAINST THE COMPANY
       No action shall lie against us unless, as a condition precedent thereto, there shall have been full compliance with all
       terms of this Insurance, and in accordance with, and subject to the terms, conditions, and exclusions of, the .Florida
       Motor Vehicle No-Fault Law, as amended.
  3. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
       As soon as practicable the person making the claim shall give to us written proof or claim, under oath if required,
      which may Include full particulars of the nature and extent of the Injuries and treatment received and contemplated,
      and such other lnformallon as may assist us In detenninlng the amount due and payable. Such person shall submit to
      mental or physical examinations In accordance with the Florida Motor Vehicle No Fault Law (as enacted, amended,
       or newly enacted), at our expense when and as often as we may reasonably require and a copy of the medical report
       shall be forwaroed to such person if requested. If the person unreasonably refuses to submit to an examination, m
       will not be flable tor subsequent personal Injury protection benefits.
      Whenever a person making a claim Is charged with committing a felony, we shall withhold benefits until, at the trial
      level, the prosecution makes a formal entry on the record that It will not prosecute the case against the person, the
       charge Is dismissed or the person is acquitted.
      If requested by us aniJJSUred, or any other person or organization making a claim or seeking payment, must submit
      to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
      require.
      This provision Includes providing a copy of any documents, forms, records or material requested to be provided as
      part of the EUO request whether the request Is made before, during or after the EUO. If requested by us an Insured,
      or any other person or organization making a claim or seeking payment, If the person unreasonably refuses to submit
      to an EUO, we will not be liable for personal injury protection benefits.




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    4. REIMBURSEMENT AND SUBROGATION
         In the event of payment to or for !he beneflfs of any InJured person under this Insurance:
         (a) The Company Is subrogated to the rights of the person to whom or for whostl"beneflt such payments were made
              to the extent of such payments. Such person shall execute and deliver the Instruments and papers and do
              whatever else Is necessary to secure such rights. Such person shall do nothing after loss to prejudice such rights.
         (b) The Company providing personal Injury protecllon benefits on a private passenger motor vehicle, as defined In
              the Florida Motor Vehicle No-Fault Law, shall be entitled to reimbursement to the extent of the payment of
              personal Injury protection benefits from the owner or insurer of the owner of a commercial motor vehicle, as
              defined In the Florida Motor Vehicle No-Fault Law, If such injured person sustained the Injury while occupying,
              or while a pedestrian through being struck by, such commercial motor vehicle.
   5. SPECIAL PROVISION FOR RENTED OR LEASED VEHICLES
         Notwithstanding any provision or this coverage to the contrary, 1r a person Is Injured whffe occupying, or through
         being struck by, a motor vei1Icle rented or leased under a rental or lease agreement, within the state of Florida,
         which does not specify otherwise in at least 10 point type on the face of sucll agreement, the personal Injury
         protection coverage afrorded under the lessor's policy shall be primary. Personal injury protection coverage offered
         under this policy will not apply to a vehicle rented, operated, used, or leased outside the state of Florida.
   PART II· MODIFICATION OF POLICY COVERAGE$
  Any Automobile Medical Payments fnsurance, any Uninsured Motorists coverage or any excess Underinsured Motorists
   coverage afforded by the policy shall be excess over any Personal injury Protection benefits paid or available for
   payment or which would be available but for the application of a ded uctlble.
  Regardless of whether the full amount of Personal Injury Protecllon benefits have been exhausted, any Medical
  Payments Insurance afforded by this policy shall pay the portion of any claim for Personal Injury ProtecUon medical
  expenses which are otheJWise covered but not available for payment due to the limitation or 80% of medictll expenses
  contained In Part I but shall not be payable for the amount of the deductible selected.
  PART Ill ·PROVISIONAL PREMIUM
   It Is agreed 1hat In the event of any change In the rules, rates, rating plan, premiums or minimum premiums appllcabJe to
  the Insurance afforded, because of an adverse judicial finding as to the constitutionality of any provisions of the Florida
  Motor Vehicle No·Fault Law, as amended, providing for the exemption of persons from tort liability, the premium stated
  In the declarations for any Liability, Medk:al Payments and Uninsured Motorists insurance shall be deemed provisional
  and subject to recomputation. If tills policy Is a renewal policy, such recomputation shall also Include a detennlnatlon of
  the amount or any return premium previouSly credited or refunded to the named Insured pursuant to the Florlda Motor
  Vehicle No-Fault Law, as amended, with respect to insurance afforded under a previous policy.
  If the final premium thus recomputed exceeds the premium stated in the declarations, the insured shall pay to the
  Company the excess as well as the amount of any return premium previously credited or refunded.
  PART IV ~AUTOMOBILE MEDICAL PAYMENTS COVERAGE
  (Automobile Medical Payments coverage applies only if a premium amount is shown in the Policy Declarations
  for"Medical Payments" coverage)
  DEFINtTrONS
  The definllloos of the terms Insured and you under Section I apply to Section II • Part IV also. The definitions under
  Section II • Part I also apply to Section Jl • Part IV.
  usual and customary medical charges as used In this Part means charges that are otherwise covered under Section II,
  Part I of the policy.
  Medically necessaty as used In this Part means all services which would be covered under Section II, Part I of the
  policy.
  PAYMENTS WE WILL. MAKE
  Under AutomobBe Medical Payments coverage, the Company will pay the usual and customary charges for bodily
  Jn)ury, caused by an accident arising out of the ownership, maintenance or use or a motor vehicle and sustained by:
      (1) You or any relative while occupying a motor vehicle or, while a pedestrian through being struck by a motor
           vehicle; or
      (2) Any other occupants of the Insured motor vehicle Injured In an accident that occurs outside the stale or Florida,
          but within the United Slates of America, Its territories or possessions, or Canada.
      in acldlllon, we will pay, subject to the coverage limit:
      (a) The portion of any claim for Personal Injury Protection medical expense benefits othefWise covered but not
          payable due to the coinsurance provision or the Personal Injury Protection provision. This is the 20% or medical
          expenses not covered in Part I - Payments We Will Make, Item (a};


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        (b) Usuel ~nd customary charges Incurred for medlcelly necessary services that exceed the Personal Injury
             Protect1on medical expense coverage paid and when Personal Injury Protection coverage is exhausted; and
       (c) Usual and customary c11arges Incurred by you or any relative for medically necessary services that result
             from Injuries recelvoo while occupying a motor vehicle or as a pedestrian In an accident that occurs outside
            the slate of Florida, but within the United states of America, Its territories or possessions, or canada.
   EXCLUSIONS
  Automobile Medical Payments coverage does not apply:
   1. To you or any relative injured while occupy/tJg any motor vehicle owned by you or a relative and which Is not an
       insured motor vehlcls under this Insurance;              .
   2. To any person whfle operating the Insured motor vehicle without your express or Implied consent;
  3. To any person, If such person's conduct contributed to his bodily Injury under any of the following circumstances:
       (I) causing bodily Injury to himself intentionally;
      {ii) While committing a felony;
  4. To any pedestrian, other than you or any re/lftlve; or
  5. To any person, other than you, If such person Is the owner of a motor veltlcle with respect to which security is
      required under the Florida Motor Vehicle No-Fault Law, as amended;
  6. To any person, other than you or a relative, who Is entitled to personal injury protection benefits from the owner or
      owners of a motor ve/tlc/e whtch Is not an Insured motor vehicle under this Insurance or from the owner's insurer;
  7. To any person who sustains bodily fnjwy while occupying a motor veltlcle located for use as a residence or
      premises;
  8. To bodily Injury sustained by you or a relative thai results from war of any kind;
  9. To bodily ln}ul}'sustained by you or a relative that results from exposure to fungi;
  1o. To bodlly Injury sustained by you or a relatfve that results from:
      (I) Nuclear reaction;
      {II) Radiallon or radioactive contamination from any source;
      (ill) The Intentional or accidental detonation of, or release or radiation from any nuclear or radioactive device;
  11. To bodily Injury sustained by you or a relative while occupying a motor ve/Jicls, or while a p&destrtan through
      being struck by a motor vehicle while being employed or engaged In the business of selling, leasing, repairing,
      parking, storing, servicing, delivering or testing vehicles, However, this exclusion does not apply to you or a relative,
      or an agent or employee of you or a relative, when using the Insured motor vehicle.
  12. To bodily fn}uzysustalned by you or a relative caused by the Insured in participation and/or preparation for any
      racing, speed or demolition oontest or stunting activity of any nature, whether or not prearranged or organized.
  LIMITS OF LIABILITY
  Regardless of the number of persons Insured, policies or bonds applicable, vehicles Involved .or claims made, the total
  aggregate limit of Automobile Medical Payments benefits available from all sources ·oomblned, Including this policy, for
   all loss and expense incurred by or on behalf of any one person who sustains bodily Injury as the result of any one
  accident Is the amount listed In the declarations page.
   OTHER INSURANCE
  Any amount available for payment under this insurance shall be reduced by the amount of beneflls an injured person has
  recovered for the same elements of loss under the workmen's compensaUon or other similar Jaws of any state or the
  federal government.
  If benefits have been received under any similar coverage from any insurer for the same Items of ross and expense for
  which benefits are available under this policy, we shall not be liable to make duplicate payments to or for the benefit of
  the injured person, but the Insurer paying such benefits shall be entitled to recover from us fts equitable pro rata share of
  the benefitS paid and expenses incurred In processing the claim. This coverage will coordinate with any applicable
  Personal Injury Protection benefits but will not duplicate any benefits available for payment. The coverage of the
  occupied vehicle is primary.
  Any Uninsured Motorist Coverage or any excess Underinsured Motorist Coverage afforded by this policy shall be excess
  over any Automobile Medical Payments benefits paid or available for payment or which would be available but for the
  application of a deductible; and subject to the terms and conditions of the Uninsured/Under1nsursd Motorist coverage.
  POLICY PERIOD -TERRITORY
  The insurance under this Part app!les only to accidents which occur during the policy ~eriod:
  (a) In the State of Aorida; and



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   (b) We will cover you or any relative for injuries incurred while occupying a motor vehicle or as a pedestrian In an
         accident that occurs outside the state of Florida, but within the United States of America, Its territories or
         possessions, or Canada, This coverage is excess over any other valid and collectible Insurance provided with respect
         to the occupied motor vehicle.
   CONDITIONS
  1. NOTICE
         In the event of an accident, wrttten notice of the Joss must be given to us or any of our authorized agents as soon as
         pracllcable. If any Injured person or his legal representatives shall institute legal action to recover damages for
        bodily Injury against a third party, a copy of the summons and complaint or other process served In connection with
        such legal action shall be forwarded as soon as practicable to us by such injured person or his legal representative.
  2. PROOF OF CLAIM; MEDICAL REPORTS AND EXAMINATIONS; PAYMENT OF CLAIM WITHHELD
        As soon as practicable the person making the claim shall give to us written proof of claim, under oath If required,
        which may Include full particulars of the nature and extent of the borll/y Injury and treatment received and
        contemplated, and such other Information as may assist us In determining the amount due and payable. such person
        shall submit to mental or physical examinations at our expense when and as often as we may reasonably require and
        a copy of the medical report shall be forwarded to such person If requested. If the person unreasonably refuses to
         submit to an examination, we will not be liable for subsequent Automobile Medical Payment benems.
        Whenever a person making a claim Is charged wilh committing a felony, we shall withhold benefits untn, at the trial
        level. the prosecution makes a formal entry on the record that it will not prosecute the case against the person, the
       charge Is dismissed or the person Is acquitted.
        We also have the right to determine If incurred charges and treatment are reasonable, medically necessary and
        causally related to a bodily Injury sustained In an accident. This determination may be made by use or utilization
        review, peer reviews, medical bill reviews or medical examination. We will also have the right to determine if
       Incurred charges are usual and customary charges and if treatment Is medically netessafY.
       If requested by us an Insured, or any other person or organization making a claim or seeking payment, must submit
       to examination under oath (EUO) by any person named by us when, where and as often as we may reasonably
       require.
       This provision includes providing a copy of any documents, forms, records or material requested to be provided as
       part of the EUO request whether the request Is made before, during or after the EUO. If requested by us an Insured,
       or any other person or organization making a claim or seeking payment, If the person unreasonably refuses to submit
       to an EUO, we will not be Hable for medical payments benefits.
  3. ACTION AGAINST THE COMPANY
       No action shall lie against us:
       (a) Unless the insured has fully complied wlth all the policy's terms and condillons; and
       {b) Until 30 days after the required notice of accident and reasonable proof of claim has been filed with us; and
      (c) Unfess we receive written notice of the intent to initiate litigation and within 30 days after receipt of such notice
             we do not:
              (i) Pay the claim; or
              01) Mall to the person filing the notice a written statement of our agreement to pay for such treatment In
                  accordance with the notice.
      Payment or our written statement of agreement to pay for treatment shalt be treated as being made on the date a
      draft, or other valid instrument that is equivalent payment, or the written statement of agreement to pay, Is placed In
      the United states mail properly addressed posted envelope or If not so posted, on the dale of delivery.
      The written notice of Intent to Initiate litigation must state that it is a demand letter for Automobile Medical Payments
      coverage and contain the following Information:
      (a) The name of the Insured for whom benefits are being sought Including a copy of the assignment giving rights to
             the claimant If the claimant Is not the insured;
      (b) The claim number and or policy number upon which the claim was originally submitted; and
      (c) To the extent applicable, the name of the medical provider who rendered the treatment, services,              ·
             accommodations or supplies lhat form the basis of the claim, and each exact amount, the date of treatment,
             service or accommodation and the type of benefits claimed to be due. A health Insurance claim fonn                 .
             (CMS-1500) or UB 92 form or any other standard form approved by the Department of Financial Services, may
             be used as the itemized statement,
       The written notice must be delivered to us by United States Certified or Registered mail, Return Receipt Requested,
       at the address we have filed wllh and that is made available by the office of the Florida Chief Financial Officer on Its
       lnlernet website.



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  4. SUBROGATION
     In the event of payment to or for the be»eflts or any Injured person under this insurance the company Is subrogated
     to the rights of the person to whom or tor whose benefit suOh payments were made to the extent of such payments.
     Such person shall execute and deliver the instruments and papers and do Whatever else is necessary to secure such
     rights. Such person shall do nothing after Joss to prejudice such rights.                     ·
     When an Injured person has been paid by us and also recovers rrom another, the amount recovered will be held by
     the Injured person in trust for us and reimbursed to us to the extent of our payment. If we are not reimbursed, we may
     pursue recovery of that amount directly against the injured person.
                                     SECTION Ill -PHYSICAL DAMAGE COVERAGES
                                    Your Protection For Loss Or Damage To Your car
  DEFINITIONS
  The deflnltlons of the terms auto buslnt!:!is, fann auto, non-owned auto, private passenaer auto, relative, temporary
  substitute auto, utility auto, you, your. and W81' under Section I apply to Section Ul also. Under this Section, the
  following special definitions apply:
  1. Actual cash value Js the replacement cost of the auto or property less deprtlc/atlon or betterment.
  2. Betterment is Improvement of the auto or property to a value greater than Its pre-loss condition.
  3. Colflslon means loss caused by upset of the covered auto or its collision with another object, inclUding an attached
       vehicle.
  4. Comprehensive means loss caused other than by collision and includes the following causes:
       (a) Missiles;
       (b) Falling objects;
       (c) Fire;
       (d) Lightning;
       (e) Theft;
       (f) Larceny;
       (g) Explosiom
       (h) Earthquake;
       0} Windstonn;
       (j) Hall;
       (k) Water;
       (Q Flood;
       (m) Malicious mischief;
       (n) Vandalism;
       (o) Riot;
       (p) Civil commotion; or
       (q) Colliding with a bird or animal.
  5. custom parts or equipment means paint. equipment, devices, accessories, enhancements, and changes, other
       than those which are original manufacturer Installed, which:
       (a) Are permanently installed or attached; or
       (b) AHer the appearance or performance of a vehicle.
       This Includes any eleclronlc equipment, antennas, and other devices used exclusively to send or receive audio,
       vlsual, or data signals, or to play back recorded media, other than those which are original manufacturer installed,
       that are permanently Installed In the owned auto or a newly acquired vehfcle using bolts or brackets, including
       slide-out brackets.
  6. Depreciation means a dectease or loss In value to the auto or property because of use, disuse, physical wear and
       tear, age, outdatedness, or other causes.:
  7. Insured means;
       (a) Regarding the owned auto:
            {0 You and your relatives;
            (II) A person or organization maintaining, using or having custody or the auto with your permiSsion, if his use Is
                 within 1he extent of that permission.
       (b) Regarding a non-owned auto, you and your retatlv&.s, when dr1vlng the auto, If the actual operation or use is
           with the permission or reasonably believed to be with the permission or the owner and within the extent of that
            permission.


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   8. Loss means direct and acctdentalloss of or damage to:
      {a) An owned or non~ned auto, InclUding its equipment; or
      (b) Other property Insured under this section.
   9. OWned auto means:
      (a) Any vehicle desCribed In this policy for which a speolfic premium charge Indicates there is physical damage
             coverage;
          (b) A private passenger, farm or utility auto or a trailer, ownetshlp of which you acquire during the policy period
              or for which you enter Into a lease during the policy period for a term of six months or more, If
              (I) It replaces an own&d auto as described In (a) above, or                                ·
              (ii) We insure all private passenger, farm, and utility autos owned by you on 1he date of the acquisition and
                   you ask us to add it to the policy no more than 30 days later;
          (c) A temporary substitute auto.
     10. Ttaller means a trailer designed to be towed by a private passenger auto and not used as a home, residence,
         office, store, display or passenger trailer. Trailer does not mean a tmUerwith built-In sleaping facilities designed for
          recreational or camping use.
     LOSSES WE WILL PAY
     Comprehensive (Excluding Collision)
    1. We will pay for each loss, less the applicable deductible, caused other than by collision to the owned or
         non-owned auto. This includes glass breakage.
         No deductible will apply to loss to Windshield glass.
         At the option of the Insured, breakage of glass caused by cotlislon may be paid under the Collision coverage, If
         included In the polioy.
    2. We wlll pay, up to $200 per occurrence, less the applicable deductible, for loss to personal effects due to:
         (a) Fire;
         (b) lightning;
         (c) FJood;
         (d) Falling objects;
         (e) Earthquake;
         (f) Explosion: or
         (g) Theft of the entire automobile.
        The property must be owned by you or a relative, and must be In or upon an owned auto.
    3. Losses arising out of a single occurrence shall be subject to no more than one deductible.
    Collision,
    1. We will pay for collision loss to the. ovm.~ $lt.O tor Jh.e amount of eactJ ioss 1~8$ the applf~ble ded1,1ctlbJe ~.nd to
        the nan;.tNined auto for the ainotint M each JcisS ress the ·appJicable deductible when driveri by you or a: relatlvo.
    2. We will pay up to $200 per occurrence, tess the applicable deductible, for loss to personal effects due to a collision.
        The property must be owned by you or a relative, and must be In or upon an ownad auto.
    3. Losses involving one owned auto, ariSing out of a single occurrence Shall be subject to no more than one
        deductible.
   ·4. If more than one owned auto or non·owned auto Is Involved In a collision loss, any deductible will apply
        separately to each owned auto or non-owned auto.
    ADDITIONAL PAYMENTS WE WILL MAKE UNDER THE PHYSICAL DAMAGE COVERAGES
    1. We will reimburse the fnsured for transportation expenses incurred during the period beginning 48 hours after a theft
        of the entire auto covered by Comprehensive coverage under this poJicy has been reported to us and the police.
        Reimbursement ends when the autoJs returned to use or we pay for the loss.
        Reimbursement will not exceed $30.00 per day nor $900.00 per loss.
    2. We will pay general average and salvage charges for which the Insured becomes legally liable when the auto Is
        being transported •
 . EXCLUSIONS
   Section Ill Does Not Apply:
   1. To an auto used to carry passengers or goods for hire Is not covered. However, a vehicle used in an ordinary car
        pool on a ride sharfng or cost sharing basis Is covered.
   2. To loss due to war.


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   3. To loss to a non·owned auto whell used by the Insured In the auto business.
   4. To loss caused by and limited to wear and tear, freezing, mechanical or electrical breakdown or failure, unless that
       damage results from a covered theft.
   6. To road damage to tires.
   6, To loss due to radioactivity.
   7. To loss to any tape, wire, record disc or other medium for use wJth a device designed for the recording and/or
       reproduction of soulld.
   B. To Joss to any radar detector.
   9, To any vehicle or tra//erwhe¥1 used for business or commercial putposes other than a farm auto.
   10. To loss for custom parts or equipment unless the existence of those custom parts or equipment has been
       previously reported to us and an endorsement to the policy has been added.
   11, To any liability assumed under any contract or agreement.
   12. To any loss resulting from;
       (a) The acquisition of a stolen vehiCle;
       (b} Any governmental, legal or other action to return a vehicle to Its legaJ, equitable, or beneficial owner, or anyone
           claiming an ownership Interest In the vehicle~ or
       (c) Any confiscation, seflure or Impoundment or a vehicle by governmental authorities.
       (d) The sale of an owned auto.
   13. To the destruction, impoundment, confiscation or seizure of a vehicle by governmental or civil authorities due to its
       use by you, a relative or a permissive user of the vehicle in Illegal activity.
   14. To any IO$$ caused by the Insured in participation and/or pr&paralion for any racing, speed, or demolition contest or
       stunting activity or any nature, whether or not prearranged or organized.
   LIMIT OF LIABILITY
   The limit of our liability for loss:
   1. Is the actual cash 'tfa/ue of the property at the time of the loss;
   2. Will not exceed      too prevailing oompetltive prrce to repair or replace the. property at the lime of loss, or any of its
                                                                                         or
       parts, Including parts from non. original equipment manufacturers, with other like kind and quality and will not
       include compensation for any diminution of value that is claimed to result from the loss. Although you have the right
       to choose any repair facility or location, the limit of liability for repair or replacement of such property Is the prevailing
       compeUUve price which is the price we can secure from a competent and conveniently located repair facility. At your
       request, wa will Identify a repair facility that will perform the repairs or replacement at the prevailing competitive
       price;
   3. To personal effects arising out of one occurrence Is $200;
   4. To a trailer not owned by you is $500;
   5. For custom parts or equipment Is limited to the actual cash value of the custom parts or equipment, not to
       exceed the actual cas/J valua of the vehicle.                                                 .
     · Actual cash value or betterment of property will be determined at the time of the loss and wflllnclude an
       adjustment for depreclatlonlbttterment and for the physical condition of the property.                    ·
   6. If this policy covers two or more autos or trailers any deductibles will apply separately to each.
   OTHER INSURANCE
   If the Insured has other insurance against a loss covered by Section Ill, we will not owe more than our pro rata share of
   the total coverage available. Any Insurance we provide for a vehicle you do not own shall be excess over any other valid
   and colfectlble Insurance.
   CONDITIONS
   The following conditions appty only to the Physical Damage coverages:
   1. NOTICE
      As soon as possible after a foss, written notfce must be given us or our authorized agent stating:
      (a) The Identity of the Insured;
      (b) A description of the auto or trailer;
      (c) The time, place and details of the toss; and
      (d) The names and addresses of any witnesses.
      In case of theft, the Insured must promptly notify the pollee.



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   2. ASSISTANCE AND COOPERATION OF THE INSURED
      The lnsuredwill cooperate and assist us, if requested:
      (a) In the Investigation of the toss;
      (b) In making settlements;
      {o) In the oonduct of suits:
      (d) In enforcing any right of subrogation against any legally responsible person or organization;
      (e) PJ. tr1afs and hearings;
     (f) In securing and giving evidence; and
     (g) By obtaining the attendance of witneSses.
  3, ACTION AGAINST US
     suit will not lie against us unless the policy terms have been complied with and until 30 days after proof of loss is
     flied and the amount of toss is determined.
     If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any purpose, including as
     evidence for any civil or criminal proceeding. If you ask us Immediately aner a loss to preserve the salvage for
     Inspection, we will do so for a period not to exceed 30 days. You may purchase the salvage from us if you wish.
  4. INSURED'S DUTIES IN EVENT OF LOSS
     In the event of loss the Insured will:
     (a) Protect the auto, whether or not the loss is covered by this policy. Further Joss due to the Insured'$ failure to
          proteotthe auto will not be covered. Reasonable expenses Incurred for this protection will be paid by us,
     (b) File with us, withr!l 91 days after loss, his swom proof of loss including all infonnatlon we may reasonably
          require.
     (c) At our request, the Insured will exhibll the damaged property and submit to examination under oath.
  6. APPRAISAl
     If~ and the Insured do not agr~ on. th~ ~ITiol,tn~ of .l~st either rnay, within 60 d~ys ~ner prQ()f. Qf..l~ I~ fil.ed,
     request an. appraisal 0( the l~ss.     aoth
                                               paitl~ ml!St. 8g~ lQ the appraisal ~l the' urr!~.:or (jlspute. : ln th'".  evenl,
                                                                                                                          we
       an(! the ln~f!redwlll eadl se1~ ~ comiieJei'lt appral~r. The a~ls~i~fWI.U ~~~~Cl a oompetent~lld ~lstnte~t~
       umpl.re.· The. ~pprat~rs. will $late. ~par~tf;lly ~he actual ca.h iial~ and. fhe ampunt or th~ .l~s;lf ~~y.rau tp'agree,
       they witl 5ubM!t the dispUte to the umplr~. An awai"Q in wntirig ·o(~iiy Jw~·w.tl.i d.ete,mloe tile amount (}f losii•.We a~
       lhe/nsu,..dwill.ea<lt1 pay his chQ$~n· appraJ$(i!r.$i'icJ WJI! ~:).r·~qually the 'other exj:leri8es"of the apprafSal arid uinplre.
       We   will not waive our rights by any of our acts relatfrig to apPraisal.
  6. PAYMENT OF LOSS
     We may at our option:
     (a) Pay for the loss; or
     (b) Repair or replace the damaged or stolen property.
     At any time before the loss Is paid or the property replaced, we may return any stolen property to you or to the
     address shown In the decJaraUons at our expense with payment for covered damage. We may take all or part of the
     property at the agreed or appraised value, but there will be no abandonment to us. We may settle ctalms for Joss
     either with the Insured or the owner of the property.
  7. NO BENEFIT TO BAILEE
     This Insurance does not apply directly or Indirectly to the benefit of a catrler or other bailee for hire liable for the f()SS
     of the auto.
  8. SUBROGATION
     When payment Is made under thiS policy, we will be subrogated to all the Insured's rights of recovery, to the extent
     of our payment against other,;, The Insured will help us to enforce these rfghts. The Insured will do nothing after
     loss to prejudice these rights,
     This means we will have the right to sue tor or othetwise recover the loss from anyone else who may be held
     responsible.
  9. ASSIGNMENT
     With respect to Section Ill, Physical Damage Coverages, an Assignment of Interest under this policy will not bind us
     without our consent. Any nonconforming assignment shall be void and Invalid. Moreover, the assignee of a
     nonconfonning assignment shall acquire no rights under this contract and we shall not recognize any such
     assignment.




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                                     SECTION IV~ UNINSURED MOTORfST COVERAGE
        Protection For You And Your Passengers For Injuries Caused By Uninsured And Hlt·And-Run Motorist
  UNLESS AMENDED WITH THE STACKED OR NON-STACKED UNINSURED/UNDERINSUREO AMENDMENT, YOU
  ELECTED NOT TO PURCHASE CERTAIN VALUABLe COVERAGE, WHICH WOULD HAVE PROTECTED YOU AND
  YOUR FAMILY WHEN IN VOLVEO, fN A COVERED LOSS WITH AN UNINSURED/ UNDERINSURED MOTORIST.
  THIS POLICY DOES NOT PROVIDE UNINSURED/UNDERINSURED MOTORISTS BENEFITS.
  Unlnsured/underinsured motorist benefits are designed to provide protection when you or yourfamlly are
  involved In an accident with an unlnsured/underlnsured motorist.
                                             SECTION V- GENERAL CONDITIONS
                                   These conditions Apply To all coverages In This Policy
  1. TERRITORY· POLICY PERIOD
      This policy applies only to accidents, occurrences or losses during the policy period within the United States of
     America, its territories and possessions, or Canada and while an owned auto Is being transported between ports
     thereof.
      Unless otherwise cancelled, this policy will expire as shown in the declarations. But, It may be continued by our offer
     to renew and your acceptance prior to the expiration date. Each period will begin and expire at 12:01 A.M. local time
      at your address staled In the declarations.
  2. PREMIUM
     When you dispose Of, acquire ownership of, or replace a private passenger, farm or utility auto, any necessary
      premium adjustment will be made as of the date of the change and In accordance with our manuals.
  3. CHANGES
     The terms and provisions of this policy cannot be waived or changed, except by an endorsement issued to form a
      part of this policy.
     We may revise this policy during Its term to provide more coverage without an increase In premium. If we do so,
     your policy will automatically Include the broader coverage when effective in your state.
     The premlum for each auto Is based on the lnformaUon we have In your file. You agree:
      (a) That we may adjust your policy premiums during the policy term If any ot this Information on which the
          premiums are based is Incorrect, incomplete or changed.
     (b) That you will cooperate with us In determining If this information is correct and complete.
     (c) Thai you will notify us of any changes In this Information.
     Any calculation or recalculation of your premium or changes In your coverage will be based on the rules, rates and
     forms on flle, If required, for our use In your state.
  4. ASSIGNMENT
     Assignment of interest under this policy will not bind us without our consent.
     If you die, this policy Will cover:
      (a) Your surviving spouse;
     (b) The executor or administrator of your estate, but only while acting within the scope of his duUes;
     (c) Any person having proper temporary custody of the owned auto, as an Insured, until the appointment and
          qualification of the executor or ad mlnlstrator of your estate; and
     (d) Under the Medical Payments coverage, a person who was a relative at the time of your death, If a premium Is
          shown on the Polley Declarations for Medical Payments.
  5. CANCELLATION BY THE INSURED
     You may cancel this policy by providing notice to us stating when, after the notice, cancellation will be effective.
     However, you may not cancel during the first lwo months Immediately following your pallcy's effective date except:
     (a) Upon total destruction of all of the owned autos;
     (b) Upon transfer of ownership of all of the owned autos;
     (c) If you obtained a replacement policy covering an owned auto elsewhere; or
     (d) When we notify you that the premium charged must be Increased to comply with our rate filings or the applicable
          laws of Florida, you have the following options:
     1. Upon receipt of your bill you may pay the difference in premium and keep the policy as It st:ands with the
          corrected premium; or.
     2. You may cancel this policy within 10 days from the receipt of our notice and receive a refund of any unearned
          premium; or
     3. Your failure to respond timely or pay the additional premium charged will result In the cancellation of your policy
          when all paid premiums are exhausted.
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      If this policy Is cancelled, you may be entitled to a premium refund. The premium refund, If any, will be computed on
     a pro-rated basis according to our manuals.
  6. CANCELLATION BYUS
     We may cancel this poflcy by mailing to you, at the address shown in this policy, written notice stating when the
     cancellation will be errective. This notice will ba mailed by United States Post Office certificate of malflng.
     We will malllhis notice:
     (a) 10 days in advance if the proposed cancellation Is for nonpayment of premium or any of Its insta11ments when
           due:
     (b) 45 days In advance in all other cases.
     The mailing or delivery of the above notice will be sufficient proof of notice. The policy will cease to be in effect as of
     the date and hour stated in the notice.
     If this policy Is canceUed, you may be enUUed to a premium refund. The premium refund, If any, will be computed on
     a pro-rated basis according to our manuals.
     Payment or tender of unearned premium is not a condition of cancellation.
  7. CANCELLATION BY US rs LIMITED
     Arter this policy has been ln effect for 60 days or, If the policy is a renewal, effective Immediately, we will not cancel
     unless:
     (a) You do not pay the premiums for this policy or any Installment when due to us or our agent; or
     (b) Any Insured has had his driver's ficense or motor vehicle registration under suspensfQn or revocation; either:
           (il During the current policy period; or
           (fi) During the preceding 180 days If this is a new poficy; or
     (c} Tllere has been fraud or material misrepresentation under the policy In your applicatron or in making a claim.
     We wru not cancel a new policy during the first eo days Immediately following the effective date of !he policy ror
     nonpayment of premium unless the reason for lhe cancellation is the Issuance of a payment ror the premium that Is
     dishonored for any reason. If the initial payment on the policy is dishonored, we will not declare the policy void
      without providing you with notice of your right to cure the nonpayment as required by Florida Jaw.
     Nothing In this section will require us to renew this policy.
  8. RENEWAL
     we guarantee to renew this policy for private passenger, farm or utility autos as long as all the following conditions
     are met:
     1. You (or your spouse) are at least 50 years old and you (or your spouse) are a principal operator or an auto
          Insured under this policy. There are no principal or occasional operators under the age of 25.
     2. You and all operators of autos Insured under this policy must be physically and mentally able to safely operate an
           auto. We may require an operator to provide cerliflcation of this from a doctor acceptable to us.
     3. The autos Insured are pllnclpally located In a state which has approved the use of this condlllon, and that state
          continues to approve the use on this condition.
     4. The representations provided In your application forth~ policy were true.
     If these requirements are not met, the guaranteed renewal condition does not apply. We reserve the right to
     terminate this guaranty in any state in which conditions require that we discontinue writing new and renewal policies
     for all our Insureds. Should we choose not to renew, we will mall to you, at the address shown in this policy, written
     notice of our refusal to renew at least 45 days prior to the expiration date. This notice will be mailed by United
     States Post Office certificate of mailing. The mailing or delivery of this notice will be sufficient proof or notice.
      It you:
     (1) do not pay the premium as required to renew this policy; or
     (2) have lnfonned us or our agent that you wish the policy cancelled or not renewed; or
     (3) do not accept our offer to renew;

      it will be construed to mean that you have refused our renewal offer and the policy wlll expire without notice.
      If this policy has been In effect for 5 years or more we will not refuse to renew solely because an Insured was
      involved In a single traffic accident.
  9. NON-RENEWAL
     We agree that we will not refuse to renew or continue this policy unless a W(itten notice of our refusal to renew or
     conllnue Is mailed to you, at the address shown In the policy, at least 45 days prior to the expiration notice. Tills
     notice will be mailed by UnHed States Post Office certificate of mailing. The mafnng or delivery of this notlce will be
     sufficient proof of notice.

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   10. MEDIATION OF CLAIMS
        In the event or a claim for bodily Injury amounting to $10,000 or less, or any property damage claim, either party
        may demand mediation or the claim, provided that suit has not yet been filed. Only one mediation may be
        demanded for each claim, unless both parties agree to more than one mediation. Mediation is not binding on either
        party.
        A request for mediation shall be filed with the Department of Financial Services on a form approved by the
        Department. The request for mediation shall state the reason for the request and the Issues In dispute which are to
        be mediated. The Department of Financial services will appoint the mediator to conduct the mediation. Each party
        may once reject the mediator selected by the Department, either originally or after the opposing side has exercised
        its option to reject a mediator. Each party participating in the mediation must have the authority to make a binding
        decision. All parties must medlate In good faith.
       The cost of the mediation, as set by the Department ot FJ nanclal Services Is shared equally by the parties. Costs
        Incurred by a party Jn preparing for or attending the mediatron are paid by the party Incurring that cost.
   11.0THERINSURANCE
       If other insurance Is obtained on your owned auto, any similar insurance afforded under this policy for that auto will
       terminate on the effective dale of the other Insurance.
   12. ACTION AGAINST US
        Persons other than the Insured covered by this policy, may not name us as a defendant prlorto first obtaining a
       judgment against an insured.
   13. DIVIDEND PROVISION
        You are entitled to share in a distribution ofthe surplus of the Company as determined by Its Board of Directors from
       time to time.
   14. DECLARATIONS
       By accepting this policy, you agree that:
       (a) The statements in your application and In the declarations are your agreements and representations;
        (b) This policy Is Issued in reliance upon the truth of these representations; and
       {c) This policy, along with the applicallon and declaration sheet, embodies all agreements relating to this insurance.
            The terms oflhls policy cannot be changed orally.
   16. FRAUD AND MISREPRESENTATION
       Coverage Is not provided to any person who knowingly conceals or misrepresents any material fact or circumstance
       relating to this inStJrance:
       1. At the time application Is made; or
       2. At any time during the polk:y period; or
       3. In connection with the presentation or settlement of a claim.
   16. EXAMINATION UNDER OATH (EUO)
       The Insured, or any other person or organization seeking coverage under tbls policy must submit to examination
       under oath by any person named by us when, where and as often as we may reasonably require. This provision
       Includes providing a copy or any documents, forms, records, or materials requested to be provided as part or the
       EUO request whether the request is made before, during or after the EUO.
   17. TERMS OF POLICY CONFORMED TO STATUTES
       Any terms of this policy In conflict with the statutes of Florida are amended to conform to those statutes.
   18. CHOICE OF LAW
       The policy and any amendment(s) and endorsement(s) are to be interpreted pursuant to the laws of the state of
       Florida.




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                                        SECTION VI- AMENDMENTS AND ENDORSEMENTS
   1. SPECIAL ENDORSEMENT UNITED STATES GOVERNMENT EMPLOYEES
   A. Under the Property Damage coverage of Section I, we provide coverage to United States Government employees,
      clvUJan or military, using
      1. Motor vehicles owned or leased by the United States Government or any or its agencies, or
      2. Rented motor vehicle used for United States Government business,
      when such use is with the pennission of the United States Government. Subject to !he limits describe In paragraph
      B. below, we will pay sums you are legally obligated to pay for damage to these vehicles.
   B. The following limits apply to this coverage:
       1. A $100 deductible applies to each occurrence.
      2. For vehicles described in A.1. above, our liability shall not exceed the lesser of the following:
          (a) The actual cash value of the property at the time of the occurrence; or
          (b) The cost to repair or replace the property, or any of Its parts with other of like kind and quality; or
          (c) Two months basic pay of the Insured; or
         (d) The limit of Property Damage liability coverage stated In the declarations.
       3. For vehicles described fn A.2. above, our liability shall not exceed the Jesser of the fallowing:
         (a) The actual cash value of the property at lhe Ume of the occurrence; or
         (b) The cost to repair or replace the property, or any of it parts with other of like klnd and quality; or
          (c) The limit of Property Damage liablll!y coverage stated in the declarations.

  This insurance Is excess over other valid and collectible insurance.




                                    W. C. E. Robinson                                0. M. Nicely
                                       Secretary                                      President




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